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9.C.A, — 7th Circuit
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No. 25-1854 JUN 03 2025
IN THE
UNITED STATES COURT OF APPEALS
FOR THE SEVENTH CIRCUIT
JANE F. GIRARD, ) Appeal from the United States District
Plaintiff - Appellee, } Court for the Northern District of Minois,
} Eastern Division.
and )
)
KENTON GIRARD, )
Defendant/Crossclaim } No. 1:25-cv-04586
Plaintiff - Appellee, }
)
Vv. ) The Honorable
) JEREMY C, DANIEL
MARISSA GIRARD, ) Judge Presiding.
Defendant - Appellant. }

JURISDICTIONAL BRIEF OF APPELLANT MARISSA GIRARD

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Dated: June 1, 2025

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APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

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flease indicate if you are Camel of Record lor tie above listed parties pursugat to Cireuil Rate 3¢d).

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STATEMENT OF THE CASE AND FACTS

In 2015, Jane F. Girard and Kenton Girard divorced, pursuant to Girard v. Girard, Cook
County Case No. 2015D009633. Shortly after finalizing the divorce, Kenton Girard married a
Hispanic/Latinx woman Marissa del Campo, now known under her married name Marissa
Girard.

Eight years later, in late June 2023, Jane F. Girard served Marissa Girard with a summons
under 2015D009633 (D. 1, pp. 15-17) together with an accompanying paper entitled “Motion to
Join Third Party” filed on March 8 2023 (D.1, pp. 7-14). The motion does not name Marissa
Girard as a party, much less in its caption. By failing to action Marissa Girard with a pleading,
Jane F. Girard’s joinder of Marissa Girard is deficient under 735 ILCS 5/2-201(a). By failing to
ever serve Marissa Girard with a pleading — whilst targeting her with more than a dozen motions
seeking her jailing and a panoply of other abusive litigation tactics — Jane F. Girard has trampled
Marissa Girard’s constitutional right to fair notice of claims. Al.

The injustice is magnified by the fact that Marissa Girard is a disabled person who suffers
from two ADA-recognized disabilities, which predominantly impact Hispanic/Latinx persons,
namely PTSD (post traumatic stress disorder) and interstitial cystitis which cause symptoms
including aphasia, degraded locomotive capabilities and severe short term memory loss. Al.

Under the two-year history of Marissa Girard’s involvement under the state proceedings,
Jane F. Girard and her attorneys — with the complicity of various Cook County judicial officials —-
have turned Marissa Girard’s life upside down. They have weaponized Cook County’s so-called
“courtroom disability coordinators” whom are solely responsible for emplacement of reasonable
accommodations under the Americans with Disabilities Act (“ADA”), and they have seized on a

latent and pervasive anti-Hispanic/Latinx sentiment among the halls of the Domestic Relations

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Division to magnify her mistreatment by a range of Cook County officials spanning judicial
officers, judicial staff and courtroom personnel.

The spectrum of mistreatment and discrimination has included (a) outright blocking
Marissa Girard from participating in and attending court date, and (b) greenlighting a criminal
contempt proceeding within the confines of the Domestic Relations Division and wholly devoid
of the requisite elements required under the Sixth Amendment such as a bill of charges, the
involvement of a state prosecutor and the installment of a jury of peers. Elsewhere, Appellant has
experienced myriad violations of her constitutional due process rights, her constitutional rights to
fair notice of claims, her rights to freedom from racial discrimination premised on her
Hispanic/Latinx background, her rights to unfettered access to court dates and courtroom
facilities, and her constitutional rights to equal protection under the law given her
Hispanitc/Latinx racial background and her ADA qualifying disabilities.

In response to these abuses, Marissa Girard filed a suit on January 6 2025 in the Northern
District of Illinois under Girard v. Fernandez et al., Civil Action No. 1:25-cv-00136, pending
before Judge Andrea Wood, ultimately amending that pleading (“FAC”) on March 10 2025. Al.
Under the FAC, Marissa Girard seeks relief inter alia under Section 1983 and the Equal
Protection Clause against various Cook County personnel under the Domestic Relations Division
relating to all of the above-enumerated causes of action, as well as Jane F. Girard and her
primary attorneys at Beermann LLP specifically with respect to their liability under abuse of
process and negligence theories. Al.

On April 28 2025, Marissa Girard was served with a declaratory judgment pleading by
Kenton Girard, seeking a determination of his financial responsibility under their Postnuptial

Indemnification Agreement, under which Kenton has agreed to indemnify Marissa from

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reasonable and necessary legal fees incurred in connection with violation of Marissa’s rights
arising under the Constitution or federal law precipitated by a course of action undertaken by
Jane F. Girard. D. 1, A2 at pp. 40-46.

Upon receipt of that pleading — the first she had received in fact, notwithstanding her
status as an “original defendant” - Marissa Girard repaired to federal court filing a Notice of
Removal because of the obvious federal and constitutional questions implicated. D. 1, A2. Jane
F. Girard’s attorneys at Beermann LLP immediately filed a Motion to Remand (D. 6, 7) and
attempted to notice it for a hearing within two (2) court days, in violation of the fourteen (14)
day notice period required under Rule 6.. In response, Judge Daniel struck their notice and
imposed a briefing schedule with a status date on June 18, 2025, D. 11.

However, upon the filing of a “Motion to Reconsider” by Jane F. Girard two days later on
May 1 2025 (D. 12, 13), District Judge Daniel ordered the case to be remanded to the state court
on May 6 2025 (D. 34, A3) without allowing the previously ordered briefing schedule to be
fulfilled and ironically without proper notice of Appellant Marissa Girard under Rule 6.
Curiously, despite the obvious articulation of federal questions under the Notice of Removal (D.
1, A2 at pp. 1-5, 40-46), District Judge Daniel poignantly observed the alleged non-existence of
federal questions motivating his remand decision, stating “Nothing about those claims introduce
a federal question into this case, which centers on domestic disputes related to custody and
divorce agreements”. D. 16, A5.

On May 15 2025, this Court ruled without a written explanation (D. 23) against Marissa
Girard’s Motion to Vacate Order of Remand under Rule 59(e), timely filed on May 13 2025 (D.
20). Appellant promptly filed her Notice of Appeal on May 16 2025 (D. 26) as to District Judge

Daniel’s remand order of May 6 2025 (D. 16) and deniai of her Rule 59(e) motion of May 15

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2025 (D. 23). Appellant followed up with her Motion for Compliance with Circuit Rule 50,
requesting a written explanation from District Judge Daniel, specifically because her Notice of
Removal actioned civil rights claims under the ambit of 28 U.S.C. § 1443(1). D. 29. On the very
next court day on May 19 2025, District Judge Daniel penned a response to the request under
Circuit Rule 50, stating in relevant part (D. 30):

At argument, the Court explained that it must look at the original action, filed by Jane Girard,
when assessing whether the case involves a federal question that warrants removal. Because the
original action did not involve a federal question, which both Kenton Girard and counsel for
Marissa Girard conceded, the Court remanded the case to state court. The Court further explained
that Supreme Court and Seventh Circuit precedent counseled against treating a cross~claim as
part of the original action. (emphasis supplied)

As such, District Judge Daniel appears to have conceded that the pleading which was actioned
for removal — the Declaratory Judgment Crossclaim filed by Kenton Girard on April 28 2025 —
did in fact raise federal questions. However, he finds that the posture (i.e. Appellant as
Crossclaim Defendant) is proscribed under Supreme Court and Seventh Circuit precedent. The
operative case law was duly identified in the court date on May 15 2025 and has been identified
under the transcript of that proceeding. D. 36, A4.
ARGUMENT

I. There is no presumption against removal in this case.

To the extent there is a presumption against removal in ordinary diversity cases, it does
not extend to cases in which there is a contrary congressional policy favoring removal. Dart
Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014) (involving CAFA). Here,
diversity is not at play and the operative statutory authority mandating appellate review is 28
U.S.C. § 1443(1). Because of the presentation of civil rights questions, strict scrutiny must be
applied in the Court’s analysis.

The Supreme Court has repeatedly found such a congressional policy in the related and

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adjacent codification under 28 U.S.C. § 1442, and it has instructed courts that “this policy
should not be frustrated by a narrow, grudging interpretation.” Willingham v. Morgan, 395 U.S.
402, 407 (1969). Instead, the Court has directed that “[t]he federal officer removal statute is not
‘narrow’ or ‘limited,’” fd. at 406, and the statute must be “liberally construed,” Watson v. Philip
Morris Cos., 551 U.S. 142, 147 (2007).

iL. Hispanic/Latinx constitutes a race for federal purposes.

Appellant’s maiden name is “del Campo” and her paternal family is Hispanic/Latinx. As
such, Appellant is a proud member of the Hispanic/Latinx community. She has been
discriminated against because of her Hispanic/Latinx identity, which constitutes racial
discrimination. She brought her lawsuit against Cook County officials in early January 2025,
including for relief for violations of equal protection based on her racial identity. In Village of
Freeport v. Barrella, 814 F.3d 594 (2d Cir. 2016), the Second Circuit held that Hispanic
constitutes a race for purposes of Title VII and section 1981. Prior, the Supreme Court
determined that Hispanic is a race for the purposes of a § 1981 claim in Saint Francis College v.
Al-Khazraji, 481 U.S. 604 (1987) and has further defined “race” to include discrimination based

on “ancestry or ethnic characteristics.”

Il. _ Appellant has filed a lawsuit for violations of her civil rights based on race.

As previously described, Appellant filed a federal complaint on January 6 2025 under
Girard v, Fernandez et al., Civil Action No. 1:25-cv-00136, and the operative pleading is her
FAC duly filed on March 10 2025. Al. Under her complaint, she seeks relief from a twenty-four
month and counting assault on her federal and constitutional rights, including via Section 1983
and the Equal Protection Clause based on her Hispanic/Latinx racial identity. Ai. While the

discrimination she has experienced is “intersectional” or “multi-faceted” in nature, one obvious

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element of the discrimination Appellant has experienced is owing to her racial identity as a
Hispanic/Latinx person.

In case of any doubt, her complaint and the FAC speak at length about her physical
disabilities arising under PTSD and interstitial cystitis, including the debilitating symptoms
presented thereunder. Each medical condition on its own is a call sign for Appellant’s
Hispanic/Latinx racial identity. Together, they constitute an unambiguous marker for her
Hispanic/Latinx racial identity. Recent scientific studies have substantiated this proposition.

To wit, the prevalence of PTSD among Hispanic/Latinx persons is higher compared to
non-Hispanic Caucasians. Hispanic/Latinx persons are exposed to higher rates of traumatic
events and conditional risks for developing PTSD symptoms and comorbid mental health
symptoms compared to other minority groups. The United States Hispanic/Latinx population
evinces a higher conditional risk for posttraumatic stress disorder (PTSD) compared to other
racial groups (link: McKnight-Eily et al. 2021) and when diagnosed with PTSD,
Hispanic/Latinx persons showcase a more chronic course (link: McKnight-Eily et al,, 2021; link:
Ortega & Rosenheck, 2000).

Interstitial cystitis is much more common in Hispanic patients with complaints of urinary
frequency and urgency than previously believed. In these women, a strong consideration should
be given for underlying diagnosis of IC. P ENCE OF RSTITL YSTI

HISPANIC PATIENTS WITH URINARY FREQUENCY AND URGENCY (Ho M, Bergman J,

Bhatia N of the University of California at Los Angeles).

I. 4) U.S.C, § 1983 onits own facilitates removal under § 1443(1).

Section 1983 is traced back to the tumultuous period following the American Civil War.

1865 marked the war’s end and the abolition of slavery followed soon after through ratification

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of the Thirteenth Amendment. During the Reconstruction Era, however, southern states refused
to adhere to the Constitution. Rampant racism persisted across the South. Black Codes severely
restricting the freedoms and rights of African Americans were enacted in some states in response
to the abolition of slavery.

The Civil Rights Act of 1871 was the immediate precursor to Section 1983. Congressman
Samuel Shellabarger introduced this legislation in response to widespread violence and
intimidation orchestrated by groups like the Ku Klux Klan. These groups terrorized African
Americans and other minority groups and blocked their participation in political and social life.

On April 20, 1871, Congress enacted legislation that provided the federal government
with tools to combat racial terrorism and protect constitutional rights. We now recognize Section
1983 — originally codified as Section 1 of the Civil Rights Act of 1871 ~ as one of its key
provisions. The historical purpose of Section 1983 could not be more clear: it was born out of the
KKK’s unspeakable history and intended as a means to achieve racial equality.

Therefore, wherein Appellant relies heavily on the use of Section 1983 to bring her
claims under the FAC against an array of Cook County Domestic Relations Division defendants,
she has invoked one of the tried and tested tools' — in a manner wholly consistent with historical
purpose -- available to a victim of racial discrimination to seek relief in the federal courts.

e two-pronged test under § 1443(1) is satisfied.

The Supreme Court has established a two-pronged test to determine whether removal
pursuant to § 1443(1) is appropriate. “First, it must appear that the right allegedly denied the
removal petitioner arises under a federal law ‘providing for specific civil rights stated in terms of

racial equality.’ ... Second, it must appear .., that the removal petitioner is ‘denied or cannot

1 As an aside, the Supreme Court has determined under City of Greenwood v. Peacock,
384 U.S. 808 (1966) that the related and adjacent statutory authority codified under 42 U.S.C. §
1981 affirmatively qualifies as in-scope for the purposes of application under § 1443(1).

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enforce! the specified federal rights ‘in the courts of [the] State."" Johnson v. Mississippi, 421
U.S. 213, 219, (1975) (quoting Georgia v. Rachel, 384 U.S. 780, 792 (1966)).

Furthermore, similar to the setup under Fenton v. Dudley, 761 F.3d 3 770, 773 (7th Cir.
2014), the state court has openly disregarded the force and effect of removal on the state court
proceedings where Judge Johnson conducted two court dates and signed two court orders whilst
the proceedings were unambiguously before the federal court. D. 15, A6. Under Fenton:

[W]e note that the Cook County Circuit Court's decision to enter an injunction after the case had
been removed to federal court is clearly contrary to 28 U.S.C. § 1446(d)... we are troubled that a
state court would disregard § 1446's clear command, especially because the face of the injunction
order reveals that the state court recognized that the defendants had initiated removal.

While the Seventh Circuit has not yet ruled upon how the second prong is satisfied, under Penton
the court emphasized a so-called “equivalent basis exception” for satisfaction of the second
prong under 1443(1) arising under Rachel:

But Rachel recognized an exception to this rule: “even in the absence of a discriminatory state
enactment,” the Court held, removal could be proper if “an equivalent basis could be shown for
an equally firm prediction that the defendant would be ‘denied or cannot enforce’ the specified
federal rights in the state court.” 384 U.S. at 804, 86 S.Ct. 1783 (emphasis added).

Fenton has characterized satisfaction of the equivalent basis exception under Rachel as
demonstrating that federal law (1) “confers an absolute right” on them to engage in the conduct
at issue, and (2) “confers immunity” from being hauled into court on such grounds (quoting from
City of Greenwood v. Peacock, 384 US. at 826-27).

Most relevant however, is that under Vega v. Hempstead Union Free Sch. Dist., 801 F.3d
72 (2nd Cir. 2015), the Second Circuit split from past practice and found that retaliation for
filing a discrimination complaint (as here, A1) is duly actionable under Section 1983. In doing
so, the court found that retaliation for discrimination complaints counted as a "deprivation of any
rights, privileges, or immunities" under the Equal Protection Clause of the Fourteenth

Amendment.

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Here the retaliation consists in the state court continuing to insist that Marissa Girard sit
for an interminable barrage of motions for sanctions and jailing directed at her AND for a
nebulous “mystery trial” which keeps getting postponed but is wholly inappropriate because (a)
no claims are pending against Marissa Girard, (b) no domestic relations pleadings whatsoever
have been filed by Plaintiff-Appellee Jane F. Girard, and (c) Marissa Girard is being threatened
with criminal contempt initiated by Jane F. Girard’s attorneys as apparent “payback” for suing
Cook County Judge William Yu and Jane F, Girard’s attorneys under her lawsuit in the Northern
District of Whois. Al.

The state court insisting on Marissa Girard’s continuing participation (going on 24+
months at this point) as a defendant in the state court proceeding is logically no different from
holding a person in the squalor of Cook County Jail without charges for an extended and
unreasonable period of time. There is no basis in law for Marissa’s predicament in the state
court: it is purely vindictive and retaliatory in nature.

For avoidance of doubt, as recounted under the FAC, Marissa Girard duly informed the
state court with legal filings about her deficient joinder and jurisdictional trespasses before filing
her FAC. Cook County is fully aware of the grotesque due process and jurisdictional violations
against Marissa Girard, but it sustains her place as a defendant for daring to file a lawsuit seeking
relief from discrimination based on her disabilities and race, Al.

Vi The posture here does not prohibit removal.

The scenario here is far from “normal”. Appellant - neither the biological mother nor the
holder of parental rights — has been forced to endure dozens of motions to jail her for putative

violations of a parenting agreement to which she is not a party for the last twenty-four (24)

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months. Even worse, she has been forced to endure these circumstances without being actioned
with a pleading at any point in time. D. 1, A2; Al.

The posture hereunder likely presents a new question for this Court. Appellant is
functionally an “original defendant” but not having been actioned with any pleading by Jane F.
Girard, the declaratory judgment crossclaim filed against her by Kenton Girard is likely an
“original action” for the purposes of the analysis enshrined under Home Depot USA Inc. versus
Jackson, 587 U.S. 435 (2019). Neither is Defendant-Appellant a recipient of a counterclaim or a
“third party defendant” for the purposes of applying J. Thomas’s logic propounded under Home
Depot.

What’s more perplexing is that despite the state proceeding being domiciled in the
Domestic Relations Division of Cook County, the utter lack of pleadings by Jane F. Girard (D.1,
A2 at pp. 7 - 46) implies there are no claims — in specific no domestic relations style claims — in
the underlying state proceeding. Put differently, that state court proceeding is not a custody
proceeding or any other sort of domestic relations style of proceeding. Therefore Judge Daniel’s
reasoning in response to the Motion for Compliance with Circuit Rule 50 (D. 30) and contained
in the transcript from the court date of May 15 2025 (D. 36, A4) premised on Jane F. Girard’s
“claims” or those “claims” constituting an “original action” is flawed.

UL. The discrimination is intersectional in na

As a Hispanic/Latinx person alleging racial discrimination, Appellant’s complaint (FAC)
falls squarely within Section 1983's historical and contemporary purpose. The federal court
system has particular and broadly acknowledged expertise in civil rights matters. The federal
forum is especially appropriate given Section 1983's design to address situations where state

remedies may be inadequate. Section 1983 was literally created to ensure federal court access for

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racial discrimination claims when state systems fail to provide adequate protection.

Appellant’s medical conditions (PTSD and interstitial cystitis) having higher prevalence
in the Hispanic/Latinx community naturally suggests the likelihood of (a) discriminatory policies
that disproportionately affect Latinx individuals with these conditions, (b) stereotyping and bias
based on assumptions about Latinx individuals with certain disabilities, and (c) failure to
accommodate that reflects both racial and disability bias.

As here, discrimination can target multiple protected characteristics simultaneously.
Courts increasingly recognize that disability discrimination can intersect with racial
discrimination, especially when certain conditions disproportionately affect specific racial/ethnic
communities. Section 1983 serves as the enforcement mechanism for ADA violations by state
and local governments. Appellant’s disabilities were used as a pretext for racial discrimination,
or alternatively Appellant was discriminated against because of the intersection of her race and
disabilities. Such a matter fits well within Section 1983's scope.

Here, the discrimination is not just about race or disability in isolation, but about the
intersection of being a Latinx person with specific disabilities that are stigmatized or
misunderstood, particularly within the Latinx community. This type of intersectional civil rights

claim is exactly what Section 1983 was designed to address in federal court.

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CONCLUSION

Litigating this matter in federal court is consistent with Section 1983's original federalism
purpose - providing federal oversight when state systems may be inadequate to address racial
discrimination. The law was specifically designed to provide a federal remedy when state
governments failed to protect civil rights.

The Second Circuit's reasoning in Vega is persuasive and provides a strong foundation to
conclude the equivalent basis exception under Rachel is satisfied as to second prong requirement
under § 1443(1), and the disability-related intersectional argument adds additional complexity

that supports federal jurisdiction.

WHEREFORE, Appellant Marissa Girard hereby requests that the Court acknowledge its
jurisdictional mandate to hear this appeal under 28 U.S.C. § 1443(1) and set a briefing schedule

hereunder.

Dated: June 1, 2025 Respectfully Submitted,
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CERTIFICATE OF COMPLIANCE
In accordance with Fed. R. App. P. 32(a)(7)(C)(), I certify that this brief complies with
the type-volume limitation for proportionally spaced briefs. It contains 3,802 words, excluding

the parts of the brief exempted by Fed. R. App. P. 32(a)(7)(B it).

In accordance with 7th Cir. R. 31(e)(1), I certify that a digital version of the foregoing
Brief was generated by printing to PDF format from the original word processing file and not by

scanning paper documents, and has been furnished to the court.
In accordance with 7th Cir. R. 30(d), I certify that all documents required under 7th Cir.
R. 30(a) and (b) are included in the Brief and Circuit Rule 30(a) Appendix of

Defendant-Appellant.

Dated this 1st day of June, 2025.

/s/ Marissa Girard

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CERTIFICATE OF FILING AND SERVICE

I hereby certify that on June 1, 2025, I filed the foregoing with the Clerk of the Court for
the United States Court of Appeals for the Seventh Circuit by mailing it to: Everett McKinley
Dirksen United States Courthouse, Room 2722, 219 S. Dearborn Street, Chicago, IL 60604.

Additionally, I have served the foregoing on all counsel of record via email and on
Kenton Girard, who is pro se hereunder, also via email.

Dated: June 1, 2025 /s/ Marissa Girard
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THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS VE DRAM F COURT

EASTERN DIVISION
MARISSA A. GIRARD,
Plaintiff, Civil Action No. 1:25-cv-00136
v. - District Judge Andrea R. Wood
JUDGE ROSSANA P. FERNANDEZ, Magistrate Maria Valdez

JUDGE REGINA A. SCANNICCHIO,
JUDGE GREGORY &£. AHERN,
JUDGE WILLIAM YU, First Amended Complaint and Jury. Demand
ELENA 8S. DEMOS JD,

VINCENT D. WALLER JD,
ADAM P. MONREAL ESQ,
EBONY CHEERS,

JANE F. GIRARD,

ENRICO J. MIRABELLI ESQ, and
MATTHEW D. ELSTER ESQ,

Defendants.

Plaintiffs Marissa Girard, in pro se, for her First Amended Complaint against Defendants

hereby requests a trial by jury pursuant to FRCP 38(b) and alleges as follows:
BACKGROUND STATEMENT

L. On or around Fall 2022, Jane F. Girard — a proven sex abuser of her children —
commenced an inexplicable quest to strip custody of her twin biological daughters from their
father Kenton Girard under Cook County Case No. 2015D9633 (“Custody Proceedings”).
Plaintiff’s only connection to that matter devolves from the fact that she is Kenton Girard’s wife.

2. Customarily, such proceedings do not implead successive spouses or non-parents

as parties, however here Jane F. Girard and her attorneys at Beermann LLP vexatiously named

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Plaintiff as a third party respondent under the Custody Proceedings in order to gain leverage over
Kenton Girard by illicitly imposing stress, trauma, anxiety, distress, inconvenience and
significant cost and expense on Plaintiff.

3. The vexatious naming of Plaintiff as a third party respondent under the Custody
Proceedings was masterminded by Jane F. Girard and constitutes a grave concern given
Plaintiff’s extremely serious mental and physical disabilities at play. To wit, Plaintiff suffers from
interstitial cystitis, a debilitating condition that can render her unable to leave home in part due to
the constant need to urinate, particularly when exacerbated by stress or when the condition
expresses in the format of intense and incapacitating vaginal pain. She also suffers from PTSD,
which is aggravated by environmental stress and anxiety and in turn worsens her physical
symptoms under interstitial cystitis.

4, Jane F. Girard and her attorneys at Beermann LLP have launched an all-out
offensive on Plaintiff using the court system, involving excessive and sham motions and papers.
The abuse of the judicial proceeding to harass Plaintiff has included inter alia seeking judicial
sanctions and jail time against Plaintiff for her apparent failure to enforce a gag order on Kenton
Girard’s daughters, making a mockery of her medically documented disabilities which require
accommodation under the Americans with Disabilities Act of 1990 (“ADA”), playing
cat-and-mouse over the scheduling and the format of her in-person deposition — devoid of any
intended probative value for crafting a custody order as to Kenton and Jane’s children, the
making of off-channel threats against her well-being and her livelihood, and most recently
goading Hons. Rossana P. Fernandez and Gregory E. Ahern to trample her rights.

5, Jane F, Girard’s attorneys at Beermann LLP apparently have a very friendly

audience in the family courts of Cook County, wherein Plaintiff has been the victim of a

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frivolous, abusive and vexatious circus of legal proceedings presided by a revolving door of
eight different judicial officers, most recently Hons. Rossana P. Fernandez! and Gregory Ahern.
Meanwhile, the Presiding Judge of the Domestic Relations Division Regina A. Scannicchio —
ostensibly occupying a supervisory posture as to all family court proceedings in Cook County
and the only judicial officer who has continuously overseen the Custody Proceedings from the
beginning — has turned a blind eye to the corrupted and unconscionably improper proceedings.

6. There is notably pending litigation’ in this District (“Bribery Lawsuit”) which
explores accusations of bribery against various judicial officers - including Defendant
Scannicchio, who is described as “owned by Beermann LLP” — connected with the Custody
Proceedings. That Bribery Lawsuit also seeks relief inter alia from civil RICO violations by Jane
F, Girard’s counsel Enrico Mirabelli and his law firm Beermann LLP.

7. The reprobate cast of characters responsible for Plaintiffs mistreatment under the
Custody Proceedings also includes a Cook County lifer who has previously been the target of
criminal investigation, namely Hon. Scannicchios’s Chief Deputy Clerk Adam P. Monreal Esq.,
who has administrative duties over the entire Domestic Relations Division of Cook County.

8. Mr. Monreal was forced to resign from the Illinois Prisoner Review Board in 2016
after former Governor Bruce Rauner discovered that he had under-reported his state salary in a
bankruptcy proceeding which was closed in August 2011. At that time, Monreal was chairman of
the state parole board, appointed to that position by former Governor Pat Quinn in 2010.

9. Defendant Monreal has passively watched from the sidelines — refusing to answer

innumerable email messages and telephone calls — as Plaintiff’s rights have been eviscerated.

1 Judge Rossana P. Fernandez has recused herself pending the adjudication of a Substitution of
Judge for Cause, brought against her by Kenton Girard under the authority of 735 ILCS 5/2-1004(a)(3).
Two previous Hons., William S. Boyd and Renee G. Goldfarb, resigned under suspicion of extrajudicial
wrongdoing including bribery.

2 See Kenton Girard v. Village of Glencoe et al., Civil Action No. 1:24-cv-06882, N. Dist. IHinois.
The operative pleading is filed under Dki{73] in that proceeding.

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Hon. Scannicchio also relies on a number of wildly compromised judicial officers in Domestic
Relations when a case is moved to Calendar 01 pursuant to a petition for substitution of judge,
following an order of recusation or other circumstances wherein there is a prospect of having to
change the judicial officer.

10. One of these compromised judges is Defendant Gregory E. Ahern Jr, who has
recently presided over the Custody Proceedings. Despite his Cook County salary of $260,000
resides in a palatial six-bed six-bath 6,000 square foot home in the most expensive zip code in
Illinois at 465 Sunset Road in Winnetka. That residence is currently worth ~$3.5 million (per
Zillow) and incurs an annual property tax bill of ~$45,000.

11. Prior to living in Winnetka, Hon. Ahern resided at 1815 N. Honore Street in
Chicago, which residence he purchased for $440,000 in 2002. Once he was appointed by the
Supreme Court of Illinois to fill a vacancy as an Associate Judge on January 3 2013, Hon.
Ahern’s financial picture dramatically improved wherein upon information and belief he cut a
backroom deal with Beermann LLP. The deal was consummated in a meeting with attorney John
M. D’Arco during an in-person meeting at the LaGrange Country Club located at 620 S Brainard
Ave, La Grange, IL 60525 during the summer of 2014. Under the deal, Judge Ahern agreed to
accept a regular flow of cash bribes to render favorable decisions for the clients of Beermann
LLP in the proceedings he presided over. Upon information and belief, he makes in excess of
$25,000 per month in undeclared bribery income’ from Beermann LLP.

12. | On September 15 2017, Hon. Ahern closed on his purchase of 465 Sunset Road in

Winnetka (PIN # 05-21-409-010-0000) with the deed* being recorded five days later and

3 Upon information and belief, Hon. Ahern is moreover a “gateway judge” — like Judge William S.
Boyd — who is trusted to direct funds to bribe other Hons. within the Domestic Relations Division. See the
amended pleading at Dkt[73] at fff] 37, 38, 40, 89 under the Bribery Lawsuit.

4 The ownership interest in the home is shared equally by the Gregory E. Ahern Jr. Trust Dated
March 23 2011 and the Lisa Nolan Ahern Trust Dated March 23 2011.

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reflecting a purchase price of $2,165,000. To finance that purchase, Hon. Ahern got a loan for
$1,515,418 with an interest rate of approximately 3.9% and he tendered $650,000 in cash to
close’. Monthly principal and interest alone are ~ $7,200 per month. Homeowner’s insurance for
a replacement value of $2,165,000 would likely be ~$12,000 per year based on data from State
Farm. Adding in the annual tax bill of ~$45,000 brings the monthly obligation to ~ $12,000.

13. Utilities (water, gas, electricity, trash, internet) probably imply about $1,200 of
additional monthly costs. Upkeep and maintenance is usually estimated at $6.00 per square foot
per year. In this case another $36,000 per year. Therefore the monthly payment obligations on the
home elevate to ~$16,000. Add in the looming college expenses for Ahern’s children and the
staggering monthly costs cast a long shadow over Ahern’s $260,000 salary from Cook County.

14. Recently, Hon. Ahern was taken off the bench by the Supreme Court of Illinois,
for exhibiting unacceptable racist bias in postings on social media. On September 12 2023, the
Executive Committee of Cook County vacated a previous order restricting Judge Gregory E.
Ahern Jr’s duties to the office of the Presiding Judge of the First Municipal District under

Special Order 2023-121, dated August 25, 2023.

15. The original order was issued after it was reported on August 15 2023 that Judge
Ahern had used social media to express support for comments that could reasonably be
interpreted as suggesting bias or prejudice based on race, gender, gender identity, or sexual
orientation, Such expressions were seen to potentially undermine his judicial independence,
integrity, or impartiality,

16. It is deeply ironic that Judge Ahern ~ the only judicial officer in the current

Domestic Relations roster to have been suspended for misconduct out of several dozen

5 Upon information and belief, Hon. Ahern saved significantly from his undeclared bribery income
from Beermann LLP during 2013-2017, which allowed him to save up $650,000 for the down payment on
his Winnetka mansion. Notably, he did not have any proceeds from the sale of his previous residence at
4815 N. Honore Street in Chicago because that property did not sell until approximately one year after he
purchased the Winnetka mansion.

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judicial officers — has been hand-picked by Hon. Scannicchio to preside over the Custody
Proceedings in the wake of Hon. Fernandez’s recusal for exhibiting unacceptable bias and
inexplicable antagonism against court watchers and Plaintiff.

17. However, the Judicial Inquiry Board informed the court on September 11 2023
that it had concluded its investigation into the allegations against Judge Ahern. The Board
reported that no further action was warranted and the matters were now closed.

18. As a result, the Executive Committee issued Special Order 2023-126 on
September 12 2023. This order vacated the previous restrictions and reassigned Judge Ahern to
the Domestic Relations Division, effectively returning him to his regular judicial duties.

19. Upon information and belief, attorney John M. D’Arco from Beermann LLP was
instrumental in obtaining the reprieve from the Supreme Court of Illinois for Judge Ahern,
wherein he relied on his federal felon father’s deep relationship with federal felon Ed Burke® to
obtain the favor from the Supreme Court of Illinois. Indeed, Ed Burke’s wife Anne M. Burke
served as a justice of the Supreme Court of Illinois until she resigned from that position on
November 30 2022. Ironically after the latest intervention by John M. D’Arco, Hon. Ahern is

now even more beholden to Beermann LLP and Plaintiff is hostage to these fixed proceedings.

JURISDICTION AND VENUE
20. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
this action arises under the U.S. Constitution and federal law. This Court also has jurisdiction

under 28 U.S.C. §1343(a)(3) to redress deprivations “under color of any state law, statute,

6 As is explored in much more detail in the Bribery Lawsuit, pending before District Judge
Pallmeyer, John M. D’Arco’s father John A. D’Arco Jr (also a former member of the Illinois Bar)
represented the interests of the Chicago Outfit in his position as state senator wherein he exercised
significant influence over state matters until he was convicted under consecutive indictments for bribery in
the Northern District of IHinois and in addition to being remanded to prison was ordered to never again
work in the employ of any state in our country in any capacity whatsoever. It is well known, furthermore,
that beyond his wife being a Supreme Court justice in our state, Ed Burke’s corrupt hang was deeply
involved in the emplacement for appointment of many Hons. in Cook County over the years in what can
only be described as a long history of extremely transparent and ostentatious pay-to-play schemes. in
true Chicago tradition, Ed Burke capped his long political career with a criminal conviction in this district
for infer alia racketeering and extortion.

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ordinance, regulation, custom or usage, of any right, privilege or immunity secured by the

Constitution of the United States.”

21. The Court has authority to grant injunctive relief pursuant to 42 U.S.C. § 1983

and the Court’s inherent equitable powers.

22. Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) because Defendants work and
reside in this district. Venue is also proper in this district under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to this action occurred in this district.

23. Venue is further proper in this district as to those claims which do not specifically

raise federal and constitutional questions under 28 U.S.C. §1367(a).

24, This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§

2201 and 2202.

PARTIES
25. Plaintiff Marissa A. Girard is a longtime resident of Glencoe and the wife of

Kenton Girard, whose ex-wife Jane F. Girard initiated the Custody Proceeding.

96. Defendant Rossana P. Fernandez is a circuit judge in the Domestic Relations
Division who has recently presided over the Custody Proceeding. She is being sued in her

personal capacity.

27. Defendant Regina A. Scannicchio is the presiding judge over the Domestic

Relations Division of Cook County. She is being sued in her personal capacity.

28. Defendant Gregory E. Ahern is an associate judge in the Domestic Relations
Division who has recently presided over the Custody Proceedings. He is being sued in his

personal capacity.

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29, Defendant William Yu is an associate judge in the Domestic Relations Division
who took over the Custody Proceedings after Hon. Fernandez recused herself from the

proceedings. He is being sued in his personal capacity.

30. Defendant Elena S. Demos JD is the Cook County Court ADA coordinator,
wherein she reports to the Office of the Chief Judge Timothy Evans. She is being sued in her

personal capacity.

31. Defendant Vincent D. Waller JD is an HR coordinator for the Cook County

Court. He is being sued in his personal capacity.

32. Defendant Adam P. Monreal Esq is the Deputy Chief Clerk for Presiding Hon.

Scannicchio. He is being sued in his personal capacity,

33, Defendant Ebony Cheers is the courtroom coordinator for Hon. Fernandez and

is being sued in personal capacity.

34. Defendant Jane F. Girard is the ex-wife of Kenton Girard, in other words the

opposing party in the Custody Proceedings.

35. Defendant Enrico J. Mirabelli is an attorney at Beermann LLP who is one of a
few attorneys actively involved on behalf of Jane F. Girard under the Custody Proceedings. He is

being sued in his personal capacity.

36. Defendant Matthew D. Elster is an attorney at Beermann LLP who is one of a
few attorneys actively involved on behalf of Jane F. Girard under the Custody Proceedings. He is

being sued in his personal capacity.

The bench in Domestic Relations is full of compromised judicial officers.

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37. The stench is not limited to Hons. Fernandez, Scannicchio, Ahern, Yu and
Johnson. An instructive example is Associate Judge Myron F. Mackoff, the son of retired Cook
County Circuit Judge Benjamin Mackoff and who was appointed to the bench after having
previously lost in a primary election. He was facing financial ruin in 2013-2014 wherein the
landlord filed an eviction proceeding against his law firm and he was sued for foreclosure, which
lawsuit he litigated for three years. Then Myron relied on his father’s political clout to get
appointed to the bench, with the aim of getting his hands on the accompanying $260,000 salary
which would shore up his disastrous personal finances. Myron — like many others — was
appointed to the bench after filling a temporary vacancy and then losing in the primary election.

38. Associate Judge Lori Rosen was a longtime Cook County prosecutor and upon
information and belief a long-time romantic interest of Judge Gregory Ahern, during the period
of time in which he has been married to his wife Lisa Nolan Ahern. Upon information and belief,
Judge Ahern used his political clout to get Ms. Rosen appointed to the bench in 2018 ~ a few
years after his own appointment.

39. Judge David E. Haracz is an associate judge of the Domestic Relations Division
of the Circuit Court of Cook County. He was elected to the bench in 2005 and re-appointed in
2011, 2015, and 2019. His tenure is beset with allegations that he has a long record of wreaking
tremendous destruction and damage on families and children due to his relentless illegal orders
that transfer family funds to his acquaintances and prolong cases so as to enrich court appointed
child representatives and attorneys.

40. Judge Michael Forti is known for incarcerating Steve Fanady in his divorce from
Pamela Harnack for going on three years. In that matter, Beermann LLP attorney John M.

D’Arco’s former law firm Lake Toback represents Ms. Harnack.

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41. As recently as 2011, the Chicago Tribune reported the surest way to land an
appointment to the bench in Cook County was to be recommended to former alderman Ed Burke
by Michael Madigan (Speaker of the Ilincis House from 1983 to 2021, with the exception of
1995-1997 when Republicans took control of the Illinois House), Ed Burke headed the Cook
County Democratic committee tasked with picking judicial candidates for decades, And the
Chicago Tribune further noted that one of the surest ways to receive a nod from Madigan was to
donate to the campaign of his daughter, former Illinois Attorney General Lisa Madigan.

42. From 2012-2018, campaign finance records show that Michael Forti, who had.
gone on to work as chief counsel for the Tlinois Department of Transportation, donated
thousands to campaign funds run by Ed Burke and other powerful Chicago Democrats.

43. Other Domestic Relations judges recommended by Michael Madigan to Ed Burke
include Judge James A. Shapiro, Judge Matthew Link, Judge Edward Arce and Presiding Judge
Regina Scannicchio. All of these Hons. were delivered to their positions courtesy of Ed Burke
and are moreover completely compromised.

44. Judge Michael Forti is not the only Domestic Relations judge to have come under
scrutiny implementing debtor’s prisons under findings of indirect civil contempt of court, for
failing to pay often millions of dollars of "domestic support obligations," typically consisting
largely of attorney fees racked up by the other spouse.

45. In nearly all instances, the incarcerations in Cook County Jail have come despite
repeated assertions by the men that they do not have the money the courts believe they have, and
despite pleas from the men that the jailing jeopardizes their ability to earn money to pay the

support the court has ordered them to pay.

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46. One such example is Judge Abbey Romanek, who famously sent River Forest real
estate developer Frank “Marty” Paris to debtor’s prison on three separate occasions during the
divorce proceedings with his wife. Journalists from near and far decried Judge Romanek’s
embarrassing inability to achieve even a basic understanding of the balance sheet of a
corporation and confusing its assets for the disposable income of Mr. Paris.

47. In IRMO Roseanne Tellez and David A. Cerda, 2024 IL App (ist) 241866, the
Illinois Appellate Court ruled on December 20 2024 that Hon. Scannicchio abused her discretion
by jailing David A. Corda for civil contempt with a cash bail set at $248,648.73. In that matter,
Hon. Scannicchio — who is, frighteningly, the current presiding judge of the Domestic Relations
Division of Cook County ~ recklessly disregarded the requirement to assure that a civil
contemnor has the ability to pay the purge remedy. Mr. Cerda nonetheless was illegally jailed for
three months all the same.

48, On May 24 2024, Dr Kimberly Lopez was facing jail for indirect civil contempt
in the courtroom of Judge Bernadette Barrett in her family law case 2011D579053 in the Fifth
Municipal District in Bridgeview. Similar to the rebuke against Judge Regina Scannicchio, the
Illinois Appellate Court overruled Judge Bernadette Barrett.

49. Given the enormous critical mass of corrupted judicial officers in Domestic
Relations, it is wholly unsurprising that the courts and their agents are also routinely weaponized
against whistleblowers. In 2021, deceased attorney Edwin "Ted" Bush II famously came under
disciplinary proceedings from the ARDC amid his encounter with Cook County's family courts,
accusing Hons. and guardians ad litem of misconduct over their handling of the dispute between

him and his ex-wife over custody of their three children.

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50. In his responsive pleadings under In the Matter of Edwin Franklin Bush If,
Commission No. 2021PR00059, ARDC Case No. 6322150, filed on August 27 2021 at p. 14,
Mr. Bush notably compared the conduct of the judges, lawyers and GALs involved in divorce
proceedings to child trafficking: “Domestic relations courts and their surrounding cottage
industries are predatory and resemble organized crime—seizing children from fit parents and
then selling them back with unnecessary and unwanted ‘services,'" Bush wrote. "That is none
other than child trafficking.”

51. Unfortunately, pancreatic cancer took the life of Mr. Bush in his mid-40s and he
did not get the opportunity to vindicate his good name which was tarnished by the corrupt
instrumentality of the ARDC as puppeteered by the family law community of Cook County.
However, his efforts to expose the systemic corruption in the Domestic Relations Division have
scored a profound impact on the court reform community in Cook County and beyond, including
under the landmark ruling under J.B. v. Woodard, 997 F.3d 714, 722 (7th Cir. 2021).

52. Domestic Relations Judge Ellen L. Flannigan is a piece of work. Ina family law
proceeding IRMO Szymulanski, Cook County Case No. 2021D008999, Judge Flannigan allowed
Beermann LLP to propound a dozen separate excessive and abusive motions for fees totalling in-
excess of $600,000 and allowed Beermann LLP to gin up criminal charges against Mr.
Szymulanski to see him arrested and the charges subsequently dropped for lack of evidence.

53. The Robing Room reviews of Cook County Domestic Relations Judge Ellen L.
Flannigan are very typical for the Domestic Relations Hons.. Those reviews complain that “[her]
prejudices are so obvious it only emboldens the side she favors to ask for more and be less likely

to compromise. She cares not about equal protection, precedent or due process. When she takes a

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side she advocates for that side... [harbors] bias against fathers, minorities ... calls good people
‘gangbangers’, indiscriminately drug tests minorities, and breaks families up.”

54. It is therefore no surprise that the Cook County court system routinely ranks low

among the various venues across our land. Domestic Relations is reputed as a judicial hellhole.

55. The unreasonably lengthy nature of the Custody Proceedings — now going on
three years —- has caused an outrageous imposition on Plaintiffs life and work. Plaintiff has had
to turn away numerous clientele from her therapy and consulting practice, due to being
overwhelmed by time commitments to attend to the Custody Proceedings and to attend to her
aggravated physical conditions owing to the stress caused thereby, wherein Plaintiff has already
been suffering from interstitial cystitis and PTSD (both of which are qualifying disabilities under
the ADA) and those conditions have become more acute and debilitating as Jane F. Girard and.
her attorneys refuse to relent from their sanctionable and illegal onslaught of court filings.

56, Most recently, on October 16 2024 Plaintiff exercised her statutory right to call
for removal of the presiding judicial officer du jour, namely Hon. Fernandez. She duly and
properly filed her motion, at which point under the plain language of 735 ILCS 5/2-1001(a)@)
Hon. Fernandez was by operation of the statute removed from the Custody Proceedings.

57, In open court at a court date in the Custody Proceedings on October 18 2024,
attending to the first order of business, Hon. Fernandez granted Plaintiff’s petition. However,
with the goading of Jane F. Girard via her attorneys, Hon. Fernandez subsequently defiantly
changed her ruling from “granted” to “stricken” and proceeded to issue numerous orders and
directives under a full-blown Case Management Conference on October 18 2024. Doubling

down, she issued further orders during a court date on December 6 2024, before recusing herself

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from the proceedings on December 9 2024.
58. By commanding the bench when Hon. Fernandez had been operatively removed —
indeed she had divested herself of jurisdiction by pronouncement in open court ~ from the

Custody Proceedings, Hon. Fernandez has made herself amenable to suit.

59. The October 18 2024 court date was not a closed proceeding, it was attended by
numerous litigants and attorneys with different matters before the Court — none of which were
closed to the public.

60. Plaintiff, as named third party respondent under the Custody Proceedings,
presided jointly by Defendants Fernandez and Ahern, was set to attend the October 18 2024
court date to present her petition for substitution of judge as of right directed at Hon. Fernandez.

61, Plaintiff was to appear via Zoom, as were a number of litigants, attorneys, and
other observers. However, Plaintiff was never allowed access to the courtroom proceeding from
the Zoom “waiting room”. Hon. Fernandez and Ahern’s courtroom coordinator Ebony Cheers
personally controlled the Zoom “waiting room” wherein she refused to admit Plaintiff to the
proceedings at the behest of Hons. Fernandez and Ahern.

62. When the matter was called, Hons. Fernandez and Ahern refused to allow
courtroom coordinator Ebony Cheers to admit Plaintiff from the Zoom “waiting room”, Plaintiff
was not permitted to present her petition or to otherwise participate or observe in the court date
on October 18 2024, Moreover, at no point in time did the Court indicate that the proceedings
were closed to the public. Instead, Hons. Fernandez and Ahern capriciously and inexplicably

decided that Plaintiff had no business in her court and refused to admit her.

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63. The Defendants failed to ensure that the Circuit Court of Cook County, Illinois
was accessible to Plaintiff because inter alia it failed to ensure that Plaintiff was admitted to the
October 18 2024 proceeding controlled by Hons. Fernandez, Ahern and Scannicchio.

64. Plaintiff has been injured as a result of the Defendants’ conduct and has sustained
humiliation and emotional distress, has suffered lost earnings under her private therapy and
counseling practice, has suffered the indignity of discrimination, which has manifested in
emotional distress, injury to her earning capacity, disrupted her personal life, and caused the loss
of enjoyment of the ordinary pleasures of life.

65. Absent action protecting the rights of free access to courtrooms for the public, the
judicial system’s credibility will be unnecessarily tarnished by the actions of the Defendants. As
a result of Defendants’ refusal to allow Zoom access to court to Plaintiff, she has been denied
court access and court services provided to non-disabled persons and faces risks and burdens not
experienced by non-disabled persons, including:

a. Fear of dire health consequences, and possibly death.

b. Having to rely on advocacy for her interests outside of the courtroom from which she
has been excluded.

c. Increased anxiety, frustration, and embarrassment, having been denied a voice in the
courtroom proceedings under which she is a named third party respondent.

The protections of the ADA are relevant here.

66. Plaintiff is a member of a protected class under 42 U.S.C. § 12101, et seq.
Plaintiff is also a “qualified individual with a disability” as defined in 29 U.S.C. § 794 for
application of the Rehabilitation Act of 1973. The Rehabilitation Act and its implementing

regulations require that no qualified individual, solely by reason of her actual or perceived

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disability, be subjected to discrimination under any program or activity receiving Federal
financial assistance.

67. The United States Department of Justice Civil Rights Division has recently
provided “Guidance on Web Accessibility and the ADA.” It states in part, “the Department has
consistently taken the position that the ADA’s requirements apply to all the goods, services,
privileges, or activities offered by public accommodations, including those offered on the web.”

68. In today’s tech-savvy world, Zoom is a widely used, reliable, scalable and proven
technology for enabling remote court attendance over the Internet. The Zoom application may be
utilized on mobile devices and home computer systems and is widely supported by various
operating systems and protocols. As of April 2020, Zoom video conferencing software enjoyed
use by an average of three hundred million (300,000,000) conference participants per day’.

69. Title IT of the ADA provides that “no qualified individual with a disability shall,
by reason of such disability, be excluded from participation in or be denied the benefits of the
services, programs, or activities of a public entity, or be subjected to discrimination by any such
entity.” 42 U.S.C. § 12132. Title I further prohibits the unnecessary segregation of persons
with disabilities. Olmstead v. L.C., 527 U.S. 581, 600 (1999).

70. The chief purpose of the ADA is to end discrimination against, and the isolation
of, individuals with disabilities. As Congress stated in the findings and purpose section of the
ADA: “{Hlistorically, society has tended to isolate and segregate individuals with disabilities,
and, despite some improvements, such forms of discrimination against individuals with
disabilities continue to be a serious and pervasive social problem.” 42 U.S.C. § 12101 (a)(2).
Congress further found that discrimination against individuals with disabilities persisted in

education and access to public services, and that such individuals faced various forms of

7 See market research about Zoom in which monihly usage st atisti

s were reported.

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discrimination, including “segregation, and relegation to lesser services, programs, activities,
benefits, jobs, or other opportunities.” 42 U.S.C. §§ 12101(a)(3), (a)(5).

71. Title I of the ADA therefore prohibits discrimination on the basis of disability by
public entities as codified under 42 U.S.C. § 12132. A “public entity” is any State or local
government and any department, agency, or other instrumentality of a State or local government,
and covers all services, programs, and activities provided or made available by public entities,
including through contractual, licensing, or other arrangements. Id. §§ 12131(1), 12132; 28
CER. § 35.130, Accordingly, Title II’s coverage extends to the State and its agencies.

72. Congress directed the Attorney General to issue regulations implementing Title I
of the ADA. See 42 U.S.C. § 12134. The Title II regulations require public entities to
“administer services, programs, and activities in the most integrated setting appropriate to the
needs of qualified individuals with disabilities.” 28 C.F.R. § 35.130(d). “The most integrated
setting” means a setting that “enables individuals with disabilities to interact with nondisabied
persons to the fullest extent possible ..” Id. pt. 35, app. B at 690.

73. Title II’s regulations further prohibit public entities from utilizing “criteria or
methods of administration” that have the effect of subjecting qualified individuals with
disabilities to discrimination, including unnecessary segregation, or “that have the purpose or
effect of defeating or substantially impairing accomplishment of the objectives of the public
entity’s program with respect to individuals with disabilities ....” Id. § 35.130(b)(3).

74, The Supreme Court has held that Title II prohibits the unjustified segregation of
individuals with disabilities in the provision of public services. See Olmstead, 527 U.S. at 597.
Unjustified isolation of persons with disabilities who, with reasonable modifications, could

participate in an integrated setting is unlawful discrimination because (1) segregation

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“perpetuates unwarranted assumptions that persons so isolated are incapable or unworthy of
participating in community life,” and (2) segregation “severely diminishes the everyday life
activities of individuals, including family relations, social contacts, work options, economic
independence, educational advancement, and cultural enrichment.” Jd. at 600-01.

75, Title II’s regulations also address discrimination in the form of inequality in
services, programs, or activities. Public entities may not (1) “{dJeny a qualified individual with a
disability the opportunity to participate in or benefit from the aid, benefit or service;” (2)
“falfford a qualified individual with a disability an opportunity to participate in or benefit from
an aid, benefit or service that is not equal to that afforded others;” (3) “[p]rovide a qualified
individual with a disability with an aid, benefit or service that is not as effective in affording
equal opportunity to obtain the same result, to gain the same benefit, or to reach the same level of
achievement as that provided to others;” or (4) “{o]therwise limit a qualified individual with a
disability in the enjoyment of any right, privilege, advantage, or opportunity enjoyed by others
receiving the aid, benefit or service.” fd. § 35.130(b)(1)(i)-(iii), (vii).

76. The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this
action, Further, Title II of the ADA requires that “no qualified individual with a disability shall,
by reason of such disability, be excluded from participation in or be denied the benefits of the
services, programs, or activities of a public entity, or be subjected to discrimination by any such
entity.” 42 U.S.C. § 12132; see also 28 C.F.R. § 35.130(@).

77. People who suffer from PTSD or interstitial cystitis - such as Plaintiff
are qualified individuals with disabilities under the ADA as amended in 2008. Plaintiff is, and at
all times relevant hereto has been, suffering from PTSD and interstitial cystitis, therefore, a

member of a protected class under the ADA and the regulations implementing the ADA.

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78. Section 504 of the Rehabilitation Act of 1973 prohibits a “qualified individual
with a disability,” solely by reason of her or his disability, from being “denied the benefits of, or
be subjected to discrimination under any program or activity receiving Federal financial
assistance.” 29 U.S.C. § 794(a).

79, The Cook County Court System is a recipient of federal funds. Furthermore,
Zoom accommodation of Plaintiff would be in keeping with the trend of virtually all proceedings
in Cook County wherein Zoom participation is allowed (and moreover encouraged).

80. While the ADA does not require the court system to take any action that would
fundamentally alter the nature of court programs, services, or activities, or that would impose an
undue financial or administrative burden on the courts, Title II of the ADA does prohibit
discrimination on the basis of disability in state and local government programs and services.
Title If incorporates the remedies available under the analogous federal law, Section 504 of the
Rehabilitation Act, which prohibits disability discrimination by federally funded programs.

81. The Defendants have hereby discriminated against persons with disabilities under
their manifest failure to comply with the ADA. Hereunder, Plaintiff was denied the ability to
participate in court dates under the Custody Proceedings viz Zoom, wherein only Zoom offers a
tried and tested and reliable manner of participating which does not threaten aggravation of her
pre-existing mental and physical conditions which have been fully diagnosed and documented by
years of treatment under the care of her physician.

82. Plaintiff has been excluded from participating and attending court dates in the
Custody Proceedings via the actions and decisions of (a) Hons. Fernandez and Ahern and
Courtroom Coordinator Ebony Cheers, (b) the Court Disability Coordinator Elena Demos and

Vincent D, Waller, and (c) through the Domestic Relations leadership under the supervision of

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Hon. Scannicchio and via her deputy Adam P. Monreal Esq.

83. Plaintiff here seeks inter alia a court order from this District Court directing the
county to comply with the ADA. Through this lawsuit, she demands that Cook County afford
individuals with disabilities an opportunity to participate in the county’s court proceedings that is
equal to that provided to nondisabled individuals.

84. All citizens, including those with disabilities, should have an equal opportunity to
observe (and, when they are parties, to participate) in the judicial proceedings in our land, Since
the onset of the Covid-19 pandemic, virtually all state courts in our land have adopted the pattern
and practice of allowing observation of and participation in court dates via Zoom video
conferencing. Zoom has become the normative medium for conducting state judicial proceedings
in fact. Even the state courts which are not Zoom-only are typically Zoom-enabled, in a so-called
“hybrid” setup wherein all are welcomed to participate in person or via Zoom’.

85. Similarly, most of the federal courts utilize teleconferences for conducting the
vast majority of court dates. Here in the Northern District of IHinois, teleconferences are
normative. Gone are the days that the Dirksen Building was over-stuffed with attorneys, parties
and observers. On a random weekday at the Dirksen Building, a typical courtroom of a District
Judge would typically be attended by a courtroom deputy or two. Parties, attorneys and Hons. are
very typically not physically present in the courtroom.

86. Therefore, disallowing the use of Zoom — especially when one of the parties has
disabilities flatly preventing in-person court attendance — implicates material questions about

compliance with Title II of the ADA.

® One great example is provided by the courtroom of (elected, not appointed) Circuit Judge
Catherine A. Schneider from the Law Division of Cook County. Judge Schneider is well perceived as one
of the most outstanding judges in Cook County in that she is an exemplary lifelong learner and student of
the law, dedicated always to dispassionate application of the law and always with unflagging integrity.
Judge Schneider welcomes alll litigants in her courtroom to attend via Zoom or in person.

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87, The timing of the capricious ban by Hons, Fernandez and Ahern of Zoom
attendance (as ratified by Hon. Scannicchio and her Chief Deputy Clerk Adam Monreal) also
appears retaliatory in response to the August 2024 filing of the Bribery Lawsuit under which
lawsuit Kenton Girard seeks relief inter alia for violations of his civil rights by Cook County
Hons. William §. Boyd and Renee G. Goldfarb and for RICO violations by opposing counsel
Beermann LLP involving predicate acts of judicial bribery.

Defendants ignore the stay of proceedings and persist in their pugilistic approach.

gg «Effective on November 22 2024, when Kenton Girard filed a petition for
substitution of judge for cause directed at Hon. Fernandez, the Custody Proceedings were stayed
pursuant to the operation of 735 ILCS 5/2-1001(a)(3), under which Hon. Fernandez was
judicially sidelined and the proceedings were paused in the absence of a judicial officer.

89. The proceedings were also stayed pursuant to Cook County rules at the point at
which Plaintiff timely submitted her appeal of the determination of ADA Elena Demos to ADA
Vincent D. Waller. Such stay lasted until January 31 2025 when the ADA appeal was ultimately
resolved by another attorney, Camela Gardner as explored infra.

90. In spite of this effective double stay, in the morning of December 20 2024,
Defendant Karen Paige at the direction of Jane F. Girard and Enrico J. Mirabelli and with the
blessing and approval of Hons. Fernandez. and Ahern noticed Plaintiff for a deposition to take
place at 1:00 pm on that very day in person in Room 1905 of the Richard J. Daley Center.

91. On December 17 2024, Attorney Karen Paige at the direction of Jane F. Girard
and Enrico J. Mirabelli and with the blessing and approval of Hons. Fernandez and Ahern
noticed Kenton Girard for a deposition to take place at 4:00 pm also in Room 1905.

92. On December 30 2024, Attorney Karen Paige at the direction of Jane F. Girard

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and Enrico J. Mirabelli and with the blessing and approval of Hons. Fernandez and Ahern
propounded a motion to compel the depositions of Plaintiff and her husband Kenton Girard, in
their typical pugilistic fashion secking sanctions’ for Plaintiff's failure to attend the deposition.

93. On January 3 2025, Attorney Candace Meyers at the direction of Jane F. Girard
and Enrico J. Mirabelli penned an ex parte letter to Hon. Ahern — who has been hand-picked by
Defendant Scannicchio to preside over the Custody Proceedings in the wake of Hon.
Fernandez’s recusal for cause — intentionally not copying third party defendants in that matter
namely Detective Ryan McEnerney, Karen Paige and Vanessa Hammer.

94. Such ex parte communication is strictly prohibited under Cook County Rule 17.1,
and Hon. Ahern is further liable for failing to rebuke Attorney Candace Meyers on the record.
Because Attorney Meyers has additionally failed to serve a written summary of the contents of
her ex parte communication with Hon. Ahern on all parties within two (2) days of propounding

her illicit missive, she stands further in breach of Cook County Rule 17.2(b).

95. The ostentatious violations by Beermann LLP and its attorneys — all under the
direction and supervision of Jane F. Girard and Enrico J. Mirabelli — continue to mount. On
January 3 2025, Attorney Elster of Beermann LLP penned an 18-page-long (not counting
exhibits) opposition brief to Kenton Girard’s petition secking Hon. Fernandez’s removal. Under
Il. S. Ct. R. 182(a), Kenton Girard is now duly entitled to twenty-one (21) days to fashion a

reply brief, thereby making his reply brief due on January 24 2025. For this reason, the hearing

° The so-called “Beermann Motion for Fees Playbook’ is explored in detail under the amended
complaint Dkt[73] under the Bribery Lawsuit in this District. By way of a high-level summary, Beermann
LLP and its attorneys are well-known and well-practiced as fo propounding excessive and improper
motions for attorneys fees in virtually all family court proceedings in which they handle. Kenton Girard is
seeking damages under the civil RICO statute, in which he exposes a pattern of predicate acts including
inter alia violations of the Hobbs Act for the extortionate practices under which Beermann LLP seeks
excessive and unreasonable attorneys fees as part of its established modus operandi in the Domestic
Reiations Division in Cook County.

© Incidentally, under the Cook County Circuit Court Rules, briefs must abide by 15 page limits.

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on Kenton Girard’s petition to remove Hon. Fernandez cannot take place.

96. As to the contents of that opposition brief, the highlight appears at p. 14: “All of
Kenton’s arguments about the court lacking jurisdiction after it uttered the phrase ‘I will grant the
motion’ [sic] are simply without merit and detached from reality.” Attorney Elster references the
following exchange between Hon. Fernandez and Kenton Girard, as memorialized in the

transcript of the hearing from October 18 2024 at pp. 4-5:

Mr. Girard: Mr. Girard filed an SOJ as of right yesterday.
The Court: You did?

Mr. Girard: Yup.

The Court: I did not see that. I’m sorry.

Mr. Girard: I can deliver it to you right now if you’d like.
The Court: Yeah. If you have the motion, I will take it. Okay.
The Court: Ali right. I grant your motion.

97. In reality, the briefs submitted by Kenton Girard in support of his petition to
remove Hon. Fernandez adopt the position that Hon. Fernandez was divested of her jurisdiction
not at the moment of her grant of Plaintiff's petition for substitution of judge as of right, but
rather two days earlier when Plaintiff timely filed her petition with the clerk on October 16 2024.

98. Setting aside the finer legal point of whether Plaintiff’s petition operated to
remove Hon. Fernandez upon filing or upon her pronouncement in open court, Hon. Fernandez
was unambiguously divested of jurisdiction in the Custody Proceedings no later than the moment

of her grant of Plaintiff’s petition seeking her removal in open court on October 18 2024.

99. Furthermore, under application of judicial estoppel based upon her own open
court ruling — and preempting the inevitable motions to dismiss - Hon. Fernandez cannot mount
the argument that her jurisdiction over the Custody Proceedings was never in question.

Defendants have demonstrated an open disregard for open access to courtrooms.

100. Hons. Fernandez and Ahern and courtroom coordinator Ebony Cheers ignored all

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subsequent written communication and telephone calls made from Plaintiff complaining about
the improper “striking” of her petition, which happened after Hon. Fernandez divested herself of
jurisdiction over the Custody Proceedings. Moreover, none of the involved staff from the
Domestic Relations Division — including Hon. Scannicchio, Adam Monreal, Jaime Barcas, Hen.

Ahern — responded in any way.

101. Further email messages to Hon. Scannicchio and Adam Monreal after her office
set a hearing date for Kenton Girard’s petition to remove Hon. Fernandez were similarly
unanswered. Adam P. Monreal Esq and Hon. Ahern flatly ignored Plaintiff’s queries during this
time. In one instance, Hon. Scannicchio’s assistant Jaime Barcas responded with a
condescending boilerplate email message containing instructions for pro se litigants.

102. Furthermore, communications with Hon. Fernandez’s Court Coordinator Ebony
Cheers were met with a scowl. Ms. Cheers on two separate occasions indicated that she
personally saw no reason to allow Plaintiff to participate in court dates via Zoom. Furthermore,
she indicated that there were strong countervailing reasons to not allow participation by Zoom
including (a) the proceedings were “contentious”, and (b) Zoom participation raised serious
safety concerns as to the parties. Ms. Cheers also indicated that neither Hon. Fernandez nor
Judge Ahern would allow Zoom access under any circumstances whatsoever.

103. The September 5 2024 status conference before Hon. Fernandez was not a closed
proceeding, it was a general status call attended by numerous litigants and attorneys with
different matters before the Court — none of which were closed to the public. Similarly, the
October 18 2024 case management conference was neither a closed proceeding, it was also
attended by numerous litigants and attorneys with different matters before the Court — none of

which were closed to the public.

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104. Family court reform advocate Tina Swithin and investigative journalist were
among the attendees of the September 5 2024 court date under the Custody Proceedings. Their
purpose in attending was to obtain more first hand material and evidence to write about on their
respective blogs and for the collective hundreds of thousands of followers consisting primarily in
other victims of the family court system.

105. On October 18 2024 when the SOJ as of Right matter was called, Hon. Fernandez
granted the same. Subsequently goaded by objections lodged in open court by Enrico J. Mirabelli
and at the direction of Jane F. Girard, Hon. Fernandez — who at that point had divested herself of
jurisdiction — openly remarked “Marissa Girard is not here in person. So | am striking her
motion. She knows she has to be here in person for all court dates.” Those remarks were
memorialized by a court reporter in attendance and reduced to a written transcript of the hearing.

106. Hon. Scannicchio and Adam Monreal, as well as ADA personnel Elena Demos
and Vincent D. Waller, collectively failed to ensure that Domestic Relations Hon. Fernandez’s
courtroom was accessible to Plaintiff because infer alia Plaintiff was actively refused egress to

the proceedings from the court’s Zoom waiting room during the October 18 2024 proceeding.

107. Plaintiff has been injured as a result of the Defendants’ conduct and has sustained
humiliation and emotional distress. None of Hons. Fernandez, Scannicchio, Ahern or domestic
relations staff Adam Monreal and Ebony Cheers enjoy either judicial nor qualified immunity
because the decision to deprive Plaintiff of her constitutionally protected right was an
administrative action and not subject to judicial immunity and the right to attend public judicial

proceedings is a well-established right and its violation is not protected by qualified immunity.

The Defendants have concocted a counterfactual narrative,

108. The denial letter of November 1 2024 from CDC Demos states that Plaintiff

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participated or observed via Zoom during the September 5 2024 court date under the Custody
Proceedings. Such participation did not take place and is controverted by Zoom logs. The denial
letter’s further claim that cameras were being disruptively turned on and off is refuted by thirty
or more witnesses who observed the proceedings under the September 5 2024 court date.

109. Furthermore, the notion that there was a concern that participants were recording
the court date via Zoom is unsubstantiated. Moreover, that would appear to be a generic concern
for all of the millions of court proceedings which take place throughout the state courts in our
country every month.

110. Finally, the actions of third-party court observers (including family court reform
advocate Tina Swithin, who was present during the court date) cannot be construed as a legal
foundation to permit or deny Zoom accommodations for Plaintiff. To wit, under the ADA
reasonable accommodations must be based on the individual’s specific disability, the feasibility
of the requested accommodation and the fundamental requirements of the proceeding.

111. As discussed, CDC cited alleged “serious safety concerns” attendant to the parties
participating in court dates via Zoom. How virtual participation could lead to concerns about
physical well-being has not been explained. Nor could it be explained, because it is a purely
fictitious narrative.

112. The court's threat to have Sheriff’s Deputies present appears to be nothing more
than an intimidation tactic, because there is no underlying safety concern other than one which
might be manufactured by forcing in-person court dates under the pressure of the high-conflict
Custody Proceedings. This threatening approach not only fundamentally misapprehends
Plaintiff's medical and palliative needs, but appears to be calculated as a form of retaliation

against Plaintiff for exercising her legal right to demand accommodation under the ADA.

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113. The no-Zoom order of Hon. Fernandez constitutes a deliberate disregard for
Plaintiff’s safety and well-being from another perspective also. In late May 2024, Plaintiff
obtained an emergency Stalking No Contact Order (“SNCO”) against Jane F. Girard. By forcing
Plaintiff to be physically present — feet away from — Jane F. Girard, is subjecting Plaintiff to
physical danger.

114, Finally, the characterization of the proceeding as “contentious” is unreasonable.
At no point during the nearly three year history of the Custody Proceedings were there any
incidents whatsoever of raised voices, disruptive behavior, threats or lack of respect for the court.
More to the point, there has been judicial finding or sanction handed down by any of the eight
separate judicial officers who have presided over the Custody Proceedings.

115. Plaintiff has consistently provided comprehensive medical documentation
underlying the need for Zoom attendance. Her attempts to share a confidential letter from her
physician, under seal, have been furthermore denied. Again counterfactually, CDC Demos only
asked for specifics as to Plaintiff’s disabilities specifically after the conclusion of the October 18
2024 Case Management Conference. Moreover the Cook County Court has disregarded its

requirements to engage in good faith dealing regarding needed accommodations.

Defendants have ostentatiously and vexatiously refused to accommodate Plaintiff.

116. Plaintiff has been fighting for express permission from Hons. Fernandez,
Scannicchio, Ahern (and more recently, Yu) to allow her to attend court remotely via Zoom. The
denial of these numerous requests appears to be based on factual inaccuracies, demonstrates
apparent retaliation for protected legal actions, and has been compounded by subsequent
procedural violations that further discriminate against Plaintiff based on her disabilities.

117. It is noteworthy that prior to these recent denials under the installation of Hons.

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Fernandez and Ahern over the Custody Proceedings, all of Plaintiff’s previous requests for Zoom
access had been granted without issue. Every single prior court date has been successfully
conducted over Zoom, with no problems or incidents. Significantly, no judge who has presided
over these proceedings has ever (a) expressed any concern about Plaintiff's participation via
Zoom, (b) characterized the Custody Proceedings as contentious, (c } raised any safety concerns
connected with attendance of court dates via Zoom, or (d) questioned the appropriateness of
allowing Plaintiff to participate in court dates via Zoom.

118. This established history includes (a) successfully granted ADA accommodations,
(b) effective remote court participation, (c) proper conduct during all previous Zoom
proceedings, (d) consistent accommodation of Plaintiff’s disabilities.

119. Seven previous judges accepted and facilitated remote participation via Zoom
without incident during the history of the Custody Proceedings. This makes the current spate of
denials under Hons. Fernandez and Ahern are particularly puzzling and suggest the lack of any
legitimate underlying evidentiary foundation. The abrupt reversal of these previously granted
accommodations, which had effectively served their purpose throughout our proceedings,
strongly suggests that this denial is motivated by factors unrelated to the merit of the
accommodation request or any legitimate court concerns.

120. Remote court attendance via Zoom has been successfully used previously in the
Custody Proceedings, is widely implemented throughout the state courts in our land, creates no
undue burden on the court and does not fundamentally alter court proceedings. Moreover Zoom
decreases operating costs for the courts which employ it. Fewer bodies in the courtroom
necessitates fewer courtroom deputies, security personnel and other court administrators.

121. The about-face reversal by Hons. Fernandez and Ahern as to Zoom participation

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implicates their impartiality as judicial officers, creates substantial concerns about their respect
for the force and effect of federal law and the Constitution, creates questions about their motives
and potential retaliatory animus and suggests a lack of consistency in their own decision-making.
A self-reinforcing cycle of harm has resulted.

122. The denial of this accommodation, combined with threats made against Plaintiff
by Hons. Fernandez and Ahern and the apparent retaliation for filing a federal lawsuit, has
exacerbated Plaintiff's medical condition. This creates a cycle wherein the denial of

accommodation worsens Plaintiff’s condition consisting of the following adverse impacts:

a. The worsening of Plaintiff's condition amplifies her need for ADA accommodation.

b. The threats and hostility further impact Plaintiff’s health.

c. The retaliatory nature of these actions causes additional stress and anxiety. |

d. The retaliatory timing roadblocks Plaintiff's constitutional right to seek a remedy.

e. Forcing in-person attendance triggers PTSD" symptoms.

f. These PTSD symptoms directly worsen Plaintiff's medical conditions.

123. The Defendants’ gross mishandling of these connected conditions demonstrates
their failure to understand or properly accommodate disability needs. The compounding effect of
these violations includes (a) creation of an inaccurate court record suggesting "non-appearances"
when legally proper notices and motions were filed, (b) prejudicial treatment of properly filed
legal motions based on disability status, and (c) additional psychological stress from having
rights violated while being physically unable to attend and defend against improper procedures.

124. Investigative Journalist Michael Volpe captured this dynamic in his column on

substack in after observing the September 5 2024 court date under the Custody Proceedings:

The action began when Tina Swithin, from One Mom’s Battle, logged on. She told me she was
about fifteen minutes late, but Hon. Fernandez quickly took notice. Tina told me that she
routinely court watches, and her general protocol is to turn her microphone and video off, because
having them [on] can cause a distraction. Hon. Fernandez saw it differently. She quickly

| The EEOC regulations specifically identify conditions that should easily be concluded to be
disabilities. Such listing includes PTSD.

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demanded her video on, and for Tina to identify herself. Tina turned her video on and wrote that
she was an observer for the Girard case. “As soon as she saw that, she was fuming,” Tina told me.
“She basically accused us of harassing the court.” Tina called Fernandez “unhinged.

‘The dialogue with CDC Elena Demos JD goes nowhere.

125. On September 12 2024, Plaintiff emailed Defendant Demos advising her that due
to her disability, she would be unable to attend the in person Case Management Conference
ordered by Hons. Fernandez and Ahern and set for October 18 2024. In this email, Plaintiff
specifically requested the right to participate in the upcoming court date via Zoom, in keeping
with the manner in which she was previously allowed to participate in the Custody Proceeding
before the half dozen other Hons. who preceded the appointment of Hons. Fernandez and Ahern
thereunder.

126. Receiving no response whatsoever from Defendant Demos, Plaintiff emailed
Defendant Demos again on September 23 2024 requesting an update on her request to participate
in the court date via Zoom. Defendant Demos responded the following day, reporting that Hons.
Fernandez and Ahern had not yet weighed in on the matter.

127. Another week went by without any further response from Defendant Demos, and
Plaintiff again requested an update from her, wherein Defendant Demos finally got back to her
after the clapse of another week on October 4 2024, stating:

Ms. Girard,

{ have communicated your accommodation request to the judge. There are a number of important

reasons why the judge has scheduled these court dates in-person. If you are unable to attend

in-person on October 18, 2024, you can file a motion that the case be heard on a different date

where you will be able to attend in-person.
Thank you. Elena Demos, J.D.

Ironically, under the “take two” reasoning of Hons. Fernandez and Ahern on October 18 2024,
no motion will be allowed by Plaintiff unless presented in person — thereby excluding her totally

from the courtroom.

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128. Plaintiff did not take long to craft her reply on the very same day, writing:

Dear Ms. Demos,

Thank you for your response. However, I must express my deep disappointment and concern

regarding the handling of my accommodation requests over the past year.

As the ADA Coordinator, I expected your office to facilitate reasonable accommodations for my
disability, as required by law. Instead, I've encountered repeated barriers and delays. The
suggestion to file a motion for a different in-person date does not address my need for a remote

attendance option due to my medical condition.

I would like to remind you that the Americans with Disabilities Act requires courts to provide
reasonable accommodations to ensure equal access to justice. Remote attendance is a common

and reasonable accommodation, especially given current technological capabilities.

Your response appears to prioritize the court's preference for in-person hearings over my legally
protected right to accessible proceedings. This approach seems to contradict the spirit and letter of

the ADA,
I formally request:

1, A detailed explanation of why remote attendance cannot be accommodated.

2. Information on how to file a complaint regarding the continued failure to provide reasonable

accommodations.
3. A solution that respects both the court's needs and my rights under the ADA.

1 hope we can resolve this issue promptly and ensure that the court fulfills its obligations under

disability law.

129. Again waiting a full week to respond, on October 10 2024 Defendant Demos

wrote to Plaintiff indicating that after consulting Hon. Fernandez, Plaintiff's participation by
Zoom was out of the question because “[tJhe court proceeding is being held in person because

Zoom attendance was very chaotic, and the court is considering the safety of the parties. There

will be Sheriff's Deputies present in court.”

130, Indeed, after the stunning refusal by Hon. Fernandez (and duly ratified by Hon.

Ahern) conveyed by Ms. Demos on October 10 2024, that very same day Plaintiff reached out to
Hon. Fernandez’s court coordinator, Defendant Ebony Cheers. At all times in question, Ebony
Cheers served as the courtroom coordinator for Hons. Fernandez and Ahern since her installation

in her courtroom at the Daley Center, which took place on or around Summer 2024 after a stint

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on the bench in Rolling Meadows.

131. In this capacity, Defendant Cheers also had an obligation to ensure that
appropriate measures were taken to reasonably accommodate Plaintiff in light of her documented
mental and physical disabilities. However, Plaintiff's request for reconsideration of her
accommodation by Defendant Cheers was flatly denied. Whereas Ms. Demos deferred to Hon.
Fernandez as the final say on whether Plaintiff would be allowed to participate in court dates via
Zoom, Defendant Cheers flatly denied Plaintiff’s request stating plainly that “she was in charge
of courtroom matters for Calendar 99” and she did not see any reason to grant Zoom access.

132. The “chaos” referenced by Ms. Demos was presumably a reference to the prior
court date of September 5 2024 (indeed previous to the October 18 2024 Case Management
Conference, the only court date presided by Hon. Fernandez in the Custody Proceeding was on
September 5 2024). How participation by Zoom could imply a threat to the safety of the parties
is certainly difficult to comprehend. But the remedy of ordering those very same parties who
caused “chaos” via their remote attendance — to such a degree that their physical safety was
threatened — to appear in person is absolutely nonsensical. One can only reasonably interpret the
imposition of in-person attendance as a form of punishment, and the promised attendance by
Sheriff’s Deputies minimally an admonition or more likely outright intimidation.

133. Allowing the October 18 2024 court date to pass before replying via email again
to Plaintiff, Ms. Demos appeared to backpedal stating that Hons. Fernandez and Ahern had not
yet decided on whether to allow Plaintiff to participate in the remaining court dates in the
Custody Proceeding via Zoom. In the same email, Defendant Demos asked Plaintiff to explain
the nature of her disability preventing her from attending court in person.

134. Plaintiff responded on the very same day that she had been diagnosed by her

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physician with interstitial cystitis as well as PTSD (post-traumatic stress disorder), and as a result
of her medical conditions she suffers from chronic and debilitating pain as well as a constant
need to urinate. Additionally, Plaintiff noted that she has to manage severe side effects from the
pain medication which impair her motor skills.

135. Making matters worse, Plaintiff's condition is exacerbated by stress and, under
stressful situations (such as her physical presentment in court, under the high-conflict Custody
Proceedings), she is at great risk for the onset of debilitating anxiety attacks, locomotive
degradation and aphasia. The unnecessary stress caused by Hons. Fernandez and Ahern’s refusal
to allow Plaintiff to participate by Zoom was likely exacerbating her medical conditions.

136. Plaintiff sent a follow-up email message to Defendant Demos on October 21
2024, addressing their shocking disregardment of her disability:

I am following up on this email. My health has been severely affected by the stress of what
happened Friday and the previous week, including you not communicating ANY’ THING to me
before the court date despite my giving you and the Judge over a MONTHS notice that I was not
available and undergoing treatment due to my disability. | also made every effort to be given the
opportunity to be present over Zoom which was not granted to me, with no explanation given.

The gall of the Judge to go ahead with this hearing and then to call out my name in court,
knowing FULL WELL that I would not be there due to my disability was further confirmation
that she knew exactly what she was doing and was trampling over my rights - is beyond wrong
and illegal. She then ignored my Substitution of Judge For Right with NO LEGAL BASIS AT
ALL, as the SOJ does not require a party to be present to serve this. I filed a proper written
application and it was served properly and Hon. Fernandez knowingly ignored my rights with
your blessing.

Defendants Demos, as well as Hons. Fernandez and Ahern, remained silent in response.

137. Plaintiff again wrote to Ms. Demos on October 28 2024:

Additionally, I am extremely concerned about the threats made by Hon. Fernandez, who had
Deputy Sheriffs present in an apparent attempt to intimidate me. This would have caused me even
greater extreme emotional distress had I been able to attend in person and has contributed to my
fear of appearing in person for any future date regardless of my health status.

I am shocked and disappointed that as the ADA coordinator, the accommodations I require are
instead being minimized, mocked, and threatened. This is unacceptable and a clear violation of
my rights under the Americans with Disabilities Act.

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Again Defendant Demos refused to respond to Plaintiff, in an obvious affront to proper

procedures under requesting of reasonable accommodations under the ADA.

138, Additional follow-up telephone calls to Defendant Ebony Cheers and the clerks
for Hons. Fernandez and Ahern also proved futile. Ms. Cheers again reiterated that she saw “no
good reason to allow [Plaintiff] to use Zoom”, and she further noted that Hon. Fernandez “does
not appreciate court watchers”, so everything would be in person from that point forward.

139. On November 1, 2024, Defendant Demos sent a written response to Plaintiff

regarding the court’s refusal to allow Plaintiff to attend court via Zoom, stating in relevant part:

[T]he judge had prohibited litigants in the case from attending court hearings via Zoom due to the
highly contentious nature of the proceedings, the fact that the parties would turn their Zoom
cameras off and on, would address each other instead of the court, and would generally not
comport with the proceedings of the court. There was also a concern that it was unable to be
ascertained whether any of the parties were recording the court proceedings. As a result of the
contentious nature of the proceedings, all parties were ordered to appear in person and Sheriffs
Deputies were secured for each court appearance to maintain order.

140. Of course, any dispute in court is inherently adversarial. Hereunder, the
proceedings for over two years have consisted primarily in court dates conducted over Zoom. As
to the position adopted by Hons. Fernandez and Ahern, multiple eyewitness accounts during the
first hearing with Fernandez plainly contradict her story of the first hearing she presided over.

141. Also in her written response to Plaintiff, Ms. Demos states “Decisions on ADA
accommodation requests are made by the judge in the case. The OCJ (“Office of Chief Judge”)
CDC (“Court Disability Coordinator”, ie. Elena Demos) acts solely as a liaison between the
individual making an ADA accommodation request and the judge in the case.” This statement
makes it very clear that Hon. Fernandez has personally made the statements contained in this
response. Her statements are a clear distortion and misrepresentation of the facts.

142. The “safety of the parties” requiring in-person attendance of all Court Dates (at

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which Sheriff's Deputies would be present in appropriate numbers) cannot possibly be
understood as a conclusion built on rational assessment of circumstances. Because there is
evidently no logical reasoning which underlies this conclusion. Instead, the capricious revocation
of attendance of court dates via Zoom is a barely disguised means of harassment and
intimidation targeting the Plaintiff, and further calculated to distress her husband Kenton Girard
who is also party to the Custody Proceedings.

143. According to the November 1 2024 letter from Defendant Demos, furthermore,
Plaintiff needs to propound her request for Zoom accommodation again. However, such request
at this time appears to be mooted by the fact that Hon. Fernandez has suddenly and inexplicably
allowed Zoom participation as to court dates to once again resume, per the standards which have

been well-ingrained since the onset of the Covid-19 pandemic across all state courts in our land.

Domestic Relations Presiding Hon. Scannicchio’s office ignores the issue.

144. In early December 2024, Plaintiff made numerous efforts at outreach to Presiding
Hon. Scannicchio’s office via Executive Assistant Jaime A. Barcas, to no avail. On two
instances, Mr. Barcas replied with condescending canned responses including resources for pro

se litigants.

145. In another instance Hon. Scannicchio’s assistant Jaime Barcas indicated that the
Office of Presiding Judge Scannichio had no involvement with accommodations for persons with

disabilities, but failed to identify the proper channels for requesting the same.

146. On December 12 2024, Plaintiff emailed Chief Deputy Clerk Adam P. Monreal
Esq seeking his intervention to clarify that she would be able to participate via Zoom in all future
court dates under the Custody Proceedings. Similar to her outreach to Jaime A. Barcas, Mr.

Monreal has flatly ignored Plaintiff’s questions and entreaties in their entirety.

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Vincent D. Waller ID handles the ADA appeal.

147. On November 11 2024, Plaintiff filed an appeal of the November 1 2024
disposition by CDC Demos as to her request for ADA accommodation consisting in the ability to
attend all court dates via Zoom.

148. This appeal utilized a review process instituted and approved by the Supreme
Court of Tilinois, wherein a different Court Disabilities Coordinator (“CDC”) would be
responsible for reviewing the decision of CDC Demos. In this particular instance, the reviewing
CDC assigned to Plaintiff’s appeal was Vincent D. Waller JD”.

149. Extensive back-and-forth emails between Plaintiff and Mr. Waller ensued. On
November 25 2024, Mr. Waller indicated that he had hoped to construct a response to her appeal
that week. Mr. Waller asked for evidence of previous accommodations which had been accorded
to Plaintiff, and she duly noted that she had been excused from jury duty and that prior to
October 18 2024, she had been permitted to participate via Zoom at virtually all court dates.

150. In another matter before Hon. Michael Weaver, Plaintiff was also allowed to
participate via Zoom. Among other points, Plaintiff noted that she suffers from interstitial
cystitis, a debilitating condition that can render her unable to leave home, particularly when
exacerbated by stress. Having her medical condition discussed in court without her presence has
been both traumatic and humiliating, and as noted in her appeal, her PTSD from this ongoing
case further aggravates my physical symptoms.

151. On December 12 2024, Mr. Waller inquired about the timeline for when

Plaintiff’s course of medical treatment would be completed. She responded that treatment will

‘2 While the Cook County appeal form utilized for her appeal of the ADA accommodation denial
by CDC Demos lists Vincent Waller as occupying the role of another CDC in the Cook County Court, his
email signature lists his official position as "Human Resources Assistant Administrator, Office of the Chief
Judge, Circuit Court of Cook County”.

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continue for the foreseeable future.This response was particularly enervating because Hons.
Fernandez and Ahern had the previous week ostensibly re-allowed attendance of all court dates
via Zoom. However ambiguity remained because there was no court order allowing the same.

152. Because Plaintiff's appeal of the ADA accommodations denial by CDC Demos
was filed within fifteen (15) days of the date of the denial, it timely operates to cause a stay of
the Custody Proceedings in all respects.

153. Additionally, Plaintiff has moved for a stay of the Custody Proceedings in all
respects until the adjudication of the appeal of the denial of her ADA accommodation has been
completed, presumably by Vincent D. Waller. For that reason, the Custody Proceedings are

currently in a kind of “Twilight Zone”.
Plaintiff petitions to remove Hon. Fernandez.

154. On October 16 2024, Plaintiff filed a petition for substitution of judge (“SOJ”) as
of right under the authority of 735 ILCS 5/2-1001(a)(2), her first such petition in the family law
proceeding hereunder. Because her application was timely presented before the evidentiary
hearing and before Hon. Fernandez had ruled on any substantial issue in the case in the family

law proceeding, that application operated to remove Hon. Fernandez from the proceedings”.

155. As a consequence, the proceeding presided by Hon. Fernandez on October 18
2024 was in effect ultra vires. The decisions and actions by Hon. Fernandez at the October 18
2024 court date constituted nothing more than “playing judge” and therefore do implicate legal

or judicial orders.

13 In the court date on October 18 2024, upon receipt of Plaintiff's Petition for SOJ as of Right,
Hon. Fernandez first states “So, Pm going to grant your motion’. Then Mr. Mirabelli in appesitian to the
paper suggests that Plaintiff must be present to argue the motion, and Hon. Fernandez thereby ruled —
after she had divested herself of jurisdiction — that she was striking the SOJ as of Right.

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156. Hon. Fernandez moreover does not enjoy judicial immunity post October 16
9024. Under a strict reading of the substitution of judge statutory language, it is indeed
unnecessary for a judicial officer to “ratify” or indeed to expend any discretion whatsoever as to
a properly presented application. The paper filed by Plaintiff hereunder represented her first
request for SOJ and was accepted by the clerk, and it did not implicate timeliness concerns.

157. At best, a judicial officer targeted by a petition for SOJ as of right may perform
the nominal and administrative task of confirming the effect of the petition with a docket entry.
As a result, prongs (2) and (3) of Dawson v. Newman, 419 F. 3d 661 (7th Cir. 2005) both fail:
under no colorable circumstances was Hon. Fernandez to take any action other than possibly
ratifying the force and effect of the SOJ petition brought against her. Litigants from throughout
our state and through the decades have come to expect that granting of their first timely SOT

petition as of right is a formality at most.

158. As a result, all actions, orders and directives of Hon. Fernandez signed or
propounded after the filing of Plaintiffs petition for SOJ on October 16 2024 are void ab initio.
The current status is that every single decision, order and action taken by Hon. Fernandez after
approving Plaintiff’s petition for SOJ as of right as the first order of business before the court on
October 18 2024 — including denying pending motions for a stay and for intervention, and setting
an omnibus scheduling order leading up to the ultimate evidentiary hearing — was without

jurisdiction and must be wholly undone.

159. The events of the September 5 2024 court date were shameful to behold and raise
significant questions about the judicial temperament and bias of Hon. Fernandez. On September
5 2024, Hon. Fernandez held her first hearing hereunder. The current custody modification

proceeding has been active for over two (2) years and none of the previous judicial officers

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(including without limitation J. William S$. Boyd and J. Renee G. Goldfarb) had any issues
holding Zoom hearings in this case.

160. During this hearing, Hon. Fernandez did not allow Petitioner to speak other than
when she asked him to supply truncated single word responses to questions posed (whereas
opposing counsel] was allowed to speak at length). She also entered a facially questionable
decision that all future court dates should be in person not over Zoom, thereby (and perhaps
intentionally) complicating attendance for Plaintiff who requires participation via Zoom.

161. One of the court watchers in the September 5 2024 court date was Tina Swithin
(@onemomsbatile) who made the following Instagram post highlighting what happened during

this hearing. ‘Tina stated:

Never have I ever — this morning, I logged on to watch a public hearing in the case of
@justiceforgwenandgrace. I invited a group of students who have an interest in family court
advocacy and reform. I have been attending court watches for years as an advocate — both in
person and online. Never have I ever seen a judge completely unhinged and visibly ANGRY that
there were court watchers. Typically, it is courtesy to have cameras and microphones off, which is
what I did and what I instructed the students to do. She threatened to take people out of the zoom
call if cameras weren’t tured on immediately, so we all complied. Then she said names needed to
reflect the case you were present for: | immediately changed my name to “Tina Swithin: Observer
of Girard case.” As soon as she saw that, she was fuming and accused us of harassing the court
for being present AT A PUBLIC HEARING. She then threatened to order that future court dates
for this case be in-person only. Show me a judge wanting to keep things out of the public eye and
I will show you a red flag.

Show me a judge that has a problem with court observers and J will show you a red flag. Court
watching is the practice of observing courtroom proceedings to ensure transparency,
accountability, and fairness...As described by the American Bar Association: The right of public
access to court proceedings is enshrined in the Constitution. The First Amendment to the
Constitution gives the public and press a right of access to court proceedings. Requiring the work
of the courts to be conducted in public view provides an important check on the potential for
abuse of power, allowing observers to better understand how the justice system operates and
enhancing public confidence in the courts.

Following that hearing investigative journalist Michael Volpe published an article raising serious

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questions about Hon. Fernandez’s temperament, wherein he includes material from his own

interview with Tina Swithin.

162. Plaintiff has been blindsided by additional trauma because of Hons. Fernandez
and Ahern’s obvious garnesmanship which has been calculated to maximize emotional distress
for Plaintiff. To wit, the recent December 3 2024 court date (for presentment of a nominal
motion by Beermann LLP) was affirmatively allowed over Zoom, when this Court made an

extremely heated pronouncement just weeks earlier that all court dates would be in person.

163. Indeed, ADA compliance personnel have reduced Hons. Fernandez and Ahern’s
commands to writing in their correspondence with Plaintiff. The arbitrary nature of these
decisions regarding in-person versus remote attendance, particularly when they resulted in the
improper denial of Plaintiffs statutory right to one (1) substitution of judge upon timely

application, has caused Plaintiff significant additional mental anguish and emotional distress.

164. Given her pre-existing mental impairment, documented by years of treatment by
her physician, this is no trivial matter. The judiciary in our land first and foremost must honor
our sacred Constitution; the ways in which Hon. Fernandez has abused her power to inflict

extremely serious harm upon the rights of Plaintiff and court watchers is shocking to behold.

165. The October 18 2024 court date was not a closed proceeding; it was attended by
numerous litigants and attorneys with different matters before the Court none of which were
closed to the public. However, Plaintiff was attempting to join via the Court’s Zoom credentials

and was actively turned away by Hons. Fernandez and Ahern and Ebony Cheers.

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166. Indeed, Plaintiff had important business before the Court, namely her first petition
under these proceedings to effectuate a Substitution of Judge as of Right. However, she was
never admitted access to the Court’s Zoom session. Plaintiff has sustained humiliation and
emotional distress as a result of Hon. Fernandez’s vexatious refusal to allow Plaintiff to

participate in the proceeding via Zoom.

167. Absent action protecting the rights of free access to courtrooms for the public, the
Cook County family court’s credibility has been further tarnished by the actions of Hons.
Fernandez and Ahern. The right to attend public judicial proceedings is a well-established right,

168. Moreover, Hons. Fernandez and Ahern do not enjoy judicial immunity because
the decision to deprive Plaintiff of her constitutionally protected rights by denying her access to
the proceedings via Zoom was an administrative action. This egregious and hostile denial of
access to the proceedings on October 18 2024 was an impermissible violation of Plaintiff's First
Amendment rights.

169. Hon. Fernandez expressed her discontent with the presence of court watchers at
the court date on September 5 2024. Questioning of some of the court watchers in attendance has
revealed Hon. Fernandez directed her courtroom staff to disable certain of the court watchers’

Zoom access to the proceedings during that court date.

170. Certain of those attendees (including family court reform advocate Tina Swithin)
were there in an expression of solidarity with the minor children whose lives are at issue in the
Custody Proceedings. Hon. Fernandez’s grotesque disregardment of the First Amendment rights

of these civic-minded court watchers is a grotesque affair from every point of view.

Kenton Girard brings SOJ for cause against Hon. Fernandez.

171. Following Hon. Fernandez’s flouting of her own subject matter jurisdiction after

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granting Plaintiff’s SOJ as of right, Kenton Girard filed his own petition for SOJ for cause
against Hon. Fernandez on November 22 2024.

172. Inexplicably, Hon. Fernandez slow-walked the processing of Kenton’s petition
seeking her removal for cause, inexplicably convening an additional court date’ and issuing an
amendment to the case management order (relating to written and oral discovery deadlines)
which she had originally entered on October 18 024. Ultimately, about two weeks later, she
acknowledged the petition and the domestic relations matter was transferred to Calendar 1 for
appointment of a judge to referee the hearing on Kenton’s petition against Hon. Fernandez.

173. Curiously, Hon. Ahern — who frankly shared culpability under many of Kenton’s
enumerated points against Hon. Fernandez as described in the foregoing paragraphs and is
furthermore plainly not fit to be on the bench —- was selected by Hon. Scannicchio to referee the
hearing on his petition. The hearing date of January 9 2025 was set by Hon. Scannicchio.

174. Soon after former President Jimmy Carter died (December 29 2024), Kenton
received an invitation to attend the state funeral for Jimmy Carter at the National Cathedral in
Washington DC on January 9 2025. Over his filed notice on the Cook County docket as to his
unavailability on such date, Hons. Scannicchio and Ahern insisted on maintaining the court date
of January 9 2025. Incredibly, all federal courts and nearly all federal offices and state courts
including in Cook County were closed in honor of Jimmy Carter’s memory — yet the Domestic
Relations Division of Cook County decided to make a special exception for Kenton Girard.

175. Hon. Ahern proceeded to conduct a non-hearing, in which Beermann LLP
attorney Howard London was present. An observer of the court date has testified to Attorney

London and Hon. Ahern belittling a) the fact that Kenton Girard would attend Jimmy Carter’s

4 Under the provisions of 735 ILCS 5/2-1001(a)(3) upon receipt of a petition seeking substitution
of a judge for cause, the targeted judge is immediately sidelined pending adjudication of the petition ata
hearing convened by a distinct judge appointed for such express purpose.

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funeral, and b) the idea that the national day of remembrance of Jimmy Carter should stand in the
way of their court date, and c) the prospect that Kenton Girard would be “unavailable”" to attend

court approximately one hour after the funeral service in Washington DC concluded.

176. The same observer of the court date has further testified that no argument was
advanced regarding Kenton’s petition, and Hon. Ahern took the matter under advisement — in
violation of the statute by. not conducting a hearing. A few days later, Hon. Ahern denied the

petition. Indeed, it is a virtual certainty that a petition to remove a Cook County judge is denied.
Hon, Scannicchio transfers the m to ndar 51... then 99... 89.

177. On January 14 2025, this matter was transferred from Calendar 1 to Calendar 51
pursuant to Hon. Scannicchio’s reasoned review of a “Safe Harbor Letter”’* filed on the docket
on the previous day by Kenton Girard, and pursuant to Hon. Scannicchio’s apparent
consultations with Hon. Gregory E. Ahern who had just penned an inexplicable opinion
absolving Hon. Fernandez of any impermissible bias.

178. Calendar 51 is presided by Cook County Domestic Relations Judge Ellen
Flannigan. However, wholly lacking a request by the parties or by Judge Flannigan, the matter
was returned to Calendar 1 on ~January 23 2025. Multiple court filings between January 14 and
January 23 2025 bore the stamp of “Calendar 51”, however the judicial transfer orders to and

from Calendar 51 were never filed on the docket in contravention of subject matter jurisdiction

‘5 It ig customary on the day of a funeral to remain in prayer for the deceased, especially under
the Judeo-Christian traditions. In keeping with such customs, Kenton Girard remained in observant prayer
for the passing of Jimmy Carter for several hours — physically remaining in Washington DC — after the
funeral service at the National Cathedral.

8 In his Safe Harbor Letter, Mr. Girard advised Hon. Scannicchio that he would be attending
former President Jimmy Carter’s state funeral at the National Cathedral in Washington DC on January 9
2025. lt further underlined due process concerns with the proposed January 9 2025 court date: Beermann.
LLP attorney Matthew D. Elster filed an 18-page opposition brief to the petition for SOJ for cause directed
at Hon. Fernandez on January 3 2025. Under ill. S. Ct. R. 182, Plaintiff and Mr. Girard would be duly
accorded 21 days within which to prepare a reply brief. As a result, convening a hearing on January 9
2025 would be manifestly against the interests of justice and fairness, and moreover a violation of due
process rights enshrined under the illinois Supreme Court Rules.

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requirements!’. Multiple requests from Plaintiff and Kenton Girard to produce said transfer

orders were ignored by Hon. Scannicchio and her staff, and remain “missing” and unfiled.

179. Things got even weirder wherein Hon. Scannicchio subsequently transferred the
jurisdiction yet again back to Calendar 99/Hon. Fernandez on January 23 2025. As Plaintiff
opined in her “Motion for Stay and Repair of Jurisdiction” filed on January 27 2025, Hon.
Scannicchio has already been outed for accepting bribes for desired judicial outcomes from

Beermann LLP for most of the last decade (see Bribery Lawsuit, Dkt[73] at [4 4, 9, 52-56).

180. The inference that a presiding judge of an entire judicial division would be
deliberately concealing a judicial transfer order from the docket and the parties would normally
feel like a “bridge too far”. However, given that Hon. Scannicchio is a bribed judge just like her
now-recused and disgraced colleagues William S. Boyd and Renee G. Goldfarb, it is
unfortunately unsurprising to see her brazenly commit perjury and take premeditated action in
violation of 18 U.S. Code § 1512: (c)Whoever corruptly— (1) alters, destroys, mutilates, or
conceals a record, document, or other object, or attempts to do so, with the intent to impair
the object’s integrity or availability for use in an official proceeding; or (2) otherwise
obstructs, influences, or impedes any official proceeding, or attempts to do so, shall be fined

under this title or imprisoned not more than 20 years, or both.

181. The disgusting reality is that the Domestic Relations Division appears to be an
arm of the Chicago Outfit controlled by Hon. Scannicchio’s real boss: Beermann LLP managing

partner and capo John M. D’Arco Esq (see Bribery Lawsuit, Dkt[73]). Hon. Scannicchio lacks a

Subject matter jurisdiction cannot be waived. Similar to how the State of Frauds requires
transfers of title to real estate to be reduced to writing and filed with the recorder, judicial transfer orders
must also be reduced to writing and filed on the docket. Restarting legal proceedings before a new court
without a judicial transfer order docket entry would be similar to trying to close on a real estate deal with a
dirty title.

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first year law student’s understanding of basic legal principles and constitutional rights, and she
brazenly operates with tyrannic indifference to the rule of law. Just as Kenton Girard has painted
Hon. Fernandez in recent court filings, Hon. Scannicchio also is a true cancer on the judiciary.
Her exploits should be the subject of a grand jury investigation in the Northern District of Illinois
and she should be removed from the bench.

182. Likely bowing to pressure from the Attorney General’s Office (which is
representing Hon. Fernandez hereunder), Hon. Fernandez recused herself on January 27 2025. A
day later, Hon. Scannicchio transferred the matter to Calendar 89/Judge William Yu, this time
recording the judicial transfer order on the docket.

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183. Casting more doubt about the status and likelihood of timely conferral of
reasonable accommodations under the ADA to TP Respondent, Cook County Assistant State’s
Attorney Silvia Mercado Masters has updated Plaintiff that as of January 24 2025 (a) the Cook
County ADA appeal remains fully unresolved, (b) Vincent D. Waller has been relieved of his
assignment, and (c) there is no one currently handling the ADA appeal on behalf of Cook
County. Indeed, it appears that Vincent D. Waller has undertaken no efforts whatsoever to

responsibly administer his responsibilities viz-a-viz Plaintiff’s Cook County ADA appeal.

184. Indeed, Camela Gardner from the Office of the Chief Judge of Cook County
tendered a written denial as to Plaintiff’s Cook County ADA appeal on January 31 2025 under
the theory that allowing Plaintiff to attend court dates via Zoom would represent an inordinate
and unreasonable imposition on the court. Such words are incredulous given that virtually all
court dates in Cook County take place via Zoom, including the Domestic Relations courts.

Indeed nearly all court dates in state courts throughout our land have adopted Zoom.

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185. Upon information and belief, Ms. Gardner was performing the bidding of Hon.
Scannicchio and the judges under her supervision on the domestic relations matter (including
inter alia Hon. Fernandez and Judge Yu) who have taken it upon themselves to weaponize ADA

accommodations against Plaintiff —- instructing Ms. Gardner to deny Plaintiff's accommodations.

186. The history under Judge Yu has been similarly egregious. On February 7 2025 —
over the express and explicit warnings of Plaintiff, duly filed on February 4 2025 on the docket
under a “Notice as to her Health and TP Claims”, not to proceed because she had been ordered to
observe a 75-day period of medical leave — Judge Yu aggressively struck Plaintiff’s TP Claims
filed thereunder and set the proceedings for a trial set for May 1-2 2025.

187. Judge Yu's order from February 7 2025 furthermore presents clear and obvious
problems on its face, because he confirms the fact of his subject matter jurisdiction. In reality,
without the judicial transfer orders to and from Calendar 51 from January 14 2025 and January

23 2025, the ownership of subject matter jurisdiction cannot be traced.

This cause coming before the Hon. William Yu pursuant to Jane Girard’s January 30, 2025 Notice
of Motion set for 10:00 a.m. via zoom, Respondent, Jane Girard, appearing individually and
through counsel... Petitioner, Kenton Girard and Third-Party Respondent, Marissa Girard, having
receiving [sic] proper notice of today’s proceedings, but failing to appear as of approximately
10:40 a.m. either individually or through counsel, the Court having jurisdiction over the parties
and the subject matter (emphasis added)

188.  Plaintiff’s “Notice as to her Health and TP Claims” filed on February 4 2025
alerted the Cook County Domestic Relations Court to (a) her mandatory 75 day medical leave
from the proceedings, owing to the worsening of her interstitial cystitis and PTSD, and as to (5)
the fact that her TP Claims were properly before the court, having obtained leave from the
previous judicial officer Hon. Fernandez and having filed the same before her time to propound

responsive pleadings had tolled.

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189. Plaintiff's “Notice of Defective Impleading” similarly filed on February 4 2025
alerted the Cook County Domestic Relations Court to the highly irregular circumstances that she
had not been supplied with a pleading, despite the continuously repeated and high-pitched
protests from Beermann LLP that she was brought into the proceedings as an absolutely
indispensable third party thereunder.

190. As such, the deadline under the domestic relations matter for Plaintiff to craft TP
Claims has not yet been tolled and her TP Claims filed in late 2024 are timely under 735 ILCS
5/2-406(b). Furthermore, her TP Claims were granted with leave of court, The TP Defendants,
moreover, are indispensable under 735 ILCS 5/2-406(a) and 750 ILCS 5/403(d) to adjudicate the
equitable custody relief allegedly sought by Jane F. Girard hereunder. Proving the TP Claims will
prove that Jane F. Girard is an unfit mother and belongs in a penal institution, and is an obvious

danger to the minor children Gw and Gr.

191. Under 735 ILCS 5/2-201(a), “Every action, unless otherwise expressly provided
by statute, shall be commenced by the filing of a complaint.” The recipe here in our state
wherein a proceeding starts with the first step of filing a pleading has been universally adopted
by the courts throughout our land. For example, in all District Courts, pursuant to Fed. R. Civ, Pr.
3, “A civil action is commenced by filing a complaint with the court.”

192, Such requirement is particularly poignant with respect to Plaintiff, who was not a
party to the Girard dissolution of marriage proceedings incepted in 2015. To be specific on or
around June 2023, Plaintiff became aware that a summons seeking to join her as a third party
respondent was filed with the Cook County clerk on May 26 2023, and further such summons
contained language “The Petitioner has filed a legal proceeding against you for one or more of

the following: [“Other: Motion to Add Third Party”]. The referenced Motion to J oin Third Party

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was filed with the clerk on March 8 2023. Some time later, after Plaintiff’s erstwhile attorney
entered an appearance on her behalf on or around June 2023, she started receiving the first of a
series of motions penned by Respondent’s attorneys at Beermann LLP seeking to find her in
contempt and to fine or jail or otherwise sanction her.

193. Most memorably, Beermann LLP moved to find Plaintiff in contempt for failing
to enforce an unconstitutional First Amendment violating gag order against the minor children
Gw and Gr, which order was signed by the disgraced and now-recused Judge William S. Boyd
who is now defending allegations that he took bribes from Beermann LLP to render favorable
decisions for Jane F. Girard hereunder, under the Bribery Lawsuit.

194. When Plaintiff's erstwhile attorney (Attorney Pfanenstiel) entered an appearance
on Plaintiffs behalf under the Domestic Relations matter, the only paper which had been
provided which was directed at her was the summons. The Motion to Join Third Party, as
previously explained, specifically does not contain Plaintifi’s name in the caption. Moreover, the
Motion to Join Third Party — being a request transmitted to the court allow Plaintiff's joinder —
cannot possibly be construed as a pleading”.

195. For the last ~twenty months, Plaintiff has been trying to discern why Beermann
LLP repeatedly insists that her joinder in the domestic relations matter is essential and that she is
an indispensable party. Plainly, Plaintiff has yet to receive notice of the claims which lie against
her, or to adduce defenses thereto. Simply put, Plaintiff has not been impleaded under the
Domestic Relations matter. The action against her has not commenced, irrespective of the pile of

vexatious motions for contempt and sanctions which followed her defective joinder. What is

'§ In a Jawsuit, formal writing can be divided into two categories: pleadings and motions. A
pleading demands that the other party do something, while a motion requests that the judge in the case
do something. Given that the Motion to Join Third Party did not even include Plaintiff in the caption, and
that it was obviously calculated to obtain court permission to proceed to file a pleading against TP
Respondent (which did not happen), this set of circumstances is violative of Plaintiff's fundamental rights
to due process and fair notice.

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more is the Domestic Relations court is a court of equity, and the likelihood of equitable relief is
rapidly eroding toward zero” given that the minor children Gw and Gr and nearly of majority
age, are high-functioning and high-performing students and entrepreneurs filing their own
lawsuit and legal papers. Indeed Gw and Gr already run a multi-million doliar business and await
the adjudication of their motion for limited emancipation to sign their own business contracts
under Cook County Case No. 2024COMSO000016.

196. Also on or around February 4 2025, Kenton Girard filed a notice as to his own
unavailability in the domestic relations matter. Kenton Girard is an executive for Old National
Bank and because of the unnaturally elongated, vexatious, improper and abusive nature of the
domestic relations proceedings has been putting off important business obligations which
implicate fiduciary duties to tens of thousands of people including inter alia sharehoiders,
investors, stakeholders and community interests in the neighborhoods where hundreds of bank
branches are located throughout the Midwest. Failure to attend more diligently during each.
business day to these obligations threatens Kenton Girard’s employment at Old National Bank.

197. Given the current status quo under which the minor children Gw and Gr reside
full-time at Kenton Girard’s home and Kengton Girard underwrites virtually all of their
expenses, and under which Jane F. Girard has entirely stopped contributing her required share
under the Joint Parenting Agreement entered in 2015, termination of Mr. Girard’s employment
would portend a deleterious impact on the well-being and welfare of Gw and Gr.

198. What makes this situation even more egregious is the fact that the domestic

relations matter was dismissed for want of prosecution — as outlined in Kenton Girard’s Notice as

19 To put a final nail in the coffin in the theory of adjudicating some sort of matter relating to the
Joint Parenting Agreement, Plaintiff has been informed by Gw and Gr’s attorney, Toma Makedonski, that
a motion to intervene by the minor children Gw and Gr shall be emplaced before the Domestic Relations
court in the near future — which will easily carry this case beyond the point at which the minor children Gw
and Gr attain majority age.

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to Jurisdictional Defects filed on January 29 2025, and as initially noticed in December 2024.
Under Iil. S. Ct. R. 273, that dismissal operates as an adjudication on the merits and and
therefore the Cook County courts have been divested of all jurisdiction over this matter.

199. Plaintiff is representing herself pro se in the domestic relations matter and has
filed a renewed request for reasonable accommodation under the ambit of Title II of the ADA 5.
based on the new and dramatic worsening of her interstitial cystitis and PTSD. Under these
circumstances, Plaintiff will clearly require above-normal time to prepare responsive pleadings

and opposition briefs,

Plaintiff requests the removal of Judge Yu for cause.
200. On February 11 2025, Plaintiff filed a petition seeking substitution of Judge

William Yu for cause, wherein she set forth the following argument in support of the same.

1. Ignoring TP Respondent’s health notice shows favoritism for Beermann LLP.

On February 4 2025, TP Respondent filed her Notice as to her Health Status and TP Claims. The
Notice expounds on the recent worsening of TP Respondent’s health condition, under which she
suffers from interstitial cystitis and PTSD, both of which are specifically recognized disabilities under
the ambit of the Americans with Disabilities Act. On the strict orders of her doctor, TP Respondent is
to observe a 75 day period of quiet under which she is medically unable to participate in these
proceedings. Moreover, even prior to Judge Yu’s arrival hereunder, Cook County has been formally
warned that its vexatious refusal to reasonably accommodate TP Respondent under the ADA will not
be tolerated, as per the litigation under Marissa Girard v. Rossana P. Fernandez et al., Civil Action
No: 1:25-cv-00136, N. Dist. [linois.

In the court date on February 7 2025, not only did Judge Yu proceed to conduct a hearing and rule
on a stack of motions penned by Attorney Matthew D. Elster of Beermann LLP, but he did so in
ostentatious disregard for TP Respondent’s inability to attend the same and in violation of Cook
County Rule 2.1(d) and basic due process requirements wherein TP Respondent was not allowed to
prepare briefs in opposition. Such violations of TP Respondent’s rights are all the more serious given
that she must reasonably be allowed additional time to prepare opposition papers and cannot prepare
more than a single motion per court date.

The Notice additionally sets forth that TP Respondent’s TP Claims are properly before the Court
because they were filed strictly within the timeline set forth under 735 [LCS 5/2-406(b) and
furthermore leave of court was granted by Hon. Fernandez. Moreover the TP Defendants are
indispensable under 735 ILCS 5/2-406(a) and 750 ILCS 5/403(d) because the fact of Respondent Jane
F, Girard being a pattern criminal is relevant before a court order of custody is entered against her sex
abuse victims, the minor children Gw and Gr.

Notwithstanding these circumstances, Judge Yu took the profoundly irresponsible action of
striking the TP Claims. It is well settled that striking claims is an extreme remedy, and it is to be a last

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resort to punish a previously sanctioned litigant. Here, there has been no finding of sanctions against
TP Respondent in this litigation and moreover her TP Claims were brought properly from every point
of view, including as arising under a common nucleus of facts. Moreover, just like any penal finding
such as imposition of Rule 137 sanctions, a striking of claims must be based upon a precedent written
finding, which the Court has not yet propounded.

IL. Judge Yu has blessed TP Respondent’s deficient joinder.

On February 4 2025, TP Respondent also filed her Notice of Defective Impleading, which details
the circumstances of her improper joinder hereunder. In summary, under 735 ILCS 5/2-201 (a), “Every
action, unless otherwise expressly provided by statute, shall be commenced by the filing of a
complaint.” It is furthermore a well established right to due process that a defendant be provided with
adequate notice of the claims which lie against her. Otherwise, the defenses cannot be adduced and
the proceedings which follow lack a legal foundation.

TP Respondent was not a party to the domestic relations proceedings hereunder, which were
incepted in 2015. The papers filed with the Court under which Beermann LLP commandeered TP
Respondent’s joinder consisted in a summons and a “Motion to Join Third Party”. The latter did not
include TP Respondent in the caption, indeed sought action from the Court not an answer from TP
Respondent and therefore does not conceivably constitute a pleading. To make matters even more
questionable, it is highly irregular and extremely unusual to implead, as here, the new wife of a party
to domestic relations proceedings wherein she is neither a biological parent nor the holder of any
parental rights to the minor children.

In spite of such epic circumstances, TP Respondent has been on the receiving end of a myriad of
sham papers filed by Beermann LLP including not less than (6) motions asking the court to jail her or
otherwise to hold her in contempt. The situation with respect to TP Respondent is akin to a Cook
County Jail detainee being subjected to the indignity of being confined for eighteen (18) months,
getting physically abused by other inmates all the while, without having been charged with a crime.

Notwithstanding these circumstances of which he was made explicitly aware via the Notice,
Judge Yu has approved TP Respondent’s fatally defective joinder hereunder by proceeding to rule on
a stack of ill-founded motions by Matthew D. Elster of Beermann LLP, At a minimum when Judge Yu
was apprised of these show-stopping deficiencies, he should have paused the proceedings. Instead,
after the court date of February 7 2025, Judge Yu set another court date for a fast track of just one
week later on February 14 2025.

If there were any doubt about Judge Yu’s external coaching by Beermann LLP or their proxies, he
also completely disregarded the show-stopping fact that judicial transfers between Calendar 1 to
Calendar 51 from January 14 and January 23 2025 are missing and unfiled on the docket (therefore
subject matter jurisdiction for Calendar 89 remains in question).

HL. Judge Yu has moreover disregarded the ADA accommodation request.

The fact that the February 7 2025 hearing took place at all lies in offense against the stay of
proceedings governing the matter at the current time, wherein TP Respondent propounded a formal
updated request for reasonable accommodations under the ADA to CDC Elena Demos a few days
prior on February 4 2025. Under that request, TP Respondent specifically demanded a stay of these
proceedings until such time as she would be reasonably accommodated under the ADA. On Cook
County’s side, CDC Elena Demos handed off the task to CDC Carina Segalini. The only explanation
for Judge Yu fast-tracking a hearing and setting another for a week later on February 14 2025 is that
he is taking orders from Beermann LLP or from Hon. Scannicchio, who is reputed to be “owned” by
Beermann LLP and reputed Chicago Outfit “capo” John M. D’Arco Esq.

Moreover, the right to attend judicial proceedings is a well-established right protected by the First

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Amendment and the grotesque violation of this right of Marissa Girard by Judge Yu signals the
depravity of his impermissible bias against her.

201. Judge Yu now faces a reckoning because by commanding the bench — in sheer
absence of jurisdiction ~ he eviscerated his protective cloak of judicial immunity. He now is in
good company with Hon. William S$. Boyd and Hon. Renee G. Goldfarb and Hon. Fernandez —
all of whom recused themselves from these proceedings, for allegations of taking bribes from
Beermann LLP to rule favorably for Respondent and sex abuser Jane F. Girard or for violating

the constitutional rights of Plaintiff with impunity.

Attornev Elster belittles Plaintiff's medical conditions in legal papers.

202. In his opposition paper filed on February 12 2025 to Plaintiff’s recently filed
request for removal for cause directed at Judge Yu, Attorney Elster writes at p. 1 that “[Plaintiff]
refuse[s] to appear or participate in the proceedings when it does not suit [herJ”. He goes on to
aggressively assert at p. 1, n. 1 “Marissa has claimed her physician has prohibited her from
participating in this litigation for a minimum of 75 days and for no more than 30 minutes at a
time. [She has not] supported [her] claims with a shred of documentation.” This initial outburst
of anger is disturbing and misplaced because Plaintiff has carefully and diligently corresponded
not only with the Court and opposing counsel (including Attorney Elster) but also on numerous
occasions with the Cook County court disability coordinators (including without limitation Elena
Demos and Vincent Waller) and additionally she has repaired to this District Court to seek relief
from the trampling of her rights under the ADA. Moreover, Plaintiff has offered to provide the
Domestic Relations Court with a copy of her medical file, including her doctor’s recent
command to observe a period of quiet for seventy-five (75) days, however the Court has refused

to enter a protective order or otherwise seal Plaintiff’s highly confidential medical records in

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accordance with the requirements under the Health Insurance Portability and Accountability Act
of 1996.

903. Next, Attorney Elster describes Plaintiff at p. 2 as an “unscrupulous litigant
abusing the provision of section 2-1001(a)(3)”, wherein he takes direct aim at the substance of
Plaintiff’s recently filed petition for substitution of judge for cause directed at Judge Yu.
Reviewing the substance of that petition, the primary argument advanced is that Judge Yu’s
deliberate refusal to provide any reasonable accommodation’ — much less to allow a period of
quiet for Plaintiff in the domestic relations proceedings — proves his unreasonable favoritism of
Beermann LLP.

204. Continuing, Attorney Elster takes aim at Plaintiff’s pleadings in the domestic
relations matter, referencing “Marissa’s improper subpoenas/third-party complaints” at pp. 3-4.
In the same breath he defends having “properly noticed up several motions before [the Domestic
Relations Court] on February 7, 2025 at 10:00 a.m., providing both Kenton and Marissa with
proper and ample notice ... [per] her supposed doctor’s orders” (emphasis supplied). In
reality, a raft of notices of various motions to quash and to strike Plaintiff's claims were supplied
to Plaintiff on February 6 2025, less than 24 hours prior to the hearing set for February 7 2025 by
Judge Yu. Under Cook County rules, notices for presentment of motions must be tendered at
least two court days prior to presentment. As always with Attorney Elster, there is one
amorphous self-serving set of rules which binds his clientele and Beermann LLP, while there is a
wholly different and inexplicably disfavorable set of rules for his opposing parties.

205. Plaintiff’s paper seeking the replacement for cause as to Judge Yu moreover

20 Indeed, Plaintiff propounded a formal updated request for reasonable accommodations under
the ADA to Cook County Courtroom Disability Coordinator ("CDC") Elena Demos a few days prior on
February 4 2025. Under that request, Plaintiff specifically demanded a stay of the domestic relations
proceedings until such time as she would be reasonably accommodated under the ADA. On Cook
County's side, CDC Elena Demos handed off the task to CDC Carina Segalini who has yet to provide any

help whatsoever to Plaintiff.

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points directly at an extrajudicial source animating his bias: “If there were any doubt about Judge
Yu’s external coaching by Beermann LLP or their proxies, he also completely disregarded the
show-stopping fact that judicial transfers between Calendar 1 to Calendar 51 from January 14
and January 23 2025 are missing and unfiled on the docket (therefore subject matter jurisdiction
for Calendar 89 remains in question) ... The only explanation for Judge Yu fast-tracking a
hearing and setting another for a week later on February 14 2025 is that he is taking orders
from Beermann LLP or from Hon. Scannicchio, who is reputed to be ‘owned’ by Beermann
LLP and reputed Chicago Outfit ‘capo’ John M. D’ Arco Esq.” (emphasis added)

206. Moving on, Attorney Elster at p. 8 states “Marissa’s lack of good faith is also
impossible to ignore. She does not even attempt to satisfy the legal requirements for SOJ
petitions but, instead, resorts to sensational accusations of corruption coupled with
unsubstantiated disability claims.” (emphasis added) Continuing at p. 10, Attorney Elster
further writes “this Court need not—and should not—allow Marissa to further delay these
proceedings through unscrupulous litigation tactics.” Continuing, Attorney Elster writes “This is
the second time in approximately one month that Marissa has leveled false accusations against
members of the bench and bar in an effort to remove a sitting judge from her case... Marissa
has resorted to her tried and true tactic of accusing this Court and Jane’s attorneys of outright
corruption.” (emphasis supplied)

207. In sum, Attorney Elster defames Plaintiff as not acting in good faith, as exercising
improper litigation tactics, of advancing claims not grounded in fact. He does not even attempt to
substantiate his character assassination of Plaintiff. Apparently, in Attorney Elster’s world, the
mere fact that Plaintiff is the opposing party in the domestic relations matter is enough to launch

such an extreme ad hominem offensive against her. Or perhaps he is simply a misogynist.

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Whatever the basis, his unfounded invective against Plaintiff must be disregarded by the Court.

The February 14 2025 court date presided by Judge Yu is a farce.

208. During the February 14 2025 court date, Kenton Girard several times raised
attention to the jurisdictional defects of the domestic relations matter. He points out the transfers
between Calendars 1 and 51 from January 14 2025 and January 23 2025 which were not reduced
to a writing, much less filed on the docket, Thereby, Mr. Girard pointed out there is currently no
way to trace Calendar 89’s jurisdiction over the domestic relations matter. Judge Yu’s response is
to simply say he'll "deal with" jurisdictional issues later.

209. Disturbingly, Judge Yu appears to be of a single mind to move the matter to trial
as quickly as possible. Attorney Robert Holstein — representing Plaintiff in the domestic relations
matter for the limited scope of the SOJ for cause petition — points out there are no triable issues
of fact, and Mr. Girard raises attention to the complete absence of pleadings in the post-decree
proceeding. In spite of the same, Judge Yu set trial dates on May 1-2 2025 — leaving significant
outcome-determinative issues hanging in the wind.

210. Kenton Girard furthermore brings attention to the Dismissal for Want of
Prosecution which he filed in December 2024 — without any opposition whatsoever from
Beermann LLP or Jane F. Girard. Judge Yu simply remarks he is not interested in “getting
involved” in that issue.

211. As if the foregoing were not sufficiently alarming, Judge Yu appears furthermore
committed to unequal treatment of the parties. Thereunder, he gives significant latitude to
Beermann LLP attorneys, quickly accepting their characterizations in all instances wholly
without critical examination. Judge Yu furthermore repeatedly cuts off Kenton Girard in the

middle of and cuts off Kenton's explanations multiple times. In the same vein, he repeatedly

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allows Beermann LLP attorney Enrico J. Mirabelli to make inflammatory statements and ad
hominem attacks against Kenton Girard — in all instances without laying foundation for the same.

212. As to the pending petition seeking Judge Yu’s removal for cause, Judge Yu treats
such filing without a thorough examination or the requisite due care. He allows a comically short
window (until 5 PM that very day) for Kenton Girard to amend or join the same, declares that no
further requests seekings his recusal will be allowed after such time (even if, as Kenton Girard
pointed out in open court, Judge Yu were to engage in additional for cause behavior) and he
seems clearly predisposed to deny the same rather than set it for a fair and just hearing.

213. Moreover, the attitudes expressed with respect to the minor children Gw and Gr
are alarming to say the very least. Judge Yu allows Attorney Mirabelli to dispute the children's
ages without substantive investigation and he seems obviously more concerned with moving the
case forward than understanding the children's situation. Such lax posture towards the voice and
interests of the children also invokes procedural integrity concerns. Attorney Mirabelli falsely
informs Judge Yu in open court that the minor children Gw and Gr fired their guardian ad litem
— when in reality the GAL Vanessa Hammer sought court approval to resign from her
appointment under the domestic relations proceedings in Summer 2023. Notwithstanding Mr.
Mirabelli’s blatantly false statement to the court, Judge Yu does not even attempt to explore the
irregularity that the children would not have a voice in the domestic relations matter”!,

214. It appears as if the unfounded story promoted by Beermann LLP that Kenton
Girard and Plaintiff — and the minor children Gw and Gr — are engaged in bad faith litigation
tactics at every turn. Such landscape is poignantly counterfactual especially given that Jane F.

Girard is an admitted child sex abuser transparently hijacking the post-decree proceedings as a

2 Incidentally the child representative Joel J. Levin also resigned from the proceedings in
Summer 2024. The backdrop of the Custody Proceedings is truly frightening, given that the interests of
the minor children are statutorily paramount in family court in our state, and throughout our land.

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pretext to confine, starve and rape the minor children Gw and Gr again. Moreover, she has joined
Plaintiff improperly WITHOUT A PLEADING for the sole purpose of harassment.

215. Finally, Judge Yu also denigrates the Plaintiff’s medical conditions, under which
she cannot participate in any court dates in person by specifically ordering in person attendance

for Plaintiff at the May 1-2 2025 trial date in the domestic relations matter.

216. No substantive discussion of Plaintiff’s documented and ADA-qualifying medical
conditions took place during the February 14 2025 court date. Judge Yu completely avoided
discussion of Plaintiffs needs and measures which might be required to ensure that Plaintiff has
a voice in the proceedings. The mere fact by which Judge Yu set an early trial date — conflicting
with Plaintiffs doctor-ordered 75 days period of quiet — indicates his sheer disregard for both the

medical needs of Plaintiff and moreover his contempt for federal law.

Plaintiff’s Attorney Robert Holstein is also trampled by Judge Yu.

217. Several times during the course of the February 14 2025 court date, Plaintiff's
attorney in the domestic relations matter Robert Holstein alludes to the instant suit before this
District Court. Judge Yu directs Attorney Holstein away from discussion of the same, literally
saying “I don’t need to hear that.” In other instances, Judge Yu simply over-talked Attorney
Holstein and forestalled discussion of the instant suit.

218. Astonishingly, Attorney Elster at one point describes the instant suit as "blatantly
untrue" and in a manner which provides insight into the manner in which he is merely following
orders from his paymasters at Beermann LLP, Judge Yu does not entertain — indeed refuses to
entertain — any substantive discussion about these issues. At most, near the conclusion of the
court date and upon questioning from Attorney Elster whether the May 1-2 2025 trial date was a

hard date, Judge Yu indicated that such trial date might not come to pass in case of an “ADA

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excusal”, Clearly, Judge Yu views ADA accommodation as some sort of an exception to be
granted, not a right which must be respected.

219. Attorney Holstein elsewhere complains there are no triable facts upon which to
convene a trial, and furthermore Judge Yu gives no indication about the substance of the mystery
May 1-2 2025 trial. Judge Yu shuts down Attorney Holstein’s line of questioning under the
theory that Attorney Holstein’s appearance was limited in scope. Even under a limited scope, the
issue of forcing Plaintiff to “stand trial” without a pleading having been served upon her is
certainly probative for the purpose of determining whether Judge Yu is animated by an
impermissible bias against Plaintiff. On the other side of the coin, forcing a person who is
suffering from two ADA-qualifiying disabilities (interstitial cystitis and PTSD) to sit for a trial
which should be off the docket places on display Judge Yu’s contempt for Plaintiff.

The “mystery trial” is to proceed without any pleadings.

220. During the course of the February 14 2025 court date under the domestic relations
proceeding Beermann LLP Attorneys Elster and Mirabelli were extremely ambiguous about
what the purpose of their requested “mystery trial” would be. On the one hand, Attorney
Mirabelli upon responding to Mr. Girard’s grievance that there are no pleadings in the
post-decree proceeding, decried Kenton Girard is repeatedly trafficking in falsehoods “without
compunction.” He offered that at least “three motions” had been filed. The problem with this
explanation by Attorney Mirabelli is that a motion is not a pleading.

221. For his part, Attorney Enrico J. Mirabelli presented quite a strange vision for the

trial in the domestic relations matter, stating:

“Mr. Girard has not identified any witnesses thus far. He has filed no counter-petitions, no
counter-motions thus far, so I don't know what his defense is going to be or how long his case is
going to be. He hasn't sat for his deposition, as he told you in one of his motions, so I don't know
-- | can't predict. Al I can tell you is our case will be very streamlined to make a prima fascia

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case for petition for rule to show cause”. Then the burden will shift to Mr. and Mrs. Girard. I
don't know how long their case would take .. So if you set aside one day for us, I think we're
going to complete our case in chief easily within one day.” (emphasis added)

There are, of course, many serious problems with Attorney Mirabelli’s vision for the “mystery
trial”. Setting aside the agenda for the “mystery trial”, due process elements are utterly lacking.
222. Ina subsequent exchange with Judge William Yu, Attorney Elster refers to a case
management order signed by a previously recused judicial officer, Hon. Fernandez. Of course,
among other items that case management order stipulated dismissal for want of prosecution and a

February trial. None of those items survived her recusal of course.

223. Hons. Scannicchio was put on notice as to the ongoing constitutional violations
taking place under the domestic relations proceeding, wherein Plaintiff transmitted a letter
complaining of the same on February 20 2025. In the opening, Plaintiff cautions that no court
dates can take place hereunder until a) jurisdictional issues are resolved, and b) the medical
treatment schedule for Plaintiff has run its course, and c) Kenton Girard makes good on his
neglected work obligations at Old National Bank in early May 2025.

224. Continuing, Plaintiff enumerates the procedural and jurisdictional quagmires

which beset the domestic relations matter:

a. The domestic relations proceedings were terminated under “Dismissal for Want of
Prosecution”, as memorialized per an uncontested notice filed on December 20 2024.

b. Such a termination constitutes a ruling on the merits under Ill. S. Ct. R. 273.

c. Respondent Jane F. Girard divested herself of a right to a custody remedy wherein

she asserted her Fifth Amendment right against self-incrimination under exam and
questioning as to her long history of sexual abuse and rape as to the minor children Gw and
Grby State’s Attorney Mary Stein in late Summer 2023.

2 A Rule to Show Cause in Illinois is a process where a) a person brings another person's failure
to obey a court order to the attention of the court; b) the court can punish the person who failed to follow
the order by jailing them, making them pay attorney fees, or modifying the court order; and c) the
petitioner must provide proof that the judgment or order has not been followed, and the respondent can
challenge the evidence.

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d. On ~ January 14 2025 this matter was transferred from Calendar 1 to Calendar 51,
wherein numerous contemporaneous court filings bore the Calendar 51 stamp. On ~ January
23 2025, this matter was transferred from Calendar 51 to Calendar 1. However, neither of
these judicial orders were produced, much less filed on the docket. Because subject matter
jurisdiction cannot be waived, these transfer orders must be located. Until such time, any
purported subsequent judicial transfer (including to Calendar 89, under Judge William Yu) is
legal fiction.

e. In early February 2025, before any court dates were convened by Judge Yu,
Plaintiff formally requested accommodations under the ADA wherein the court (a) would
respect her 75 day medical leave, (b) allow all future court participation via Zoom, {c) accord
her at least 35 days to prepare opposition briefs to all motions, (d) limit court dates to
presentment of a single motion, (e) stagger court dates appropriately to allow Plaintiff
sufficient time to prepare and decompress between, and importantly (f) limit court dates to 30
minutes in duration.

f. Under Cook County rules, Marissa demanded a stay of these proceedings until
Full resolution of her ADA request for accommodation and any appeal thereunder.

g. Per the proposed order from February 14 2025 — which to our knowledge has not
been signed or approved by Judge Yu — Beermann LLP attorney Matthew D. Elster has
DRAMATICALLY REDUCED the scope of the trial he would like to put on hereunder.
Notably, those motions seem to constitute ONLY motions for contempt or represented moot
filings, because Jane F. Girard has been divested of her right to seek a custody remedy as
aforedescribed.

h. Incidentally, Marissa Girard has NOT been actioned with a pleading hereunder.
She is in the civil analogy of a Cook County Jail detainee who has been rotting in
confinement, assaulted by other detainees, without a charging bill having been filed. As a
result, before any trial takes place hereunder, she must be impleaded, given appropriate time
to prepare responsive pleadings, an opportunity to prepare a motion to dismiss and full
hearing thereunder. Giving Respondent Jane F. Girard appropriate time to respond would
easily require until on or around September 1 2025 for making it through those to-be-filed
pleadings, based on the 75 day medical leave which currently prevents Marissa from
engagement hereunder.

i. The TP Claims of Marissa Girard were filed with leave of previous judicial officer
Eon. Fernandez and were timely based on the fact that she has NOT YET been impleaded
hereunder. Therefore not only was the fact of Judge Yu’s convening of two separate court
dates outrageous and ADA violating, but also his striking of her TP Claims is an
extraordinary and extreme remedy wholly without justification. These proceedings are
INEXTRICABLY INTERTWINED with the TP Claims, which must be therefore un-stricken
forthwith.

j. Kenton Girard’s federal suit Girard v. Village of Glencoe et al., Civil Action No.
24-cv-06882 continues to march forward. Beermann LLP is accused of running a racket in
the family law court in the Domestic Relations Division wherein they own and control Hon.
Scannicchio and therefore the outcomes in their clients’ proceedings. Under the basic
principle of federal preemption, violation of federal law is MORE IMPORTANT than
violation of state law. The pause button therefore remains depressed in this Domestic
Relations case.

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A trial cannot take place without pleadings.

225. Pleadings are the foundation of the litigation process, setting the stage for the trial
by outlining the respective claims and defenses of the parties involved. The primary purpose of
pleadings is to clearly define the issues in contention, enabling the court to adjudicate effectively.

226. A pleading is defined as “[a] formal document in which a party to a legal
proceeding (esp. a civil lawsuit) sets forth or responds to allegations, claims, denials, or
defenses.” BLACK’S LAW DICTIONARY 1270 (9th ed. 2009).

227. The Ilinois Code of Civil Procedure (Code) requires pleadings to “contain a plain
and concise statement of the pleader’s cause of action, counterclaim, defense, or reply.” 735 ILL.
COMP. STAT. 5/2-603(a) (2012). Illinois is a fact-pleading jurisdiction. Marshall v. Burger King
Corp., 856 N.E.2d 1048, 1053 (Ill. 2006); Simpkins v. CSX Transp., Inc., 2012 IL 110662, 26,
965 N.E.2d 1092, 1099; Johnson v. Matrix Fin. Servs. Corp., 820 N.E.2d 1094, 1105 (Ill. App.
Ct. 2004). Federal courts permit notice pleading, which is a lower standard. Under this standard,
the pleader is required to set forth and allege facts that support his or her cause of action, i.e.,
those facts necessary for recovery pursuant to a legally recognized cause of action. Marshall, 856
N.E.2d at 1053; Johnson, 820 N.E.2d at 1105.

228. A complaint is not required to set out the evidentiary facts tending to prove
ultimate facts; however, it is required to allege the ultimate facts to be proved. Chandler v. Ill.
Cent. R.R. Co., 798 N.E.2d 724, 733 (Ill. 2003). Section 2-603(c) of the Code states, “Pleadings
shall be liberally construed with a view to doing substantial justice between the parties.” 735
ILL. COMP, STAT. 5/2-603(c) (2012). Section 2-612 of the Code specifies that a pleading is not
substantively defective if it “contains such information [that] reasonably informs the opposite

party of the nature of the claim or defense which he or she is called upon to meet.” 735 ILL.

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COMP. STAT. 5/2-612(b) 2012).

229. By contrast, Black’s Law Dictionary defines a “motion” as “[a] written or oral
application requesting a court to make a specified ruling or order.” BLACK’S LAW
DICTIONARY 1106 (9th ed. 2009); see also Blazyk v. Daman Express, Inc., 940 N.E.2d 796,
799 (Il. App. Ct. 2010) (defining motion as “‘an application to the court for a ruling or an order
in a pending case’” (quoting In re Marriage of Wol/f, 822 N.E.2d 596, 601 Cl. App. Ct. 2005))).
The Sixth Amendment has been violated.

230. A patty is in contempt of court when he or she willfully violates an order of the
court. In re Marriage of Hartian, 222 Ill. App. 3d 566 (1991). The party that fails to comply with
a judgment bears the burden of proving that compelling cause or justification for the
noncompliance exists. In re Marriage of McGuire, 305 Ill. App. 3d 474, 484 (1999).

231. According to the order prepared by Beermann LLP and signed by Judge William

Yu on February 7 2025, the pleadings for the May 1-2 2025 trial consist in:

L. Jane’s May 25 2022 Motion to Appoint Parenting Coordinator.

2. Jane’s Aug 31 2022 Motion for Reunification Therapy.

3 Jane’s Sep 20 2022 Petition for finding of parenting time abuse directed at
Kenton and Marissa.

4, Kenton’s July 11 2023 Motion to modify JPA and custody (to allow the minor
children Gw and Gr to have custody of their own passports).
Jane’s July 13 2023 Motion to enforce JPA.
Janue’s Mar 13 2024 Motion to Implement the 604.10(b) report.

232. Of particular note, the paper listed under line item (3) does not exist. Even if there
were such a paper, it could not possibly implicate Plaintiff because she is not a party to any Joint
Parenting Agreement and the date in question preceded her joinder by nearly a year.

233. Neither do any of these papers seek a finding against Plaintiff, or otherwise seek

relief from Plaintiff. As such the order prepared by Beermann LLP pursuant to the February 14

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2025 court date before Judge William Yu confirms with certainty that Plaintiff is not
participating in the May 1-2 2025 trial as a party in any way. Whether she is on the witness list is
unknown. Kenton Girard has certainly not identified Plaintiff as a witness for the forthcoming

trial, and neither has Jane F. Girard via her counsel at Beermann LLP.

934. The order signed on February 14 2025 makes it plain that Plaintiff has no role to
play in the upcoming evidentiary hearing. However, according to the testimony of Beermann
LLP Attorney Enrico J. Mirabelli, the trial is calculated to seek a finding of criminal contempt
against both Kenton Girard and Plaintiff. Plaintiff's constitutional right to fair notice of the
claims which lie against her has been violated. Moreover, under Enrico J. Mirabelli’s re-casting
of the trial as a criminal contempt proceeding, Plaintiff’s Sixth Amendment rights are also being
violated. Such constitutes an outrageous state of affairs and cannot be allowed to stand. Attorney
Mirabelli does not get to whimsically alter the agenda for the trial. And he certainly is not a state
prosecutor vested with the authority to act on behalf of the State of Illinois to bring criminal

charges against Plaintiff.

235. What is further troubling is that, pursuant to the February 14 2025 court date,
Judge William Yu is content to rely on the case management order of now-recused Hon.
Fernandez, dating from October 18 2024 and as amended on December 2 2024. That order
references a five-day trial and identifies a much wider range of “topics”, which are not
overlapping with the new trial plan ordered by Judge Yu on February 14 2024.

236. At this point in time, the “mystery trial” scope has freakishly shapeshifted. The
domestic relations proceedings have been without a judicial officer — and therefore legally
halted, with no one to referee the proceedings — from November 2024 through February 2025

because of the pendency of the request for removal for cause directed to and the ultimate recusal

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by Hon. Fernandez. To credit Hon. Fernandez’s case management order of October 18 2024 with
full force and effect would be to deny Plaintiff her constitutional rights to prepare for the
“mystery trial” including propounding written discovery, issuing subpoenas, taking depositions,
making prudential decisions about necessary witnesses and experts, and so forth.

237. Plaintiff has been ordered to stand for a criminal trial — in person, and therefore
in a calculated affront to her need for reasonable accommodations under the ADA — under a
proceeding in which neither findings are levied against her nor relief is requested from her. As of
this time, Plaintiff has not even been identified as a prospective witness for the “mystery trial”.
Suffice to say, Plaintiff's defective and unconstitutional joinder as a party in the domestic
relations matter -- especially in light of her established and serious ADA qualifying medical
conditions — was done for an improper purpose, namely harassment. The fact that Plaintiff has
been subjected to numerous motions to fine and jail her in the course of approximately twenty
(20) months, seeking to improperly hold her accountable under a Joint Parenting Agreement to
which she is not a party, all the while having been defectively joined in the domestic relations
matter, is beyond a travesty.

238. And now, per the February 14 2025, the scope of the “mystery trial” has morphed
yet again, from the previously identified court filings (one of which does not exist) to — in the
words of Beermann LLP Attorney Enrico J. Mirabelli — a contempt trial against Kenton Girard
and Plaintiff. As previously analyzed, such pursuit of contempt at this late stage wherein the
minor children Gw and Gr are closer than ever to attaining majority age cannot possibly be
construed as coercive, but rather must be called for what it is: punitive.

939, For sake of clarity, the minor children Gw and Gr, who are fraternal twins, are

seventeen years of age, straight A honor roll students, varsity swimmers at New Trier High

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School, run a multi-million dollar small jewelry business White Lemon Creations, and their
junior year term papers recently submitted — complete with citations to law review articles —
consist in a treatment of the abuses in the “pay to play” family court system including inter alia
forced participation in “reunification” camps such as those recommended by their corrupt and
disreputable Custody Evaluator Phyllis Amabile” under the domestic relations matter.

240. The minor children Gw and Gr have penned multiple of their own legal motions
in the domestic relations matter, under which their interests are not represented by a guardian ad
litem since Vanessa Hammer received court approval in the to discontinue serving in such
capacity in Summer 2023. Gw and Gr appear regularly on podcasts concerning family court
reform across the country. They have been pursuing a lawsuit against Beermann LLP, two Cook
County judicial officers accused of taking bribes in exchange for favorable rulings for their
biological mother and admitted sex abuser Jane F. Girard, and several of the family court
functionaries who have harmed their interests under the Bribery Lawsuit, which has been
pending before District Judge Pallmeyer since August 2024.

241. Therefore the problems besetting the “mystery trial” are beyond enumeration. For
starters, criminal contempt cannot be initiated by a private party — for a defendant to receive
adequate notice of the charge, due process requires that criminal contempt be initiated by the
court and not by a private party. The prosecutor’s office must be engaged in all steps of the
process, from investigation to the preparation of a bill of charges or indictment, to the convening
of pre-trial hearing and the ultimate trial.

242. At this stage, moreover, the Court has yet to issue a “Show Cause” order”,

% Attorney Toma Makedonski, on behaif of the minor children Gw and Gr, has signaled his
intention to seek injunctive relief against Phyllis Amabile and to initiate a criminal investigation via the
Office of the United State Attorney General.

It also goes without saying in the context of a criminal proceeding, an order to a criminal
defendant to appear in court to face questioning and to be present before the fact finder, under a hearing

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although according to Attorney Enrico J. Mirabelli, the court order from February 14 2025
setting a trial for May 1-2 2025 is just that. Furthermore, because the contempt sought concerns
alleged violations of the Joint Parenting Agreement — to which Judge William Yu is not a direct
witness — a full jury must be empaneled”, a true bill of charges or an indictment must be adduced
and signed off by the Cook County Prosecutor’s Office, and lest we forget, Judge William Yu is

not a criminal judge and the matter would necessarily have to move to a criminal court.

243. Plaintiff propounded a petition for substitution for cause directed at Judge
William Yu. In turn, Judge Yu transferred the proceedings back to Calendar 1 for hearing under
that matter, in accordance with 735 ILCS 5/2-1001(a)(3). However, not in keeping with statute,
Judge Yu proceeded to convene another court date on February 25 2025 when the proceedings
were already demonstrably transferred to Calendar 1, per J udge Yu’s own signed order.

244, Acting as Judge Yu’s de facto “enabler”, Attorney Matthew D. Elster goaded
Plaintiff to join said court date and sent a number of missives to her and Kenton Girard while
Judge Yu apparently “awaited” their joining the proscribed court date on Calendar 89, Later in
that day, Plaintiff and Kenton Girard jointly penned a “Notice of Jurisdictional Trespass”
warning Judge Yu from (a) convening any court dates on Calendar 89 prior to the adjudication of
the pending petition seeking his removal for cause, and (b) issuing any directives or signing any
court orders in relation to same.

245. Duly warned, as of the date of this filing, Judge Yu has not dared sign a proposed

order penned by Attorney Matthew D. Elster, under which another court date would be set in

in which his or her liberty is at stake requires form orders bearing the official seal of the state. Such orders
for criminal process must be prepared by a prosecutor, not by a private attorney as here.

25 Summary proceedings under a contempt charge wherein the judge acts as the fact finder are
constitutionally sound only wherein the judge is a direct witness to the alleged contempt. The instant
scenario is a classic “indirect criminal contempt” setup, because the judge does not have direct firsthand
knowledge of whether the Joint Parenting Agreement is being followed by the parties bound thereunder.

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mid-March in order for Judge Yu to rule on a stack of pending, unresolved motions from

Beermann LLP.

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42 U.S.C. § 1983; Fernandez, Scannicchio, Ahern

246. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

247, Defendants, acting under color of state law, deprived Plaintiff of her rights under
the First Amendment to the United States Constitution by denying her admission to a public
court proceeding on October 18 2024,

248. Defendants’ refusal to admit Plaintiff to the October 18 2024 proceedings violated
a well-established First Amendment right, the right to attend public court proceedings, and
therefore Defendants are not entitled to qualified immunity.

249. Defendants’ refusal to admit Plaintiff to the October 18 2024 proceeding is not
subject to judicial immunity because, inter alia, it was an administrative determination and not
part of any judicial proceeding.

COUNT II - VIOLATION OF RIGHT TO IMPARTIAL PROCEEDINGS
42 U.S.C. § 1983; Fernandez, Scannicchio, Ahern, Yu

250. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

251. By accepting bribes to render specifically requested favorable decisions to
Beermann LLP clients, Defendants Scannicchio and Ahern cannot claim judicial immunity here.

252. In 1927, the Supreme Court addressed a claimed violation of the right to an
impartial judge. Tumey v. Ohio, 273 U.S. 510 (1927) involved a challenge to a conviction in a
municipal court in which the mayor presided as the judge, for violation of the state’s prohibition.
law, which resulted in a fine, a fraction of which was allocated to the mayor “in addition to his

regular salary.” Tumey, 273 U.S. at 518-19. The Court held that this improper financial motive

violated the defendant’s right to an impartial judge.

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253. With Defendants Scannicchio and Ahern both on the payroll of Beermann LLP,
the proceedings are not impartial. Wherein Hon. Fernandez has propounded numerous orders and
rulings in the period since she divested herself of jurisdiction over the Custody Proceedings on
October 18 2024, the proceedings under her are neither impartial.

254. Plaintiff has suffered injuries, damages and losses as a result of the violation of
and interference with Plaintiff's constitutionally protected right to an impartial judge including

numerous adverse decisions which would not have been rendered by a fair, impartial judge.

42 U.S.C. § 1983; All Defendants except Jane F. Girard
255. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

256. Plaintiff is a member of a protected class under the ADA, due to Plaintiff's
disabilities which are specifically recognized under the ADAAA of 2008.

257. The ADA Title II prohibits disability discrimination by all public entities at the
local level, e¢.g., school district, municipal, city, or county, and at state level.

258. Under 42 U.S.C. § 12132, “Subject to the provisions of this subchapter, no
qualified individual with a disability shall, by reason of such disability, be excluded from
participation in or be denied the benefits of the services, programs, or activities of a public entity,
or be subjected to discrimination by any such entity.”

259. Defendants’ conduct toward Plaintiff illustrated a willful and/or reckless violation
of the ADA as well as a willful and reckless disregard of Plaintiff’s protected rights in violation
of implementing regulation 28 C.F.R. Part 35. Plaintiff's repeated and consistent requests for
Zoom access to the legal proceedings were not an undue burden on Defendants, yet Defendants

intentionally refused to accommodate Plaintiff's disabilities.

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260. As a direct and proximate result of the discrimination described above, Plaintiff
has suffered and continues to suffer loss of earnings, loss of income, mental anguish, distress,
physical and debilitating symptoms of PTSD and interstitial cystitis, humiliation, and loss of

enjoyment of life.

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42 U.S.C, § 1983; All Defendants except Jane F. Girard
261. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

262. The Rehabilitation Act of 1973 and its implementing regulations require that no
qualified individual, solely by reason of her actual or perceived disability, be subjected to
discrimination under any program or activity receiving Federal financial assistance. 41 C.E.R. §
60-741.2(0)(1); 45 C.F.R. § 84.39)(2)G).

263. The Domestic Relations Division of the Cook County Courts receives federal
grant funds to assist access to the courts by all persons. Defendants’ inexplicable and cruel denial
of Zoom access to Plaintiff places them in the crosshairs of Section 504 of the Rehabilitation
Act, 29 U.S.C. § 794, and its implementing regulation for recipients of federal funding.

42 U.S.C. § 1983; Scannicchio, Yu, Mirabelli, Elster

264. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

265. Attorneys Mirabelli and Elster, as officers of the court and custodians of the
post-deeree Custody Proceedings which they incepted on behalf of Jane F. Girard, bear
responsibility for taking action under color of state law to force Judge Yu to set the “mystery
trial” — lacking pleadings altogether — to be held May 1-2, 2025.

266. Attorneys Mirabelli and Elster — as veteran attorneys and experienced
practitioners in the Domestic Relations Division — know better than to force Judge Yu fo set a

criminal proceeding against Plaintiff without pleadings, without a charging instrument, without

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the participation of the prosecutor’s office and so forth. They plainly took advantage of their
posture (likely due to bribery, per the Bribery Lawsuit) before the Domestic Relations Division
in which judges merely do their bidding, the Constitution be damned, in order to knowingly
harass Plaintiff and improperly leverage her resulting pain and suffering in a perverse attempt to
achieve a favorable result for their client, admitted child sex abuser Jane F. Girard.

267. Judge Yu, for going along with the grotesque charade and knowingly setting a
trial lacking a pleading, a trial which seeks imposition of contempt and is criminal in nature, is
responsible for disregarding the Sixth Amendment rights of Plaintiff. Because he set the
“mystery trial” via his courtroom in Calendar 89, fully apprised that previous judicial transfer
orders were missing and unfiled on the docket, Judge Yu is amenable to suit hereunder.

268. Hon. Scannicchio — as Hon. Yu’s supervising judicial officer ~ also bears
responsibility for Judge Yu’s grotesque affront to the Constitution. Like Judge Yu, Hon.
Scannicchio knowingly emplaced the Custody Proceedings on Calendar 89 without authority and.
thereby acted wholly without jurisdiction to get the matter before Judge Yu.

COUNT. VIL- VIOLATION OF RIGHT TO FAIR NOTICE OF CLAIMS

42 U.S.C. § 1983; Scannicchio, Yu, Mirabelli, Elster
269. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

270. By failing to commence action against Plaintiff with a pleading, in violation of the
civil procedure rules in Illinois, Attorney Mirabelli is responsible for Plaintiff’s deficient joinder.
271. By continuously maintaining for twenty (20) months that Plaintiff is an
indispensable party under the Custody Proceedings, Attorneys Mirabelli and Elster have
knowingly and deliberately forced the Domestic Relations Division — notably Judge Yu and his
supervisor Hon. Scannicchio — to maintain the pendency of the proceeding against Plaintiff. The

proceeding has caused aggravation of her interstitial cystitis and PTSD, frustration, distress and

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mental anguish and invaluable loss of time (including business loss for her therapy business and
attorneys fees).

272. It is axiomatic that Plaintiff is entitled to know the charges against her under the
“mystery trial” set for May 1-2, 2025 in order to have any hope of preparing a reasonable
defense for the fast-approaching “mystery trial” wherein her freedom is at stake.

273. Hons. Yu and Scannicchio are amenable to suit hereunder because the proceeding
was maintained on Calendar 89 and the “mystery trial” set for a date certain wholly without
jurisdiction and lacking the filing of required judicial transfer orders on the docket. ,

COUNT VIL- ABUSE OF PROCESS

42 U.S.C. § 1983; Jane F. Girard, Mirabelli, Elster
274. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

275. Jane F. Girard masterminded the wrongful joinder - executed and maintained
under the leadership of Attorneys Mirabelli and Elster — of Plaintiff for the ulterior purpose of
causing maximum pain and suffering to Plaintiff, as a form of improper retribution for marrying
Kenton Girard.

276, When Plaintiff was “actioned” with papers under her deficient joinder, she was
provided a Motion to Join Third Party on which she was neither in the caption or otherwise
named. Is it neither normal or customary to commence proceedings against a new party with a
motion, nor is it normal or customary to commence proceedings against a new party with a paper
which does not name that party, Any subsequent papers which might be retroactively construed
as pleadings against Plaintiff do not operate to cure the violations at the time of joiner under 735
ILCS 5/2-201(a), wherein Plaintiff was not actioned with a complaint/pleading.

277. Asatesult, the elements of abuse of process are satisfied.

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278. Attorneys Mirabelli and Elster are also liable hereunder because they knew at all
times they had no viable or conceivable claim against Plaintiff. They used their influence and
clout with the Domestic Relations Division to improperly join Plaintiff, and then by filing
countless motions seeking her fining or jailing, in a manner which transparently demonstrates the
true purpose of her joinder: harassment and leverage against Kenton Girard. Attorneys Mirabelli
and Elster cannot hide behind erstwhile judicial officer William S. Boyd’s approval of their plans
to join Plaintiff to avoid liability hereunder: they are solely responsible for violating the
requirements of actioning Plaintiff with a complaint/pleading under 735 ILCS 5/2-201 (a).

COUNT VII - NEGLIGENCE
All Defendants (42 U.S.C. § 1983 only as to Cook County Defendants)

279. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

280. All of the Defendants hereunder owed a duty of care to Plaintiffs, including a duty
to make accommodations and to provide courtroom access for Plaintiff owing to her disabilities
in keeping with the requirements under Title II of The Americans with Disabilities Act of 1990.

281. However, those duties were breached wherein the Defendants intentionally
refused to accommodate Plaintiff with the ability to participate in court dates via Zoom. In the
case of Judge Yu, he knowingly convened court dates adverse to Plaintiff’s interests — including
striking her TP Claims without legal basis — knowing that she was medically incapable of
participating in a shocking affront to Plaintiff's qualifying ADA medical conditions.

282. Those duties were further breached wherein additional staff from Domestic
Relations including Hons. Scannicchio and Ahern and clerk Adam P. Monreal Esq, despite full
knowledge of the fight over ADA accommodations as to Plaintiff, and the violations of

Plaintiff’s First Amendment Rights on October 18 2024, stayed on the sidelines of the Custody

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Proceedings and refused to restore Plaintiff’s access to the courtroom proceedings. Finally, Jane
F. Girard had a duty not to abuse process by vexatiously and improperly joining Plaintiff.

283. As a result of these breaches of duties, Plaintiff has been harmed: (a) she has been
denied access to the court dates in the Custody Proceedings, (b) she has experienced severe
emotional distress and mental anguish and physical worsening of her symptoms under PT'SD and
interstitial cystitis, (c) her therapy and counseling business has suffered a setback measured in
lost revenues and clientele, and (d) she has suffered the indignity of these violations. The judicial
defendants cannot claim immunity here: Hon. Fernandez/Hon. Ahern disregarded Plaintiff's
ADA rights after their court divested itself of jurisdiction, and Hon. Yu’s Calendar 89 never
acquired jurisdiction owing to missing judicial transfer orders.

COUNT IX - DECLARATORY RELIEF
All Defendants except Jane F. Girard

284. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

285. An actual controversy has arisen and now exists between the parties in that
Plaintiff contends, and is informed and believes that Defendants denies, that its courtroom access
policies deny the full and equal access to the services and facilities of its court system, which
Defendants operate and controls, fails to comply with applicable laws including, but not limited
io, Title II of the Americans with Disabilities Act.

286. A judicial declaration is necessary and appropriate at this time in order that each

of the parties may know their respective rights and duties and act accordingly.

All Defendants except Jane F. Girard
287. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

288. Plaintiff seeks injunctive relief calculated to cease the equal protection violations

and other civil rights violations it is and has been committing against Plaintiff, and to establish

73 «OAM Marissa Girard v. Rossana P. Fernandez et al. ~ FAC

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and disseminate policies and procedures that ensure that ADA accommodations are not
weaponized again.

289. These policies and procedures should include: 1) training members of the
Domestic Relations Division staff to properly field requests from persons with disabilities; 2)
proper screening for actionable disabilities; 3) contours of reasonable accommodations; 4)
preserving investigation evidence; and 5) publishing requests for ADA accommodations in order

to enhance visibility and accountability to the public.

WHEREFORE, Plaintiff prays this Court grant the following relief:

1) Compensatory damages in an amount to be determined at trial;

2) Attorneys fees and costs under 42 U.S.C. § 1988 and under 29 U.S.C. § 794a(b);
3) Nominal damages for violations of constitutionally protected rights;

4) Such other relief that this Court may deem just, equitable and proper;

Dated: March 09 2025 Respectfully Submitted,

Marissa Girard, Jn Pro Se

/s/ Marissa Girard
965 Forestway Drive
Glencoe, IL 60022

Email: marissadakis@gmail.com
Tel: 773-425-4393

CERTIFICATE OF SERVICE
The undersigned certifies that this paper was electronically filed with the clerk of this
Court on March 9 2025 and was provided via email to the attorneys who have filed appearances

in this matter.

/s/ Marissa Girard

74 A1 Marissa Girard v. Rossana P. Fernandez et al. — FAC

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FILED

THE UNITED STATES DISTRICT COURT APR 28 225
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

JANE F. GIRARD,
Plaintiff,
v.

KENTON GIRARD and
MARISSA GIRARD,

Defendants.

KENTON GIRARD,

Crossclaim Plaintiff,

Vv.
MARISSA GIRARD,

Crossclaim Defendant.

MARISSA GIRARD,

Counterclaim Plaintiff &
Third Party Plaintiff,

v
JANE F. GIRARD,

Counterclaim Defendant,

VANESSA L. HAMMER,

KAREN V. PAIGE,

CANDACE L. MEYERS and
DETECTIVE RYAN MCENERNEY,

Third Party Defendants.

THOMAS G. BRU
CLERK, U.S. DISTRICT COURT

Civil No.
2S-ev.

Judge J
District Jude Magistrate 40,0; O2nel
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Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant/Crossclaim Defendant

Marissa Girard now files this Notice of Removal (“Notice”) for the action filed in the Circuit

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Court of Cook County, State of Illinois, case number 2015-D-009633, styled as Jane Girard v.

Notice of Removal by Crossclaim Defendant Marissa Girard

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Kenton Girard (“State Court Action”).

Pursuant to 28 U.S.C. § 1446(@), the process and pleadings served upon
Defendant/Crossclaim Defendant Marissa Girard through April 28 2025 are attached as Exhibit
A, and the orders served upon Defendant/Crossclaim Defendant Marissa Girard through April 28
2025 are attached as Exhibit B.

On May 26 2023, Jane Girard filed an alias summons (Exhibit A) which references a
“Motion to Add Third Party”. About a month later, Marissa Girard was served with said
summons together with an accompanying paper entitled “Motion to Join Third Party” filed on
March 8 2023 (Exhibit A). That “Motion to Join Third Party” is a motion — not a pleading —
seeking court permission for taking the steps required to join Marissa Girard as a defendant, does
not even include Marissa Girard in its caption, and therefore constitutes deficient joinder under
735 ILCS 5/2-201(a).

On April 28 2025, Defendant/Crossclaim Plaintiff Kenton Girard served a declaratory
judgment pleading (“DJ Crossciaims”) on Marissa Girard, which paper raises federal questions,
owing to a Postnuptial Indemnification Agreement which provides for indemnification by
Kenton as to Marissa’s reasonable and necessary legal fees if her rights under the Constitution or
federal law are violated owing to a course of action by Jane F. Girard and therefore raises federal
and Constitutional questions.

1 This Notice is Timely.

Removal of this action is timely under 28 U.S.C. § 1446(b), which provides that “[t]he
notice of removal of a civil action or proceeding shall be filed within thirty days after the receipt
by the defendant, through service or otherwise, of a copy of the initial pleading setting forth the

claim for relief upon which such action or proceeding is based{.|” In this case,

2 A2 Notice of Removal by Crossclaim Defendant Marissa Girard

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Defendant/Crossclaim Defendant Marissa Girard has repaired to federal court on the very same
day she was served with the removable pleading from Kenton Girard.
II. The Northern District of IHinois is the proper venue.

Venue in this District is proper under 28 U.S.C. § 1441(a) because the Circuit Court of
Cook County, Illinois (where the State Court Action is pending) is within the jurisdiction of the
United States District Court for the Northern District of Illinois, Eastern Division.

Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice is being filed with the clerk of the
Circuit Court for Cook County and will be served upon Plaintiff contemporaneously with this
filing. A copy of the Notice of Filing of Notice of Removal is attached hereto as Exhibit C.

Til. Federal Jurisdiction Exists.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
Crossclaim Plaintiff Kenton Girard has brought claims which raise federal questions. Because
the entire pleading arises under the same “case or controversy,” this Court “shall have
supplemental jurisdiction over all other claims.” 28 U.S.C. § 1367.

The recent Supreme Court decision under Home Depot US.A., Inc. v. Jackson, 587 U.S.
___ (2019) established that 28 U. S. C. §1441(a) does not permit a third-party counterclaim
defendant’ to remove a claim. However, the posture here is noticeably different: (a) Marissa
Girard is an “original defendant” under the State Court Action, which implicated a federal
question only at the moment when her co defendant filed a crossclaim against her; and (b) the
Federal Rules of Civil Procedure distinguish between counterclaims and crossclaims (Rule 13).

Continuing, the Domestic Relations Exception does not apply here because Marissa

Girard was never actioned with a pleading, much less a pleading seeking domestic relations style

' Under Supreme Court Justice Thomas's opinion, “third-party counterclaim defendant” refers to a
party first brought into the case as an additional defendant to a counterclaim asserted against the original
plaintiff.

3 A2 Notice of Removal by Crossclaim Defendant Marissa Girard

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relief. To provide even more clarity, Marissa Girard has neither a biological connection nor a
claim to parental responsibility as to the minor children of Kenton Girard and Jane F. Girard.

The State Court Action appears to constitute a post-decree effort to adjudicate the custody
of the minor children, although it is difficult to decipher lacking pleadings filed by Plaintiff Jane
F, Girard, and because of the most recent description of the trial under the State Court Action
provided by Beermann LLP attomey Enrico J. Mirabelli on February 14 2025 as a “criminal
contempt trial against Kenton & Marissa Girard”. Moreover, the Trial Order of Hon. William Yu
from the same date references a “Petition for Finding of Parenting Time Abuse directed against
Kenton and Marissa” — an alleged pleading which does not exist (and by the description, is
nonsensical — Marissa Girard has no parenting rights to the minor children) and which paper has
certainly not been served on Marissa Girard.

The minor children have already been identified as victims of sexual abuse at the hands
of their biological mother, Jane F. Girard, who asserted her Fifth Amendment right against
self-incrimination under questioning by Prosecutor Mary Stein from the Iilinois State’s Attorneys
Office on September 7 2023. From a civil standard, Jane F. Girard is an admitted child sex
abuser and therefore divested of the right to seek a custody remedy in any court of law. The
federal government has an interest in protecting violent/sex crime victims, and parental rights
under the Fourteenth Amendment are implicated.

If any questions arise as to the propriety of the removal of this action, Crossclaim
Defendant Marissa Girard requests the opportunity to supplement this Notice. Crossclaim

Defendant expressly reserves all objections she may have to the DJ Crossclaims.

4 A2 Notice of Removal by Crossclaim Defendant Marissa Girard

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WHEREFORE, Crossclaim Defendant Marissa Girard hereby gives notice that the State

Court Action has been removed to this Court.

Dated: April 28 2025 Respectfully Submitted,

for Crossclaim Defendant Marissa Girard:

is! Marissa Girard

965 Forestway Drive

Glencoe, IL 60022

Emai!: marissadakis@gmail.com
Tel: 773-425-4393

CERTIFICATE OF SERVICE

The undersigned certifies that this paper and all attachments were (a) electronically filed
with the clerk of this Court on April 28 2025, (b) provided via email to the attorneys who have
filed appearances in this matter as indicated below, and (c) provided via email and hand-delivery
to Kenton Girard, who is pro se hereunder:

kpaige@beermannlaw.com, for Jane F. Girard

jduffv@smbtrials.com, for Vanessa Hammer
kimberly, blair@wilsonelser.com, for Karen Paige and Candace Meyers

jkivetz@jsotoslaw.com, for Ryan McEnerney

for delivery to Kenton Girard:
965 Forestway Drive
Glencoe, IL 60022

Email: ke5252@vahoo.com
/s/ Marissa Girard

5 A2 Notice of Removal by Crossclaim Defendant Marissa Girard

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U.S. District Court for the Northern District Of Illinois
Appearance Form for Pro Se Litigants

Information entered on this form is required for any person filing a case in this court as a pro se
party (that is, without an attorney). Please PRINT legibly.

Case Title: Girard vs. Girard et al Case Number:

An appearance is hereby filed by the undersigned as a pro se litigant:

Name: Marissa Girard

Street Address: 965 Forestway Drive

City/State/Zip: Glencoe, iL 60022

Phone Number: (773) 425-4393

eee 28.2028

Signature Executed on (date)

REQUEST TO RECEIVE NOTICE THROUGH E-MAIL

If you check the box below and provide an e-mail address in the space provided, you will receive notice
via e-mail. By checking the box and providing an e-mail address, under Federal Rule of Civii Procedure

5(b)2(E) you are waiving your right to receive a paper copy of documents filed electronically in this case.
You should not provide an e-mail address if you do not check it frequently.

| request to be sent notices from the court via e-mail. | understand that by making this request, |
am waiving the right to receive a paper copy of any electronically filed document in this case. |
understand that if my e-mail address changes | must promptly notify the Court in writing.

marissadakis@qmail.com
E-Mail Address (Please PRINT tegibly.)

Rev. 06/23/2016

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to get more information and Zoom Meeting IDs.
Remote Court Date: 3/17/2023 9:30 AM - 9:35 AM FILED

3/8/2023 3:39 PM
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS RIS Y. MARTINEZ
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION RCUT CLERK:

MOTION TO JOIN THIRD PARTY
NOW COMES the Respondent, JANE GIRARD (“Jane”), by and through her attomeys,

, OOK COUNTY, IL
3 2015D008633
3 JN RE: THE FORMER MARRIAGE OF ) Calendar, 32
3 ) 21782997

; KENTON GIRARD, )

: Petitioner, )

; )

; and ) No. 2015 D 009633

3 )

3 JANE GIRARD, )

j Respondent. )

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j

BEERMANN LLP, pursuant to Section 5/2-406 of the Illinois Code of Civil Procedure (735 ILCS
5/2-406), and in support of her Motion to Join Third Party, Jane respectfully states as follows:

1. Two (2) children, twins, were born to the parties as a result of their marriage,
namely: Gwen Girard, presently fifteen (15) years old; and Grace Girard, presently fifteen (15)
years old.

2. On November 4, 2015, this Honorable Court entered a Judgment for Dissolution of
Marriage. In conjunction with the entry of the Judgment for Dissolution of Marriage, this Court
approved and entered the parties’ Joint Parenting Agreement Custody Judgment (“JPA”). A true
and accurate copy of the JPA is incorporated herein by reference only as Exhibit A.

3. The JPA provided for an equal, 50/50 parenting time scheduie, which was a “‘5-2-
2-5” schedule.

4. For approximately the past four (4) years, the parties have followed a week on-
week off parenting time schedule such that the minor children are with Jane for one (1) full week
and then with Kenton the next week, alternating on Fridays after school. Although the parenting

time schedule in the JPA is a 5-2-2-5 schedule, the parties mutually agreed to via email to modify

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the 5-2-2-5 schedule to an alternating week schedule to meet the children’s growing and changing
needs and to create more consistency for the children.

5. Since the entry of the Judgment for Dissolution of Marriage and the JPA, the
Petitioner, KENTON GIRARD (“Kenton”), has remarried.’ Kenton and his spouse, Marissa
Girard, have resided together since 2015.

6. After entry of Judgment, Jane and Kenton had successfully co-parented the minor
children for over five (5) years without major incident.

7. Kenton, with Marissa’s support and influence, has alienated the minor children
from Jane beginning in mid-2020. Upon information and belief, Marissa has been instrumental in
the ongoing alienation perpetrated by Marissa and Kenton to damage the relationship between Jane
and the minor children.

8. Marissa, a stepmother, has muscled her way in to the children’s lives as if she was
their mother. Beginning 2020, Marissa has ignored all appropriate boundaries as a stepparent.
Since approximately fall 2022, Marissa has essentially taken over Jane’s role as the children’s
mother. This includes not only spending time with the children — who now refuse to see their
mother — but also making many day-to-day decisions.

9. Marissa has made “significant decisions” (pursuant to 750 ILCS 5/602.5) but also

10. | Marissa, upon information and belief, has inappropriately inserted herself into
parenting decisions (which should only be made by Kenton and Jane), and has manipulated the
minor children’s feelings/thinking. Further, Marissa has intimidated, threatened and harassed
Jane. By way of example:

a. Marissa has, on numerous occasions, held herself out to be the minor children’s
mother, including, but not limited to, the following incidents:

1 Kenton married Marissa within approximately 1 month of the parties’ divorce.

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i. In or about December 2021 and January 2022, Kenton and Marissa sent
numerous emails to the superintendent of the minor children’s school
regarding the COVID vaccination and testing policies of the children’s
school. Gwen was a participant in the school musical, and thus was required
to participate in the COVID testing. Kenton and Marissa referred to
themselves as Gwen’s parents and to Gwen as “our daughter.” Kenton and
Marissa did not include Jane on any of the email communication. Jane only
discovered the email communication because the superintendent forwarded
the email communication to Jane.

ii. In or about September 2022, at Parent’s Night at the minor children’s
school, Kenton and Marissa introduced themselves to the class of parents
and children as “Grace’s parents,” causing confusion and an uncomfortable
atmosphere as Jane was in the room and had already introduced herself as
Grace’s mom.

iii, On October 21, 2022, Jane received communication from the minor child’s
former doctor at Kenilworth Medical Associates indicating that a woman
called claiming to be Jane. Kenilworth Medical Associates forwarded a
copy of a phone message which indicated that “(Mom) Jane” had called the
office requesting a change in doctors. The message included a call-back
number, which is Marissa’s personal cell phone number. A true and accurate
copy of the October 21, 2022 phone message is attached hereto as Exhibit
B.

iv. On October 24, 2022, Marissa emailed Kenilworth Medical Associates
stating, “... - just following upon this request as my daughter has her appt
with new provider this week.” Kenton then sent an email to Kenilworth
Medical Associates stating, “I am authorizing Marissa Girard ... to make
any other decision needed regarding Grace Girard’s medical records
at Kenilworth Medical Associates.” A true and accurate copy of the
October 24, 2022 email correspondence is attached hereto as Exhibit C.

b. On or about August 5, 2020, Marissa texted Jane individually requesting that
Kenton, Jane and Marissa, together, attend family therapy. Jane then suggested
meeting with Sasha Von Varga, with whom the parties have previously met and
who is aware of the family history and dynamics. Marissa moved the conversation
to a group text between Jane, Kenton and Marissa, whereby Marissa stated that she
has “more expertise than both of you” (‘you’ referring to Kenton and Jane)
regarding the minor children’s needs and best interests. Marissa then continued to
text disparaging, insulting and argumentative messages to Jane regarding the
children. Thereafter, Marissa (who initially requested that the parties and Marissa
engage in therapy) stated that she and Kenton would actually not engage in therapy.
At no point did Kenton engage or put a stop to Marissa’s combative and offensive
behaviors and comments. A true and accurate copy of the text messages from
Marissa to Jane on August 5, 2020 are attached hereto as Exhibit D.

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c. On or about May 11, 2021, after an incident whereby Kenton had yelled and
threatened Jane in relation to his demands that Jane purchase the minor children
Googie Chromebooks, Marissa sent an inappropriate and unsolicited text regarding
child support to Jane saying “also fyi kenton has taken a significant pay cut. He is
stressed, Renters aren’t paying. So it’s a lot right now for him. // pls read between
the lines... a significant reduction in income impacts your payments. So I would
not push too far on this.” A true and accurate copy of the May 11, 2021 text
messages from Marissa to Jane are attached hereto as Exhibit E.

d. On or about August 29, 2022, Marissa and Kenton verbally attacked Jane in public
and in front of the minor children at Grace’s art. show, demanding that Jane
acquiesce to Marissa and Kenton’s unilaterally-determined parenting time schedule
change (which was to eliminate Jane’s parenting time). Marissa threatened Jane,
stating that Marissa has “all the money to take [Jane] to court and make sure the
girls are never with you.” Marissa and Kenton further threatened that if Jane did
not agree to the parenting time schedule change right in that moment, then Kenton
would file to “haye custody of the girls” and to keep the girls from Jane. Marissa
and Kenton continuously pulled both Grace, who was presenting at the art show,
and Gwen away for private conversations away from Jane. Kenton and Marissa
demanded that the minor children tell Jane that the children wanted to live with
Kenton and were yelling that Jane is liar and that Jane was calling the minor
children liars in front of the children and other parents/children at the art show.

e. On December 9, 2022, without discussion or agreement between the parties,
Marissa, , took the minor children to Jane’s residence while Jane was out of town.
Jane expressly told the children that she did not want them in her home unattended
and to coordinate a time once she was back in town. The children disregarded their
mother completely and went into the house anyway, setting off the Jane’s security
system. Marissa drove the children and actively encouraged and supported the
children entering their mother’s home to remove many of the minor children’s
belongings and items from Jane’s residence knowing Jane was out of town. Jane
viewed the garage security camera footage and saw Marissa pull up in her car, exit
her car, and assist the girls in loading a majority of their belongings (clothes,
blankets, stuffed animals, photos, books, posters, etc.) from Jane’s residence.

f The minor children had been treated by their pediatrician since birth. On or about
January 6, 2023, Jane reviewed her insurance coverage and benefits Jane covers
the children on her health insurance policy). In reviewing the same, Jane saw that
Gwen went to a new pediatrician on December 28, 2022 to be treated for an ear
infection. After speaking with the new pediatrician Jane was informed that the
minor children had their annual physicals scheduled. Jane was not made aware of
these appointments when they were scheduled.

g. On January 16, 2023 (10 days later), both minor children were scheduled for their
annual physical exams. Jane attended the appointment, as she has always done in

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the past. Kenton brough Gwen to the appointment and Marissa arrived shortly
thereafter with Grace. Once in the exam room, Marissa asked Kenton, loud enough
for Jane and both minor children to hear, to go to the front desk to have “someone
make Jane leave.” In order to avoid further confrontation in front of the minor
children, Jane voluntarily left the exam room and went to the waiting room. Both
Kenton and Marissa remained in the exam room with both minor children for the
entirety of their physical exams, though Marissa is nof the minor children’s mother
nor guardian. Marissa then left with Grace, directing Grace away from Jane and did
not encourage any interaction between Grace or Jane, and instead completely
ignored Jane in the waiting room.

h. Upon information and belief, Marissa has repeatedly insinuated directly to the
minor children that they may not be “safe” while at Jane’s residence, along with
telling the minor children that Jane “needs therapy,” that the children are “victims,”
and encouraging the children to alienate themselves from Jane to protect themselves
from her.

i. For the past two (2) or more years, Marissa has also actively reached out to Jane to
ctiticize Jane, Jane’s parenting, and Jane’s relationship with the children. In her
criticisms, Marissa refers to her educational background and her claimed
professional history as a counselor in an attempt to bolster her reasonings and
allegations against Jane that Jane is not a “good parent” and that Jane “needs
therapy.”

11. It is clear that Marissa has overstepped her role as the children’s stepparent,
inserting herself into decisions related to the children and bas been a controlling, demanding voice
in conversations relating to the children, though she is net the children’s mother.

12. Marissa completely disregards all boundaries as a stepparent. Kenton actively
encourages Marissa’s behaviors.

13. Marissa and Kenton have encouraged the children to reject Jane. The children, who
used to spend 50% of their time with both parents, now have spent 0 overnights with their mother
since August 28, 2022, continually refuse Jane’s invitations to spend time together, rarely reply to
any of Jane’s text messages/phone calls/emails, and simply ignore any attempt Jane makes to.

connect with her children.

14. Through Marissa’s manipulative actions over the past two or more years, Marissa

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has damaged the co-parenting relationship between Jane and Kenton and the minor children’s
relationship with the minor children.

15.  Marissa’s behaviors, which are supported by Kenton, are causing long-lasting
mental and emotional harm to the minor children through Marissa’s efforts to remove Jane from
the children’s lives.

16. Section 5/2-406(a) of the Illinois Code of Civil procedure provides that “[i]f a
complete determination of a controversy cannot be had without the presence of other parties, the
court may direct them to be brought in.” 735 ILCS 5/2-406(a) (Westlaw, 2023).

17. Aparty is necessary for a full determination of the issues when he/she is:

[Ojne whose presence in the suit is required for any three reasons: (1) to
protect an interest which the absentee has in the subject matter of the
controversy which would be materially affected by the judgment entered in
his absence; (2) to reach a decision which will protect the interests of those
who are before the court; or (3) to enable the court to make a complete

determination of the controversy.

In re Marriage of Schweihs, 222 T.App.3d 887, 894 (1991) (Citing Lerner
v, Zipperman, 69 Il.App.3d 620, 623 (1979).

18. Joining Marissa as a third party in this matter is essential to allow the Court to make
a full determination of the parenting issues. Put another way, the Court must join Marissa in this
action so this court can “make a complete determination of the controversy,” including Marissa’s
actions, behaviors and influence over the minor children.

19. Dr. Phyllis Amabile is the Court’s evaluator pursuant to 750 ILCS 5/604.10(b). Dr.
Amabile must also have the ability to interview Marissa.

20. Moreover, Marissa should be joined as a third party in order for the Court to
adjudicate ali matters pertaining to the minor children, and ultimately for the Court to enter ali

appropriate orders regarding Jane, the minor children, and Kenton, as well as Marissa.

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21. Based on the foregoing, Marissa has placed herself at the center of this litigation by
exerting care and exercise over the minor children, behaving in an inappropriate and controlling
manner towards the children, and harassing and threatening Jane. As such, she should be formally
joined in this litigation so that the Court can properly adjudicate these issues regarding the parties’
minor children, and Jane’s role as their mother.

WHEREFORE, the Respondent, JANE GIRARD, by and through her attorneys,
BEERMANN LLP, respectfully requests the following:

A.  Forentry of an Order joining Marissa Girard as an additional third-party respondent
in this cause with summons to issue; and

B. For such other and farther relief as this Honorable Court deems equitable and just.

Respectfully submitted,
BEERMANN LLP

ya

One of the Respondent's Attormeys

Karen V. Paige | Candace L. Meyers
Molly M. Carmody

BEERMANN LLP

Attorneys for the Respondent

161 North Clark Street — Suite 3000
Chicago, Hinois 60601

T: (312) 621-9700

Firm ID: 80095
kpaige@beermannlaw.com
clmeyers @beermannlaw com
mmcearmody @beermanniaw.com

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VERIICA TION BY CERTIEICATION

Under penalties as provided by law pursuant to 735 ILCS 5/1-109 of the llinois Code of
Civil Procedure, the undersigned certifies that the statements set forth in this instrument are true
and correct, except as to matters therein stated to be on information and belief and, as to such

matters, the undersigned certifies as aforesaid that he verily believes the same to be true.

Ope

JANE GIRARD

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to get more information and Zoom Meeting IDs.

Remote Court Date: No hearing scheduled

Leiden tet Nae WONT eid Keen DED Rate Vr renrcrheintt

Summons / Alias Summons

FILED

6/26/2023 2:21 PM
IRIS ¥. MARTINEZ
CIRCUIT CLERK
COOK COUNTY, IL
2015D008633
Calendar, 32
22905247

(09/09/21) CCDR 0001 A

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION
IN RE: [1] Legal Separation ( Allocation of Parental Responsibilities

1] Visitation (Non-Parent) (1 Support

KENTON GIRARD

Petitioner
and
JANE GIRARD Respondent

MARISSA GIRARD _ Thitd Party Respondent
* Hearing/Return Date:

at ~ AM PM
* Applies to Suburban Districts ONLY

2105 - Summons - Retd - Substitute Service

2106 - Alias Summons - Retd - Substitute
Service

2120 - Summons - Retd BS.

2121 - Alias Summons - Retd PS.

2123 - Summons Retd - Served at
Correctional Facility

9220 - Summons - Retd N.S.

(1 Parentage of: [X] Marriage

Case No. 2015009633

Calendar 32

** Please serve the Respondent at:
Marissa Girard

965 Forestway Drive, Glencoe, IL 60022

2221 - Alias Summons - Retd N.S.

2700 - Return of Service PS. - Order of
Protection

2702 - Return of Service N.S. - Order of
Protection

2708 - Return of Service of Order - PS.

2716 - Return of Service of Order N.S.

[] SUMMONS ALIAS SUMMONS

TO THE RESPONDENT:

‘The Petitioner has filed a legal proceeding against you for one or mote of the following:

[ Legal Separation (] Declaration of Invalidity [] Custody [1 Child Support

[ Praecipe for Summons*

¥ Other: Motion to Add ‘Third Party

YOU ARE SUMMONED and required to file your appearance and response no later

than * thirty (30) days

day of service.

seven (7) days after service of this summons, not counting the

If you fail to file your written appearance within the time stated above, a default judgment
may be enteted against you and the court may grant the petitioner all or part of the relief

that s/he is requesting in her or his petition.

Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
cookcountyclerkofcourt.org

A? Page f of 3

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Summons / Alias Summons (09/09/21) CCDR 0001 B

PILING AN APPEARANCE: Your appearance date is NOT a court date. It is the deadline for filing

your appearance/answer. To file your appearance/answet YOU DO NOT NEED TO COME TO THE
COURTHOUSE, unless you ate unable to eFile your appearance/answer. You can download an Appearance
form at http:/ /wwwillinoiscourts.gov/Forms/approved/ptocedures/appearance.asp. After completing and saving
yout Appearance form, you can electronically file (e-File) it with the circuit clerk's office.

E-FILING: E-filing is now mandatory with limited exemptions. To ¢-File, you must first create an account with
an e-Filing service provider, Visit http://efileillinciscourts.gov/ service-providers.htm to learn more and to select a
service provider.

If you need additional help or have trouble e-Filing, visit http:// wwwillinoiscourts.gov/faq/gethelp.asp or talk with
yout local circuit clerk’s office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
person of by mail. Ask your circuit clerk for more information or visit www.llinoislegalaid.org.

FEE WAIVER: If you ate unable to pay your court fees, you can apply for a fee waiver. For information about
defending yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
wwwillinoislegalaid.org. You can also ask your local circuit clerk’s office for a fee waiver application.

COURT DATE: Your court date will be sent to your e-File email account or the email address you provided to
the clerk’s office. You can also call or email the clerk’s office to request your next court date. You will need to
ptovide your case number OR, if unknown, the name of the Plaintiff or Defendant. For criminal case types, you
will also need to provide the Defendant's birthdate.

{OTE APPEARANCE: You may be able to attend this court date by phone oz video conference.
This is called a “Remote Appearance”. Call the Circuit Clerk at (312) 603-5030 or visit their website at www.
cookcountyclerkofcourt.org to find out how to do this.

Contact information for each of the Clerk’s Office locations is included with this summons. The Cletk’s office is
open Mon - Fri, 8:30 am - 4:30 pm, except for coutt holidays.

TO THE OFFICER: This summons must be returned by the officer or other person to whom it was given for
service, with endorsement thereon of service and fees, if any, immediately after service. If service cannot be made,
this summons shall be returned so endorsed.

§/30/2023
Atty. No: 80095 Witness:
Atty Name; Beetmann LLP (Karen V. Paige) re 2012023 2:21 PM IRIS Y. MARTINEZ
Atty. for: Respondent, Jane Girard
Address: 161 North Clark Street, Suite 3000 Circuit Court Clerk
City; Chicago itslof Service
State: Le Zip: 60601 ig e inserted by officer on copy left with Respondent

Telephone: (312) 621-9700

Pri Emait: kpaige@beermannlaw.com

Isis Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois

A2 cookcountyclerkofcourt.org
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Cash ase5-26-088de Dddamenertt17Filed: 0418 2DeR AH A02S 11 PRegsiia gel /

GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
appropriate division, district or department to request your next court date. Email your case number, or, if you do
not have your case number, email the Phintiff or Defendant’s name for civil case types, or the Defendant’s name

and birthdate for a criminal case.
CHANCERY DIVISION
Court date EMAIL: ChanCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5133
CIVIL DIVISION
Court date EMAIL: CivCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5116
COUNTY DIVISION
Court date EMAIL: CatyCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5710

Court date EMAIL: DRCourtDate@cookcountycourt.com

OR

ChildSupCourtDate@cookcountycourt.com
Gen. Info: (312) 603-6300

DOMESTIC VIOLENCE

Court date EMAIL: DVCourtDate@cookcountycourt.com
Gen. Info: (312) 325-9500

LAW DIVISION
Court date EMAIL: LawCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5426

PROBATE DIVISION

Court date EMAIL: ProbCourtDate@cookcountycoutt.com
Gen. Info: (312) 603-6441

ALL SUBURBAN CASE TYPES

DISTRICT 2 - SKOKIE
Court date EMAIL: D2CourtDate@cookcountycourt.com
Gen. Info: (847) 470-7250

DISTRICT 3 - ROLLING MEADOWS
Court date EMAIL: D3CourtDate@cookcountycourt.com
Gen. Info: (847) 818-3000

DISTRICT 4- MAYWOOD
Court date EMAIL: D4CourtDate@cookcountycourt.com
Gen. Info: (708) 865-6040

DISTRICT 5 - BRIDGEVIEW
Court date EMAIL: D5CourtDate@cookcountycourt.com
Gen. Info: (708) 974-6500
DISTRICT 6 - MARKHAM
Court date EMAIL: DéCourtDate@cookcountycourt.com
Gen. Info: (708) 232-4551

Iris Y, Martinez, Clerk of the Circuit Court of Cook County, Illinois

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cookcountyclerkofcourt.org
Pape 3 of 3

Casccases-25-43886 Dddamenest:i/Filed: 04748 eDBsyy Ame 11 PRagelbagia
This form is approved by the Illinois Supreme Court and is required to be accepted in all iitinols Circuit Courts.

STATE OF ILLINOIS, FILED
CIRCUIT COURT PETITION FOR say. 23, 2024
cook COUNTY ORDER OF PROTECTION Mania
Clerk af the Cirewlt Court
of Cool ,
Civil Proceeding [x] DEPUTY CLERK Recount
Criminal Proceeding _[]

Instructions ¥ For Court Use Only
Directly above, enter Petitioner: Kenton Lloyd Girard, (DOB: 07/14/1975) 2015D009633
the county where (First, middle, last name) Case Number

| you filed this case.
Enter your name as v. . [[] Independent
Petitioner. oO Juvenile
Enter name of the Respondent: Jane Girard, (DOB: 05/30/1977) [-] Other Civil Proceeding
person you are First, middie, jast name, 7
seeking protection f ) LJ Criminal
from gs Respondent.
Enter ae ois th Peopte to be Protected by this Order (check ail that apply):
Chreait Cork ythe | Petitioner refers to any protected person In this Order.
[x] Petitioner
Check the boxes for [X] Petitioner's minor children with Respondent:
ALL people you . . .
want to include in the Gwen Frances Girard and Grace Lilly Girard
Order.
On the lines [1] Petitioner's minor children not related to Respondent:
| provided, enter the
name for each
person you are
trying to protect. [] Dependent adult:
"Other household Oo . .
members" inctudes High-risk adult:
people living with [x] Other household members: Marissa Girard
you or working
where you are
staying.
NOTE: If you are completing this form for ¢ minor child, dependent adult, or high-risk adult, insert information needed below as if you
were that n. Do not use your information, except as directed at the bottom of 0 where you will sign this form,

Check either or both | TYPE OF ORDER OF PROTECTION REQUESTED AGAINST RESPONDENT (check all that apply)

boxes for the type of [X] Emergency Order of Protection (civil case)’ Ex Parte Protective Order (criminal case)
order you want. If you (These short-term Orders of Protection can be granted on the same day you file your Petition

need pee without advance written notice to Respondent because advance notice would cause more abuse).
° ° (1) Plenary Order of Protection (civil case)/Final Protective Order (criminal case)

In background (These long-ferm Orders of Protection can only be granted at a court hearing after advance
information 1, enter written notice to Respondent.)

the address and email BACKGROUND INFORMATION

vee cone) 4. [2] If Respondent should not know household address because it may cause more abuse,
receive Court notices. use this address for Court notices:

If you do not want

Respondent to know Street Address, Apt. # City Slate ZIP

where you live, enter
a different address

Twhere you can get =| Email

mail. If you do not OR

want Respondent to [x] Respondent knows household address and it is:

know your email, ,

enter a different email 965 forestway drive, Glencoe, IL 60022

where you can get Street Address, Apt. # City State ZIP
Court notices. If you kg5252@yahoo.com

do not have another Email

email, leave this

blank.

GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check every day.
If you do not check your email every dey, you may miss important information, notice of court dates, or documents from other parties,

OP-P 403.4 Page 1 of 14 A2 (08/21)

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In 2, if you do not
know Respondent's
date of birth or
Respondent’s home
or work address,
write "do not know."

In 3, check alt the
boxes that describe
your relationship to
Respondent.

For example, if you
are requesting an
Order of Protection
against your mother,
you will check the
box next to “Child”
because you are the
child of the
Respondent.

Answer Sections 4
and 5 the best you
can. If you check
‘yes’ but do not know
some of the
information asked
for, then write "do not
know.”

If you need more
room, check the box,
fill out the Additional
Case Information
form, and file it with
this Petition.

In 5, list all other
types of court cases
that you have been
involved in with
Respondent, such as
divorce, custody,
child support,
parentage, parenting
time, guardianship,
adoption, and abuse
and neglect cases.

In 6, check all boxes
that ate true.

OP-P 403.4

2.

6.

Respondent's Information

Respondent's date of birth: 05/30/1977
Respondent's home address: 90 Linden Ave, Glencoe, IL 60022
Street Address, Apt # City State ZIP
Respondent's work information:
Abbvie 26525 Riverwoods Blvd, Mettawa, IL 60045
Employer Street Address City State ZIP

Petitioner's Relationship to Respondent (check all that apply)

[7 Bovitiend / Ginitiend Dating) spouse (SE)

Relationship (including ex) (BG) [xX] Ex-Spouse (XS)

Have Children with Respondent .
[1 (never married to Respondent) Sharing or Shared Home (child (CH)
[x] Parent (PA) C] oo Sister / Sibling [1] Other Family Member (OF)
Other ~- Petitioner not Related to Personal Caregiver to
O Respondent (OT) CI intaw (it) O Disabled Petitioner (PC)
Petitioner with Disability receives Personal Assistant of :
CI care from respondent (PD) C1 petitioner (PR) [] Grandehild (GC)
Step-Brother / Step-Sister /
(_] Grandparent (GP) _] Step-Child (SC} CT Step-Sibling (SS)
Legally Appointed Guardian

Prospective or Adoptive Child
(C] has Family or Household
Retationship with Respondent

Foster Child has Family or
[-] Household Relationship
with Respondent

or Custodian of a Child who

[[] has a Family or Household
Relationship with
Respondent

[] Step-Parent (SP)

is there now, or has there ever been, another Order of Protection entered against Respondent

involving Petitioner? (1) Yes [Xl] No [1] Donot know
If ves, list information about the cases:
Names of People Involved State & County Year

(] | have listed additional case information on the Additional Case information form.

Is there now, or has there ever been, another court case with Respondent invoiving
Petitioner?

["] Do not know __ If yes, list information about the cases:

State & County Year
IL, Cook County 2022
\Civil lawsuit - eavesdropping lIL, Cook Gounty 2023

[] | have listed additional case information on the Additional Case Information forrn.

This Petition may be filed in this county because (check aif that apply):
[X] Petitioner resides here.

[X] Respondent resides here.

[x] The abuse happened here.

[-] Petitioner fled here to avoid abuse.

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Case a0 96596 Dens les GBR RRae i! BARB

In 7, start with what
happened most
recently. Enter the
date and time and
describe what
happened.

Be as specific about
dates and times as
you can. You can
include any past
abuse and any
criminal convictions
that resulted.

If you don’t
remember exact dates
of things that
happened long ago,
just enter the month
and year.

If you need more
room, fill out the
Additional Incidents
of Abuse form or
your own extra pages
and file it with this
Petition.

In 1, check box 1 and
each box below for
the type of abuse you
want to prevent. If
you are unsure what
the words after the
boxes mean, you can
look at definitions on
the last page of this
form.

OP-P 403.4

7.

An Order of Protection is needed because Respondent did these things:

Date: _ 04/05/2024 ‘Time: 3pm What happened: My wife, Marissa, and |

discovered an illegal airtag on our car. We and our children all received notifications that an
unidentified airtag had been tracking our movements for days. We were finally able to play the
sound on the airtag, and we discovered one adhered to the undercarriage of our car which ail of us
use. We drove straight fo the police station, where they took the airtag, identified the serial number,
and obtained a warrant for Apple Inc, Apple confirmed to the Glencoe Police Dept who the airtag _
was registered to. Jane Girard was also the only one who knew that we would be out of town and
we believe she came to our property and placed it on our car between March 27th and April 1st___
While waiting for the police investigation to be completed, we've all been extremely fearful.

Date: 05/09/2024 __ Time: 7pm What happened: Both children have been fearful of
their mother due to her abuse, and they have explicitly asked her not to come to their school

events unless invited, Jane Girard showed up to Grace's school event - a very important
presentation - on May 9th. Gwen saw Jane and immediately ran to hide in a hallway. She was
panicked and almost in tears. Grace became very anxious and stressed, and asked her teacher to
Intervene. The school is aware that both girls have requested that their mother not be allowed in
their space during this time due to their fear of her erratic and unpredictable behavior. The teacher
intarcepted Jane and asked her to leave which she eventually did, but not before causing immense
stress and fear to all of us and especially the children who are supposed to be in a safe place.
Date: Weekly Time: anytime _ What happened: Gwen and Grace reported to the
police in August of 2023 that they have been abused by their mother reguiarly for years. This
has included sexual assault of Grace, sexual abuse of Gwen, denial of food and water, falsely
imprisoning them multiple times, emotional and psychological abuse including verbal abuse,
calling Grace a siut, calling Gwen fat, invading their privacy by entering the bathroom, pulling
open the shower curtain, entering changing rooms and demanding to see them naked. Both
report being yelled at for hours with no way to get away, being pushed down and grabbed, and
being screamed at while sick. Both girls fee! that their mother wants to harm them and they are
fearful of being in her presence. Both have had nightmares about her hurting them.

Date: February 2023 Time: Afternoon What happened: Jane Girard illegally recording
myself and my wife on 2 occasions, once in December of 2022 and once in February of 2023.
Both times we had the expectation of privacy and did not consent to be recorded. One of these
times took place in an exam room at a Doctor's office with both girls present. Jane then
illegally disseminated these recordings to multiple people. We have felt extremely violated
since jearning that Jane is willing to break the law by recording us. We are constantly looking
over our shoulder worried about what she may do next, This is not the first violation of our
privacy by Jane Girard.

IX] | have attached the Additional Incidents of Abuse form or my own extra pages.

PROTECTIONS REQUESTED BY PETITIONER
IX} 4. No Abuse

Respondent be ordered not fo threaten or commit the following acts of abuse towards
Petitioner (check all that appiy):

[Xx] Harassment [x] Intimidation of a Dependent

[x] Physical Abuse L} Exploitation of a High-Risk Aduit with Disabilities

[x] Stalking C) Neglect of a High-Risk Adult with Disabilities

(] Willful Deprivation —[X]_ interference with Personal Liberty

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Casias@ 5:18 640458 O0a Sr eee haber gran y he Grad cane» oto DOIsEaS 238

Check 2 if you want
Respondent to stay
away, at all times,
from your home or
provide you
alternative housing.

Check 2a if you want
Respondent to stay
away from your
home. Ifyou listed
your address on page
i, check the first box
under 2a and exter
your address. If you
did not list your
address on page 1,
check the second box
under 2a, Under
BECAUSE, check
the reason why
Respondent should
not be allowed to Say
at the place you are
living. Check 2b if
you want Respondent
to provide you
different housing.

In 3, read the
information in the
box below and make
sure that is what you
want, Ifso, check box
3 and each box below
that applies.

In 3a, check if you
want Respondent to
slay away from
places you need to
go.

NOTE: Respondent
will see these
addresses, If you do
not want Respondent
to know where the
children go to
school, do not list it,
fnstead, check the
box and fill out the
Confidential Name &
Location of the
Sehool or Childcare
Provider form, and
file it with the
Circuit Clerk as

“confidential.”

{X] 2. Possession of Residence (check a or b)
These remedies do not affect who owns the property, only who gets to use or occupy it
ix] a. Petitioner be granted exclusive possession of the residence and Respondent be
ordered not to stay or be at the residence.
{X] Petitioner's residence is iocated at:
965 forestway drive, Glencoe, IL 60022

Street Address, Apt # City Siale ZIP

OR
((] Petitioner's address is undisclosed.

BECAUSE (check one):

{X] Petitioner has a right to occupy the residence and Respondent has no right; OR

(CO Petitioner and Respondent both have a right to occupy the residence but it would be
harder on Petitioner to leave.

OR

(CC) b. Respondent be ordered to provide, and stay away from, alternate housing for

Petitioner to live in because the parties share a residence. {aveilable ONLY after actual
notice to Respondent and/or a hearing with the judge).

Stay Away from Petitioner and Certain Places (see box below)
Respondent be ordered to (check ail that apply):
[<j Not have any communication with Petitioner.
[X] Stay away from Petitioner at all times.
IMPORTANT: If ordered to stay away from Potitioner, Respondent must not have ANY physical, non-physical,
direet or indirect contact with Petitioner. If ordered to net communicate with Petitioner, communication includes oral
communication, written communication, sign language, telephone and cell phone calls, faxes, texts, tweets, emails,
posts, or communication by any other social media, and all other communication with Petitioner. This atso includes
contact or communication through others who may not know about the Order of Protection.

x] a Respondent be ordered not fo be or stay at any of the following places while Petitioner
Is there:
[ Places of employment of Petitioner, located at:

Old National Bank, 8501 W. Higgens, Chicago, IL 60631
City

Name Street Address State Zip
New Trier Aquatics, 7 N. Happ Road, Northfield, it 60093
Name Street Address City State zip

[xj Schools, kindergartens, or daycare centers of Petitioner, located at:

New Trier High School, 385 Winnetka Ave, Winnetka, II 60093
Name Street Address City State Zip

Name Street Address City State Zip
(| {have given the name and location of the schoal or childcare provider on
the Confidential Name & Location of the School or Childcare Provider form.

[X} Other tocations:
Our Home, $85 Forestway Drive, Glencoe, IL 60022
City

Name Street Address State zip
Name Street Address City State ZIP
Fill in 3b only if C1 b. School Restrictions
R t attends .
the cane sohoot as 3 ii is an elementary, middle, or
Petitioner. ame
high schoo! attended by both Respondent and Petitioner for whom protection is sought.
OP-P 403.4 Page 4 of 11 {08/21}
f] The parties are NOT married but parentage AAS been established by one or
Check 5e and check .
the box for the person more of the following:
who takes care of the 4. Both parties have signed a Voluntary Acknowledgment of Paternity (VAP)
children most of the (if both parties’ names are on the birth cartificate, both parties signed the VAP)
time. If the primary to .
caretaker of the 2. Acourt or administrative order
children is someone 3. Other:
other than you or
Respondent, check the
box for "Other

person" and enter that
porson’s name and
address.

OP-P 403.4

[] c¢. The primary caretaker of the minor children Is (check one):

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&] Petitioner

casi AS Onsue rs, IRS ae

In 38, check if you
are on Respondent's
cell phone plan and
you want to separate
your account, Enter
the provider name and
telephone numbers.

Under the Code of
Civil Procedure, 735
ILCS 5/1-109,
making a statement
on this form that you
know to be false is
perjury, a Class 3
Felony,

Ifyou are
completing this
form on a computer,
sign your name by
typing it. Ifyou are
completing it by
hand, sign and print
your name.

if prepared by
someone other than
Petitioner, that
person should enter
their name, address,
phone number, and
email address.

OP-P 403.4

BECAUSE: Jane has relentlessly stalked and harassed our family and abused the
children. She has illegally recorded us and most recently placed an illegal tracking device on
our car in order to track us and the children, We are fearful of what she may try to do next
and we believe that her erratic and unstable behavior is escalating. Ail of us are scared +
anxious knowing that she has disregard for the law.

[} 18. Telephone Services
Awireless telephone provider should transfer from Respondent to Petitioner the right to
continue to use their own telephone numbers and be responsible for the cost of thern.
Petitioner, or a minor child in Petitioner's custody, uses the telephone numbers.
Provider:
Name of Account Holder:
Billing Phone #.
Petitioner's Phone #s:
Petitioner's Phone #s:

{ certify that everything in the Petition for Order of Protection is true and correct. l understand
that making a false statement on this form is perjury and has penalties provided by law
under 735 ILCS 5/4-109.

_isi/Kenton Lloyd Girard

Petitioner Signature

Kenton Lloyd Girard

Petitioner Name

Prepared by: Kenton Lioyd Girard
Street Address: 965 forestway drive
City, State, ZIP: Giencoe, IL 60022
Phone Number: (773) 575-7035
Email: kg5252@yahoo.com
Attorney # (if any):

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Cash 49m 25-086d6 Ddearnent:1/Filed: 04 fle DSARZOPOF 11 PRaaRigess

Enter the Case Number given by the Circuit Clark:

DEFINITION OF TERMS USED IN THIS PETITION

These definitions are incorporated in and made a part of the Patition to which they are attached,

1.
2

10.

tt,
12.

43,

14.

Abuse: “Abuse” means physical abuse, harassment, intimidation of a dependent, interference with personal liberty or willful deprivation but does not include
reasonable direction of a minor child by a parent or person in loco parentis.
Adutt with Disabilities: "Adult with Disabllitiest means an elder adull with disablities or a high-fisk adull with disabllities. A person may be an adult with
disabilities for purposes of this Act even though he or she has never been adjudicated an incompetent adult. However, no court proceeding may be initiated
or continued on behalf of an adult with disabilities over that adult's objection, unless such proceeding is approved by his or her fegal guardian, if any.
Elder Adult with Disabilities: "Elder adult with disabilities" means an adult prevented by advanced age from taking appropriate action to protect himself or
herself from abuse by a family or household member,
Explottation: Exploitation’ means the illegal, including tortious, use of a high-risk adult with disabilities or of the assets or resources of a high-risk adult with
disables. Exploltation Includes, but is not limited to, the misappropriation of assets or resources of a high-risk adult with disabilities by undue influence,
by breach of a fiduciary relationship, by fraud, deception, or extortion, or the use of such assets or resources in a manner contrary to law,
Family or Household Mambers: Include spouses, former spouses, parents, children, stepchildren and other persons related by blood or by present or prior
marriage, persons who share or formerly shared a common dwelling, persons who have or allegedly have a child in common, persons who share or allegedly
share a blood relationship through a child, persons who have or have had a dating or engagement relationship, persons with disabilities and their personal
assistants, and caregivers as defined in Section 12-4.4a of the Criminal Code af 2012. For purposes of this paragraph, nelther a casual acquaintanceship
nor ordinary fratemnization between two individuals In business or social contexts shall be deemed to constitute a dating relationship. in the case of a high-
risk adutt with disabilities, “family or household members® includes any person who has the responsibility for a high-risk adult as a result of a family
relationship or who has assumed responsibility for all or a portion of the care of a high-tisk adult with disabilities voluntarily, or by express or implied
contract, or by court order.
Harassment: Harassment’ means knowing conduct which Is not necessaty to accomplish a purpose that is reasonable under tha circumstances, would
cause a feasonable person emotional distress, and does cause emotional distress to Petitioner. Unless the presumption is rebutted by a preponderance of
the evidence, the following types of conduct shail be presumed to cause emotional distress:
a creating a disturbance at Petitioner's place of employment or school; or
b. repeatedly telephoning Petitioner's place of employment, hame or residence; or
G. repeatedly following Petitioner about in 2 public place or places; or
d. repeatedly keeping Petitioner under survelllance by remaining present oulside his or her home, school, place of employment, vehicle or other place
occupled by Petitioner or by peering in Petitioner's windows; or
@ improperly concealing a minor child from Petitioner, repeatedly threatening to improperly remove a minor child of Petitioner's from the jurisdiction or
from the physical care of Petitioner, repeatedly threatening to conceal a minor child from Petitioner, or making a single such threat following an actual
of attempted improper removal or concealment, unless Respondent was fleeing an incident or pattem of domestic violence; or
f. threatening physical force, confinement or restraint on one or more occasions.
High-risk Adult with Disabilities: "High-risk adull with disabililles’ means a person aged 18 or over whose physica! or mental disability impairs his or her
ability to seek or obtain protection from abuse, neglect, or exploitation.
interference with Personal Liberty: "Interference with personal fiberty* means committing or thraatening physical abuse, harassment, inlimidation or willful
deprivation so as to compel another to engage in conduct from which she or he has a right to abstain or to refrain from conduct In which she or he has a
right to engage.
Intimidation of a Dependent: ‘intimidation of a dependent’ means subjecting a person who is dependent because of age, health or disability to
participation in or the witnessing of: physical force against another or physica! confinement or restraint of another which constitutes physical abuse as
defined In this Act, regardless of whether the abused person is a family or household member.
Neglect: ‘Neglect’ means the fallure to exercise that degree of care toward a high-risk adult with disabilities which a reasonable person would exercise
under the circumstances and Includes but is not limited to:
a the failure to take reasonable steps to protect a high-risk adult with disabilities from acts of abuse; or
b. the repeated, careless imposition of unreasonable confinement; or
G the failure to provide food, shelter, clothing, and personal hygiene to a high-risk adult with disabilities who requires such assistance; or
d. the failure to provide medical and rehabilitative care for the physical and mental health needs of a high-risk adult with disabilities; or
8 the failure to protect a high-risk adult with disabilities from health and safety hazards.
Nothing In this definition shall be construed to impose a requirement that assistance be provided to a high-risk adult with disabilities over his or her objection
in the absence of a court order, nor to create any new affirmative duty to provide support fo a high-tisk adult with disabiitles.
Petitioner: *"Petilioner® may mean not only any named petitioner for the order of protection and any named victim of abuse on whose behalf the patition is
brought, but also any other person protected by this Act.
Physical Abuse: ‘Physical abuse” includes sexual abuse and means any of the following:
a. knowing or reckless use of physical force, confinement or restraint; or
b. knowing, repeated and unnecessary sleep deprivation, or
G knowing of reckless conduct which creates an immediate risk of physical harm.
Stalking: "Stalking" means knowingly and without lawful justification, on at least two (2) separate occasions, following another person or placing the person
under survelilance or any combination thereof and:
a. at any time transmitting a threat of immediate or future bodily harm, sexual assault, confinement or restraint and the threat Is directed towards that
person or a family member of that person; or
b. placing that person In reasonable apprehension of immediate or future bodily harm, sexual assault, confinement of restraint; or
C. placing thal person in reasonable apprehension that a family member wil receive immediate or future bodily har, sexual assault, confinement, or restraint.
Willful Deprivation: 'Willfu! deprivation” means willfully denying a parson who because of age, health or disability requires medication, medical care,
shelter, food, therapeutic devica, or other physical assistance, and thereby exposing that person to the risk of physical, mental or emotional harm, except
with regard to medical care or treatment when the dependent person has expressed an Intent to forego such medical care or treatment. This paragraph
does nol create any new affirmative duty to provide support to dependent persons.

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OP-P 403.4 Page 11 of 14 (08/21)

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STATE OF ILLINOIS
CIRCUIT COURT ADDITIONAL INCIDENTS OF 2015D009633
COOK COUNTY ABUSE Case Number
Instructions ¥ For Court Use Only
Enter the information Petitioner Kenton Lloyd Girard, (DOB: 07/14/1975) [1 independent
as listed on the (First, middie, last name) C1 suvenile
Petition for Order of
Protection. People to be Protected by this order (check all that apply): [] Other Civil Proceeding
[X] Petitioner [Criminal
[x] Petitioner's minor children with Respondent:
Gwen Frances Girard and Grace Lilly Girard
[7] Petitioner's minor children not related to Respondent:
[-] Dependent adult:
C] High risk adutt:
[X] Other household members: Marissa Girard
Respondent Jane Girard, (DOB: 05/30/4977)
(First, middle, last name)
Write the additional 7. lam requesting an Order of Protection because Respondent did these additional things:
anon oeeple you want Date: August 27,2021 Time: _ afternoon What happened:
to protect. Start with Awitness saw Jane Girard yelling at Gwen and Grace in a Walgreens. The witness stated that
what 1 oer sete Jane yelled at them “I make the fucking decisions, not your father!” The witness described both
and time and describe girls are being incredibly fearful and in tears, pleading with their mother to stop. The witness
what happened. then saw both girls run away from their mother where she subsequently locked them in a car for
ve ara times os y ou over an hour while yelling at them. Both girs were terrified of their mother’s unstable emotionai
can. You can include state. She denied the girls access to their phones during this incident so that they could not call
any past abuse and any for help. Jane then showed up unannounced at our home and demanded to come inside. We
that resulted, locked our door and waited for her to leave. Since this incident both girls have been scared to
If you don't remember be alone with their mother.
exact dates of things
that happened long
ago, just enter the
month and year.
Aftach this form to
your Petition. Date: june 25,2014 Time: 42am __ Whathappened: Jane wrote an email to her
sister expressing that she was stalking Marissa on social media and stating that she wanted to
“start destroying" Marissa, and that she also “just wants to hurt her,” referring to Marissa.
Marissa has been tenified for years knowing that this person wants to harm her and has been
relentless in her harassment, Marissa’s own therapist of 13 years believes that Jane is
dangerous and wants to harm Marissa. Friends and family have also expressed their concern
to Marissa and Kenton for their safety.
OP-AA 408.2 A2 Page 1 of Z (08/21}

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OP-P 406.2

Date: Fali2023__—s Time: weekly _ What happened:
Both Gwen and Grace have asked that their mother not come to their school events unless
expressly invited. They have felt unsafe in her presence as she has been abusing them for
years. Her presence causes them both immense anxiety and has affected their performance at
swim meets and events. Jane continues to show up to their events against their wishes, and did
s0 all this last fall and summer and the previous year, Each time the girls see her at an event
they are filled with feelings of fear, their heart races, they want to hide, and they ask their
friends and coaches to protect them. Their school should be a safe place where their wishes
are respected, especially when they are performing.

Date: February 2021 Time: 4pm What happened:
Jane locked Grace in a bathroom and forced her to strip naked against her will. Jane then
forcefully inserted a tampon into Grace without Grace's consent, and while Grace was saying _
"please, no, please, stop, it hurts." Jane proceeded to do this against Grace's will, and when
she was done she said "Good now it's done,” and walked out, leaving Grace in tears and in
pain. Grace later reported this incident to myself, Marissa, her therapist, DCFS and the police.
She has been through many emotions while trying to process this incident and the feeling of
being violated by her own mother at age 13.

Date: _ March 2020 __ Time: aftermoon _ What happened:
Jane locked Gwen in the bathroom against her will. She told Gwen that she had to strip naked
otherwise she could not leave. She told Gwen that she wanted to put a tampon inside of her.
Gwen resisted and said no and that she already knew how. Jane would not relent, and told
Gwen that if she wanted to leave the bathroom, she needed to put a tampon inside of herself
while Jane watched. Gwen complied. She felt incredibly fearful and embarrassed afterwards.
She was confused why her mother wauld do this to her against her wishes. Both girls have
continued to process these incidents in therapy.

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to get more information and Zoom Meeting IDs.
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Mariyana T. Spyropoulos

SCOPE APPEARANCE CIRCUIT CLERK

COOK COUNTY, IL

IN THE STATE OF ILLINOIS, CIRCUIT COURT 20150009633
This tells the court a lawyer will provide representation in only part of the case. Calendar, 89
31410283
COUNTY: Cook

County Where You Are Filing the Case

Enter the case information as it appears on your other court documents.

PLAINTIFF/PETITIONER OR IN RE: Former Marriage of Kenton Girard
Who started the case. First, Middle, and Last Name, or Business Name

2015 D 9633

DEFENDANTS/RESPONDENTS: _Jane Girard (Respondent) Case Number
Who the case was filed against. Marissa Girard (Third-Party Respondent)

5 tated A a Sr ed Stan wl ld DP Ed atid

First, Middle, and Last Name, ar Business Name

4. The Lawyer Robert Holstein and the Client Marissa Girard
Lawyer Client

have entered into a written agreement for the Lawyer to provide limited scope representation to the Client
in this court case as described in Paragraph 3 below, dated 02/10/25

Month, Day, Year

2. The Client is (check one): ([]Plaintiff/Petitioner {¥] Defendant/Respondent.

3. The Lawyer appears pursuant to Supreme Court Rute 13(c)(6). This appearance is limited in scope to the
following way(s) in which the Lawyer will represent the Client (check and complete all that apply}:

in the court proceeding (dese the proceeding):
Presenting Motion for Substitution of Juage

on the following date: 92/14/25
Month, Day, Year
and in any continuance of that preceeding.

[_Jat the foliowing deposition(s):

[_] Other (specify the scope and limits of representation):

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LS-N 2601.3 Page iof4 (05/24)

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Case Number: 9633

4. The Lawyer may withdraw after completing the limited scope representation described in this appearance
in the following ways:

a. In Open Court: At a hearing attended by the Client, by presenting and filing an approved statewide
Notice of Completion of Limited Scope Appearance with no prior notice. The Client may object if they
believe that the Lawyer has not completed the limited scope representation described in this
appearance. if the Client wants to object to the withdrawal, they must do it in court right then; or

b. Qutside of Court: By filing an approved statewide Notice of Completion of Limited Scope Representation
and an approved statewide Objection to Completion of Limited Scope Appearance, and serving them en
the Client, other lawyers of record and other parties not represented by a lawyer (unless excused by
court order), and on the judge then presiding over this case. If the Client objects to the withdrawal, the
Client must file an Objection to Completion of Limited Scope Appearance within 21 days after the date of
the service of the Lawyer's Notice of Completion of Limited Scope Appearance and Objection. if the
Client timely files an Objection, the Lawyer must notice a hearing on the Objection.

5. Until this Limited Scope Appearance ends, all documents must be sent to both the Lawyer and the Client
listed below in accordance with Supreme Court Rule 21(f).

6. By signing below, the Client being represented under this Limited Scope Appearance:
a. agrees to receive court papers at the addresses listed below; and

b. agrees to inform the court, all lawyers of record, and all parties not represented by a lawyer of any
changes to the Client’s address information listed below during the limited scope representation.

LAWYER SIGNATURE ae

/s/ Robert Holstein Robert Holstein
Signature of Lawyer Name of Lawyer
130 N Garland #909, Chicago, IL 60602 312.443.0034
Lawyer's Address Lawyer's Telephone Number
holsteinrobert3 @ gmail.com 01251600
Lawyer's Email Attorney #
Law Firm or Organization

CLIENT SIGNATURE
sf Marissa Girard Marissa Girard
Signature of Client Name of Client
965 Forestway Dr, Glencoe, iL 60022 773.425.4393
Client's Address Client's Telephone Number
marissadakis@gmail.com 02/10/25
Client’s Email Date

LS-N 2601.3 A2 Page 2 of 4 (05/24}

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Case Number:

PROOF OF DELIVERY

Fill out the information below to show how you are sending this document to the other people in the case. if a
person in the case has a lawyer, you must send this document to their lawyer.

A. am sending this document to:
Name: Karen Paige

First Middle Last Name
Address: 2275 Half Day Rd., Suite 350 | Bannockburn, IL 60015
Street, Apt. # City State Zip Code

Email Address: kpalge@beermanniaw.com

By: [7] Electronically to the email address in A
[1 By email (not through an EFSP).
{| Using an approved electronic filing service provider (EFSP).

Lior the person 1am sending the document to do not have an email address. | am sending the document by:
["] Mail or third-party carrier to the address in A, with postage or delivery charge prepaid.

Location of mailbox or third-party carrier:

Chy State
(_1Personat hand delivery at this address:
NOTE: You can only deliver to the party, party's family member over 13 at party's residence, porty’s lawyer, or party’s lawyer's office

Address

Street, Apt. %, City, State, and Zip Code
(] Mail to the address in A, from a prison or jail:

Name of Prison or Jail
This document will be senton: Date: Time:

-OR -
| am sending these documents to an additional person not listed in A:
Name: Kenton Girard

First Middle Last Name
Address: 965 Forestway Drive, Glencoe, IL 60022
Street, Apt. # City State Zip Code

Email Address: kg5252@yahoo.com

By: [7] Electronically to the email address in B:
[] By email (not through an EFSP).
Using an approved electronic filing service provider (EFSP).
(lI or the person 1 am sending the document to do not have an email address. | am sending the document by:
([] Mail or third-party carrier to the address in B, with postage or delivery charge prepaid.

Location of mailbox or third-party carrier:

City State
(_ Personal hand delivery at this address:
NOTE: You can only deliver to the party, party’s family member over 13 at party's residence, party’s lawyer, or party’s lawyer's office

Address

Street, Apt. #, City, State, and Zip Code
[_] Mail to the address in B, from a prison or jail:

Name of Prison or Jail

This document will be senton: Date: Time:
Month, Day, Year include AM or PM

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SIGN Oy)
Under 735 ILCS 5/1-109, your signature means that you:

1} certify that everything in this document is true and correct, and 2} understand that making a false statement on
this form is perjury and has penalties provided by law.

if you are filling out this form ontine, sign your name by typing it. If you are filling out this form by hand, sign and
print your name.

Your Signature /s/ Robert Holstein Print Your Name Robert Holstein
Vour Address 130 N. Gartand Ct, #909, Chicago, IL 60602

Street, Apt. # city State Zip Code
Your Phone Number 912.443.0034 Attorney Number {if any)

Your Email {if you have one) hoisteinrobert3@gmail.com

Be sure to check your email every day so you do not miss important information, court dates, or documents from
other parties.

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LS-N 2601.3 Page 4 of 4 (05/24)

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Mariyana T. Spyropoulos

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS CROC Giry.

COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION spocees3.
3 Calendar, 01
3 IN RE THE FORMER MARRIAGE OF 31689167
KENTON GIRARD,

Petitioner,

Hon, Rossana P. Fernandez
VS.
JANE F. GIRARD, Case No. 2015-D-009633

Respondent,

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- - - - - - ”

MARISSA GIRARD,

Third Party Respondent/
Third Party Plaintiff

VS.
JANE F, GIRARD,
Crossclaim Defendant,

VANESSA L. HAMMER ESQ,
KAREN V. PAIGE ESQ,
CANDACE L. MEYERS ESQ,
DETECTIVE RYAN MCENERNEY,

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Third Party Defendants.

TP PLAINTIFF MARISSA GIRARD’S CROSSCLAIMS AND TP CLAIMS
Now comes Third Party Plaintiff MARISSA GIRARD, in pro se, and in support of her
Claims against Crossclaim Defendant JANE F. GIRARD and TP Defendants VANESSA L.
HAMMER ESQ, KAREN V. PAIGE ESQ, CANDACE L. MEYERS ESQ and DETECTIVE

RYAN MCENERNEY states as follows:

Crossclaims and TP Claims of Marissa Girard A? 1

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PRELIMINARY STATEMENT

1. During the pendency of these proceedings, Respondent Jane F. Girard has
engaged in numerous instances of illegal harassment, tracking, surveillance and intimidation
directed at TP Plaintiff Marissa Girard.

2. While TP Plaintiff does not seek relief from all of these numerous instances of
misconduct, she zeros in on two particularly egregious instances for which she has adduced
significant proof to form the basis of prosecuting this action.

3. The misconduct of Jane F. Girard is extremely serious given the extremely serious
mental and physical disabilities at play. To wit, TP Plaintiff suffers from interstitial cystitis, a
debilitating condition that can render her unable to leave home in part due to the constant need to
urinate, particularly when exacerbated by stress. She also suffers from PTSD, which is
aggravated by environmental stress and anxiety and in tum worsens her physical symptoms
under interstitial cystitis.

PARTIES

4. TP Plaintiff Marissa Girard is the wife of Petitioner Kenton Girard.

5. Counterclaim Defendant Jane F. Girard (herein, “Jane”) is the Respondent
under these proceedings.

6. TP Defendant Vanessa L. Hammer was the GAL under these proceedings until

_ she sought court approval to resign from such appointment on July 25 2023.

7. TP Defendant Karen V. Paige Esq is a member of Jane’s legal team.
8. TP Defendant Candace L. Meyers Esq is a member of J ane’s legal team.
9. Detective Ryan McEnerney at all times in question served as the lead detective

for the Village of Glencoe Public Safety Department.

Crossciaims and TP Claims of Marissa Girard A2 2

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10. In the last two years, TP Plaintiff has experienced extreme embarrassment and
humiliation from the dissemination of the contents of private conversations she has had with
various persons, both connected and unrelated to these proceedings. Upon information and
belief, Jane F. Girard is responsible for a long-running campaign of eavesdropping against TP
Plaintiff likely motivated by her animus against TP Plaintiff for being married to Kenton Girard.

11. On January 16 2023, Jane F. Girard recorded an in-person conversation — lasting
about 30 minutes and presumably employing Jane’s iPhone ~ involving Marissa Girard (without
TP Plaintiff's knowledge or consent) while TP Plaintiff was inside a private exam room of her
doctor’s office located at 542 Lincoln Ave in Winnetka.

12. This illegal recording came on the heels of an event on December 9 2022 wherein
Jane F. Girard recorded a telephone conversation with Kenton Girard and their minor children
without their knowledge.

13. The proof of the illegal recording noted above on January 16 2023 was raised
wherein Jane’s counsel hereunder shared on July 20 2023 the responsive documents obtained
under a subpoena they had issued to the erstwhile GAL Vanessa Hammer.

14. Under those responsive documents, in fact, TP Plaintiff came to learn that
recordings of her made without her consent or knowledge and wherein she had a legal
expectation of privacy had been shared by Jane with (minimally) Vanessa Hammer as well as
Jane’s attorneys Candace L. Meyers Esq and Karen V. Paige Esq.

15. Upon information and belief, Defendants Hammer and Paige and Meyers
proceeded to disseminate - again without the knowledge or consent of TP Plaintiff — the illicitly

obtained recording of TP Plaintiff with (a) the erstwhile child representative under these

Crossclaims and TP Claims of Marissa Girard A2 3

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proceedings, Joel J. Levin Esq as well as other members of his practice Levin & Associates, (b)
Eric Pfanestiel Esq and other members of his practice Jackson Buckley & Pfanenstiel LLP, (c)
Joe O’Brien Esq and other members of his practice Opal 0’ Brien LLC, (d) the custody evaluator
Phyllis Amabile MD, (e) Gwenn Waldman and other members of her firm Breakthrough Family
Solutions, as well as other family law functionaries and other persons connected with these
proceedings.

16. The law in Illinois provides for punishment as a Class 4 or Class 3 fetony. For the
purposes of these claims, as codified under 720 ILC 5/14-2 et seq., Crossclaim Defendant Jane F.
Girard bears civil liability for using an eavesdropping device in a surreptitious manner, and TP
Defendants Hammer, Paige and Meyers also bear civil liability for sharing that recording which
they knew or reasonably should have known was obtained from a private conversation.

17. TP Plaintiff has further been harmed wherein (a) she experienced a traumatic
worsening of her PTSD and interstitial cystitis symptoms after learning of the criminal
eavesdropping which had victimized her, (b) she was forced to invest significantly in time and
money in an overhaul of her personal security and anti-surveillance measures, and (c) she must
deal with fallout from the indignity of the widespread disclosure of that illegal recording and she
now lives with a sense of fear and anguish relating to the event and the prospect of having her
private communications recorded and disclosed widely again.

THE ILLEGAL ELECTRONIC VEHICLE TRACKING

18. On or around January 2024, Jane became aware that Petitioner Kenton Girard had
purchased a new Subaru automobile specifically for use both by TP Plaintiff and by Kenton’s
minor children Gw and Gr. Within one week of taking possession of the vehicle, the car

prominently displayed a badge for the New Trier swim team (wherein the minor children Gw and

Crossclaims and TP Claims of Marissa Girard A? 4

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Gr are both swimmers for New Trier High School, where they are Honor Roll students) as weil
as a New Trier High School parking decal.

19. On March 11 2024, Petitioner Kenton Girard emailed Jane stating that he and the
girls would be out of town for a trip March 27 2024 through April 1 2024. During that trip Jane
made an unauthorized visit to Petitioner Kenton Girard’s home at 965 Forestway Drive in
Glencoe, where he TP Plaintiff and the minor children reside. During this visit, Jane emplaced an
Apple Air Tag on the undercarriage of the new Subaru near the trunk.

20. Upon information and belief, Jane does not dispute her visit to Petitioner’s home
during the aforedescribed trip, having admitted to delivering belated birthday gifts for her minor
children Gw and Gr, twins who share the birthday of February 15.

21. On April 4 2024, TP Plaintiff and Petitioner and the minor children received
notifications on their mobile phones that an unidentified Apple Air Tag had been tracking the
movements of the new Subaru vehicle.

22. On April 5 2024, TP Plaintiff and Petitioner received the same notification for a
second time. Using an audible chirp locate feature, TP Plaintiff and Petitioner proceeded to
visually locate the Apple Air Tag on the undercarriage of the new Subaru near the trunk.

23. Immediately thereupon, TP Plaintiff and Petitioner proceeded to take the Subaru
vehicle to the Village of Glencoe police station, wherein a report was filed and photo/video
evidence was taken. Security camera footage from TP Plaintiff’s home wherein Jane could be
observed loitering in the physical vicinity of the Subaru vehicle was provided to Detective Ryan
McEnerney. It seemed certain that criminal charges would be forthcoming against Jane.

24. In the ensuing days, the minor children Gw and Gr observed Jane physically

following them on their typical daily route to New Trier High School, and TP Plaintiff observed

Crossclaims and TP Claims of Marissa Girard A2 5

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Jane physically following her at her typically weekly run to Mariano’s grocery store at 784
Skokie Blvd in Northbrook.

25. On April 15 2024, Detective Ryan McEnemey contacted TP Plaintiff and
Petitioner, stating that he had issued a warrant to Apple to obtain information about the illegally
installed Air Tag from the undercarriage of the Subaru vehicle which had been placed into
evidence for the criminal investigation.

26. On April 26 2024, TP Plaintiff contacted Apple and received confirmation that
jdentifying/billing information for the Air Tag in evidence had been provided to Detective Ryan
McEnerney. Repeated attempts to stimulate Detective McEnerney to take action against Jane
were made without success in the following weeks.

27. TP Plaintiff and Petitioner hired Attorney Peter C. Godwin for the limited purpose
of ensuring that Detective Ryan McEnemey followed through with criminal charges against
Jane. On May 7 2024, Detective McEnermey told Attorney Godwin that he had spoken with
Jane’s female attorney and did not plan to charge Jane, because they were “in no danger.” On
May 15 2024, Detective McEnerney provided an update that Jane F. Girard refused to speak with
the police about the Air Tag incident, asserting her Fifth Amendment Right against
self-incrimination’.

28. Upon information and belief, Detective Ryan McEnemey received information
under the warrant issued to Apple positively identifying Jane F. Girard as its purchaser and/or

registered user. Despite such information and the security camera footage showing Jane lingering

1 Crossclaim Defendant Jane F. Girard has a documented history of asserting her Fifth Amendment right
against self-incrimination. When DCFS opened an investigation into Ms. Girard for a second time on July
22 2023 involving Cook County ASA Mary Stein, Jane F. Girard retained Ms. Jennifer Hansen of Hansen
& Cleary LLC in Northbrook as her criminal defense counsel. On September 7 2023, Ms. Hansen
informed the DCFS that Jane would be asserting her right against self-incrimination and thus not be
making a statement or providing any testimony to the DCFS. For the purposes of a civil proceeding, as
here, the Court must operate under the presumption that Jane has admitted to illegal surveillance via Air
Tag as to TP Plaintiff.

Crossclaims and TP Claims of Marissa Girard A2 6

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near the ‘Subaru vehicle at TP Plaintiff's residence during the time in question, Detective
McEnermey stubbornly refused to file criminal charges against Jane F. Girard.

29. The improper refusal by Detective McEnerney and the police in the Village of
Glencoe to properly investigate and charge crimes against women and girls is already
substantially explored under Kenton Girard v. Village of Glencoe et al., Civil Action No.
1:24-cv-06882, N. Dist. Illinois under which Detective Ryan McEnerney is a defendant. It would
appear that Detective McEnerney’s improper refusal to prosecute Jane’s illegal surveillance here
— victimizing female victims again, namely TP Plaintiff and the minor children Gw and Gr — is
part of a larger and disturbing pattern’.

30. Use of electronic tracking devices (such as Apple Air Tags) on vehicles is
actionable as a Class A Misdemeanor, under 720 ILCS 5/21-2.5. However, under the current
state of affairs, Jane F. Girard has learned that she can engage in illegal electronic tracking of TP
Plaintiff and the minor children Gw and Gr without being held to account for her criminal
conduct. Both the reality of Jane F. Girard’s illegal conduct and the likelihood of her recidivism
— thanks to Detective Ryan McEnemey’s dereliction of his investigative and charging duties —
has caused extreme stress and mental anguish to TP Plaintiff.

31. In the aftermath of learning about the illegal Apple Air Tag emplacement on the
Subaru vehicle she shares with minor children Gw and Gr, TP Plaintiff experienced a serious
setback in her medical treatment for interstitial cystitis and PTSD, wherein she has been
experiencing ongoing and debilitating symptoms under both conditions through today’s date.

32. In addition to being forced to live in a state of constant fear about being surveilled

2 What is even more egregious is that Detective Ryan McEnemey is accused of taking a cash bribe from
Attorney Kathryn Ciesla Esq in early August 2023 to declare that child sexual assault charges against
Jane F. Girard were “unfounded”. One has to wonder whether Mr. McEnemey was bribed by Jane's
counsel here wherein he spoke with a “female attorney” for Jane F. Girard and directly thereafter the
investigation took a proverbial “U Tum’ towards the same “unfounded” disposition.

Crossclaims and TP Ciaims of Marissa Girard A2 7

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by Jane F. Girard, TP Plaintiff has incurred significant additional expense to hire electronic
surveillance sweeping services, anti-surveillance technology and a robust upgrade to her home
security and monitoring systems and services.
COUNT I - EAVESDROPPING
Jane F. Girard, Vanessa L. Hammer, Karen V. Paige, Candace L. Meyers

33. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

34. Under 720 ILCS 5/14-6, TP Plaintiff is entitled to injunctive relief prohibiting
further eavesdropping as well as actual and punitive damages.

35. As previously alluded, Jane F. Girard is civilly liable for doing the eavesdropping,
while Defendants Hammer, Paige and Meyers are liable for disseminating the illegal recording.

Jane F. Girard, Detective Ryan McEnerney

36. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

37. Defendant Jane F. Girard breached her duty to not violate the law in our state
regarding the electronic tracking of vehicles. As a result of these actions, TP Plaintiff has
experienced significant economic and non-economic damages which continue to accrue through
today’s date.

38. When presented with (a) identifying details for the illegal Air Tag from Apple
positively identifying Jane F. Girard as the purchaser and/or the registered user returned under
the warrant or subpoena issued to Apple, and (b) video footage from security camera footage
from TP Plaintiff’s home as to Jane F. Girard lingering near the Subaru vehicle during the family
trip when no one was present at TP Plaintiff’s home, Detective Ryan McEnemey had an
affirmative obligation to recommend criminal charges against Jane F. Girard.

39. As a direct result of Detective McEnemey’s deliberate choice to not pursue

criminal charges against Jane F. Girard thereunder, TP Plaintiff has experienced significant

Crossclaims and TP Claims of Marissa Girard A? 8

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economic and non-economic damages which continue to accrue through today’s date.

PRAYER FOR RELIEF

WHEREFORE, the Third Party Respondent Marissa Girard prays the Court grant the
following relief:

1) Issue an injunction with a liquidated damages penalty of $10,000 per occurrence per
party against the Count I Defendants from further eavesdropping against TP Plaintiff and from
further dissemination of materials obtained from illegal recordings of TP Plaintiff in violation of
our state’s laws against eavesdropping;

2) Award TP Plaintiff compensatory damages in an appropriate amount greater than
$100,000 and punitive damages;

3) Enter judgment in favor of Plaintiffs and against Defendants and for such other relief

as this Court deems appropriate.

JURY DEMAND
Third Party Respondent Marissa Girard hereby demands a trial by jury on all issues of

fact and damages stated herein.
DATED: December 15, 2024 Respectfully submitted,
MARISSA GIRARD
By: £4 ri ira
965 Forestway Drive
Glencoe, IL 60022

Tel: 773-425-4393

Crossclaims and TP Claims of Marissa Girard A2 9

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CERTIFICATE OF SERVICE

This undersigned certifies that a copy of the foregoing was electronically filed with the
Clerk of this Court and was served this 15th day of December 2024 by email to Petitioner and
Respondent, on their attorneys of record. A copy of the foregoing was also transmitted to the
office of Hon. Scannicchio via the below-listed points of contact.
Hon. Regina A. Scannicchio
Presiding Judge of Domestic Relations Division
ccc. domreler1905@cookcountyil.gov
Adam P. Monreal Esq.
Chief Deputy Clerk for Hon. Scannicchio
apmonreal@cookcountycourt.com

Jaime A. Barcas
Executive Assistant for Hon. Scannicchio
jaime.barcas@cookcountyil.gov

/s/ Marissa Girard

Marissa Girard

Crossclaims and TP Claims of Marissa Girard A2 10

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

JANE F. GIRARD,

Plaintiff,
vs.

KENTON GIRARD and
MARISSA GIRARD,

Defendants.

KENTON GIRARD,

Crossclaim Plaintiff,
vs.

MARISSA GIRARD,

Crossclaim Defendant.

MARISSA GIRARD,
Counterclaim Plaintiff
and Third Party Plaintiff

VS.
JANE F. GIRARD,

Counterclaim Defendant,
VANESSA L. HAMMER ESQ,
KAREN V. PAIGE ESQ,

CANDACE L. MEYERS ESQ and
DETECTIVE RYAN MCENERNEY,

Third Party Defendants.

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Case No. 2015-D-009633

rossclaims of Kenton Girard
Directed at Marissa Girard
& Jury Demand

CROSSCLAIMS OF KENTON GIRARD DIRECTED AT MARISSA GIRARD

NOW COMES Defendant KENTON GIRARD, in pro se, and in support of his

Crossclaims against Codefendant MARISSA GIRARD, hereby states as follows:

Kenton Girard Crossclaims Directed at Marissa Girard A2

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INTRODUCTION

1. Plaintiff Jane F. Girard has been divested of her parental rights and her right to
seek a custody remedy because she is an admitted child sex abuser and rapist, yet these
amorphous proceedings which she improperly incepted three years ago without pleadings'
appear to advance towards an effective “mystery trial”. According to open court testimony on
February 14 2025? by Beermann LLP Attorney Enrico J. Mirabelli — counsel for Jane F. Girard —
the “mystery trial” (devoid of a criminal investigation, a state prosecutor, a true indictment, a bill
of charges, a jury of twelve peers or even a criminal tribunal) will consist in a criminal contempt
proceeding against Defendant Kenton Girard and his wife Defendant Marissa Girard, who is a
disabled person.

2. Marissa Girard is at this time litigating claims in pro se in the Northern District of
tinois under Girard v. Fernandez et al., Civil Action No. 1:25-cv-00136 (“Civil Rights
Lawsuit”) against inter alia Beermann LLP attorneys Enrico J. Mirabelli and Matthew D. Elster,
as well as some of the judicial officers who have presided hereunder. Among other causes of
action, her claims speak to violations of her constitutional rights, including those arising under
the First and Sixth Amendments, as well as her rights under federal law including Title II of the
Americans with Disabilities Act (“ADA”).

PARTIES
3. Crossclaim Plaintiff Kenton Girard is the biological father of the minor children

Gwen Girard and Grace Girard, fraternal twins both now age 17.

t Numerous filings hereunder by Kenton Girard and Marissa Girard have addressed the lack of pleadings
filed by Plaintiff Jane F, Girard. Egregiously, Marissa Girard — who neither has parenting responsibilities
nor any biological connection to the minor children Gwen and Grace — has been forced to endure a dozen
or more inexplicable, harassing and abusive motions to hold her in contempt or to jail her filed by
Beermann LLP on behalf of Jane F. Girard without ever having been actioned with a pleading at the time
of her (deficient) joinder in plain violation of 735 ILCS 5/2-201{a).

2 Notably, Mr. Mirabelli’s Sixth Amendment offending testimony was reduced to a written transcript by a
court reporter present on February 14 2025.

Kenton Girard Crossclaims Directed at Marissa Girard A2 2

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4, Crossclaim Defendant Marissa Girard is Kenton Girard’s wife of approximately
ten years, and she is a disabled person who suffers from PTSD and interstitial cystitis, both of
which are ADA qualifying disabilities. Kenton and Marissa ate married and reside together in
Glencoe full-time together with the minor children.

THE POST-NUPTIAL INDEMNIFICATION AGREEMENT

5. Since the inception of the marriage between Kenton and Marissa about a decade
ago, Jane F. Girard has continuously interfered — whether by stalking Marissa in her automobile,
saying terrible things about Marissa to the minor children, saying terrible things about Kenton to
the minor children, attempting to gain access to electronic devices belonging to Kenton and
Marissa and the cell phones utilized by the minor children — in order to try to create friction
between Kenton, Marissa and the minor children.

6. In the summer of 2021, Marissa Girard’s disabilities started to take a turn for the
worse wherein the frequency of medical consultations and doctor visits increased due to flare ups
typically connected with environmental stress. Anecdotally, it seems much of this environmental
stress was owing to non-stop efforts by Jane F. Girard to cause problems as described above.

7. Indeed, at that time, Marissa strongly blamed Jane F, Girard for many of the bouts
of stress — which would in turn cause debilitating flare ups under PTSD and interstitial cystitis —
that she was experiencing during the summer of 2021.

8. Accordingly, Marissa articulated her wish for a financial security blanket to kick
in under the circumstances in which Jane F. Girard might potentially engage in a course of
conduct (such as stalking Marissa) under which Marissa would experience stress as a result and
wherein Marissa might have to resort to the legal system to end the offending course of conduct

by Jane F. Girard.

Kenton Girard Crossclaims Directed at Marissa Girard A2 3

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9. During the course of several conversations, Kenton gradually became
incrementally more agreeable to the concept. However, in an effort to more sharply define the
concept of stress-inducing course of conduct, Kenton and Marissa decided on the following
language (“Legal Billings Clause”):

If any course of action undertaken by Jane Girard proximately causes a violation of Marissa
Girard’s rights secured under the Constitution or under federal law, then Kenton Girard will
indemnify Marissa from all necessary and reasonable legal billings incurred to address

said violation(s), as long as Kenton and Marissa are married and residing together for more than

seven days per month.

The purpose of this language was to ensure that not just any “trivial” everyday friction caused by
Jane F. Girard would qualify for indemnification, but rather more serious interference would be
captured by the agreement.

10. There was an additional type of “peace of mind” additionally desired by Marissa
Girard, namely if Marissa’s disabilities were to become debilitating in the future, or to prevent
her from fully engaging in normal daily life activities, she wanted to ensure that Kenton would
be agreeable to subsidizing her in the case under which her earnings noticeably suffered from her

disabilities. They settled on the following language (“Earnings Subsidization Clause”):

If Marissa’s earnings were to worsen in the future as a direct result of her disabilities, wherein
Marissa’s gross earnings were to decline below $4,000 per month then Kenton Girard would
agree to subsidize her earnings to ensure Marissa received $4,000 per month, as long as Kenton
and Marissa are married and residing together for more than seven days per month.

The purpose of this language was to provide a measure of financial peace of mind, without
excessively burdening Kenton.
11. Kenton and Marissa eventually executed their “Post-Nuptial Indemnification

Agreement” on October 1 2021 containing the exact operative language excerpted supra.

Kenton Girard Crossclaims Directed at Marissa Girard A2 4

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DISPUTES ARISE OVER THE AGREEMENT

12. As mentioned supra, Marissa Girard is pursuing relief for purported violations of
various of her constitutional rights and her rights to reasonable accommodation under Title II of
the Americans with Disabilities Act. Marissa claims her legal filings are a direct result of Jane F,
Girard joining Marissa as a defendant hereunder, pursuant to a summons dated May 26 2023.

13. To rectify the violations of her rights, Marissa has prepared and filed pleadings
under the Civil Rights Lawsuit, and she is litigating that matter capably pro se. From Kenton’s
point of view there is no need for an attorney to take over that litigation for Marissa. She is also
handling the instant matter pro se, including her claims filed against Jane F. Girard and various
third party defendants on March 5 2025 related to illegal eavesdropping and electronic tracking
committed by Jane F, Girard and directed at Marissa.

14. However, Marissa feels that it is necessary not only for an attorney to take over
her Civil Rights Lawsuit but her litigation under the instant matter. Kenton and Marissa are at a
stalemate on this issue and things came to a head in the last week of April 2025.

15. Additionally Marissa’s earnings have declined in accordance with the Earnings
Subsidization Clause and demands subsidization as to her reduced earnings, however Kenton
does not feel that such decline is directly owing to her disabilities, but rather to the time she has
been spending on litigation activities.

co = BILLINGS CLA

16.  Crossclaim Plaintiff Kenton Girard incorporates by reference the preceding
paragraphs as if fully set forth herein.

17. The claims under the Civil Rights Lawsuit have not yet been adjudicated, so there

is no finding as of yet that Marissa’s constitutional rights — or her rights under the ADA — have

Kenton Girard Crossclaims Directed at Marissa Girard A2 3

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been violated, As a result, it is premature to hold Plaintiff accountable for her legal fees.

18. Moreover, as Marissa has demonstrated, she is capable of handling pleadings,
litigation and even court dates pro se. As a result, hiring attorneys to take over the Civil Rights
Lawsuit and her representation hereunder is not necessary.

COUNT JI- EARNINGS SUBSIDIZATION CLAUSE

19.  Crossclaim Plaintiff Kenton Girard incorporates by reference the preceding
paragraphs as if fully set forth herein.

90. Cross Plaintiff Kenton Girard believes the decline in her earnings is directly
owing to the time Marissa has spent on these proceedings.

91.  Assuch, the disabilities are not the proximate cause of the decline in earnings.

WHEREFORE Crossclaim Plaintiff Kenton Girard requests that the Court enter two
declaratory judgments finding that (a) the Legal Billings Clause does not hold Kenton
accountable for her legal fees, because the violations have not yet been adjudicated; nor are the
legal fees necessary given that Marissa has been competently handling the litigation hereunder
and under the Civil Rights Lawsuit pro se, and (b) the Earnings Subsidization Clause has not
been triggered because the direct cause of Marissa’s lowered earnings is the time she has spent

on this litigation, not her disabilities, and for such further relief as appropriate.

DATED: April 28 2025 Respectfully submitted,

KENTON GIRARD

By: 4s Kenton Girard.
965 Forestway Drive
Glencoe, IL 60022

Kenton Girard Crossclaims Directed at Marissa Girard A2 6

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ke5252(@yahoo.com
Tel: 773-575-7035

CERTIFICATE OF SERVICE

This undersigned certifies that a copy of the foregoing was electronically filed with the

Clerk of this Court and was served this 28th day of April 2025 by email to the attorneys who

have entered their appearances hereunder. A copy of the foregoing was also transmitted to the

office of Hon. Scannicchio via the below-listed points of contact.

Hon. Regina A. Scannicchio
Presiding Judge of Domestic Relations Division
ecc.domrelcr1905@cookcountyil.gov

Jaime A. Bareas
Executive Assistant for Hon. Scannicchio

' jaime,barcas(@cookcountyil gov

/s/ Kenton Girard
Kenton Girard

JURY DEMAND

Crossclaim Plaintiff Kenton Girard hereby demands a trial by jury on all issues of fact
stated herein.

CONSENT. TO A FEDERAL EORUM

Under penalties as provided by law pursuant to Sec. 1-109 of the Code of Civil Procedure, the
undersigned certifies that he freely consents to litigating these proceedings in a federal forum,
should the court or any party wish to move these proceedings to federal court.

April 28, 2025

Kenton Girard Crossclaims Directed at Marissa Girard A2

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Exhibit B 4

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS -
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION
i

IN RE: THE FORMER MARRIAGE OF )
)
KENTON GIRARD, )
Petitioner, )
)
and ) No. 2015 D 009633
)
vANES Respondent, ing THERED
) Pare Boydh1760
and ) | MAY 31 2923
MARISSA GIRARD, __ ) culdBis Y, Martin
Third Party Respondent ) Pee AE ues
ORDER

THIS MATTER coming before the Court for hearing on, Kenton's.Motion to Terminate
Therapy and for In Camera interview filed February 23,2023, Kenton’s Motion th Enter Qualified
Medical Support Order filed February 2, 2023, and Jane's Motion to Join Third Party filed on
March 8, 2023; both parties present and being represented by counsel. and the mirfor children being
represented by the Guardian ad Litem, Vanessa Hammer; Marissa Girard appearing pursuant to
‘Trial Subpoena and then her appearance being excused and placed in a breakout réom by the Court;
the Court having reviewed the courtesy copies of ail pleadings, and case law submitted by
Beermann LLP, Jane’s counsel; jurisdiction over the parties and subject matter herein and being
duly advised in the premises;

Iv JS HEREBY ORDERED: !

1, The requested relief in Kenton's Motion to Terminate Therapy sha for In Camera
Interview — Count I regarding therapy is granted in part insofar as therapy with
Gwenn Waldman is stayed pending Dr. Amabile’s investigation and report;

2. The Court reserves ruling on the requested relief in Kenton's ction to Terminate
Therapy and for In Camera Interview Count 0;

3. Jane's Motion to Join Third Party is granted. Summons to Marissa Girard shall
issue;

4, Jane is granted 7 days to amend her Verified Petition for Continuing Abuse of
Parenting Time and Violation of the Terms of the Joint Parenting Agreement;
Kenton is thereafter granted 28 days to respond; Jane is granted 14 days to reply
should she choose; {

5. Kenton’s Motion to Enter Qualified Medical Child Support ole (“QMSCO"is
resolved via agreement and the QMSCO shall be entered under separate cover,

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6. . All pending pleadings are entered and continued. This matter is set for pretrial
conference and status of the 601.10(b) evaluation/ report, and all pending pleadings,

on August 9, 2023 at 11:30 a.m. via zoom.

Enrico J. Mirabelli

Karen V. Paige

Candace L. Meyers

BEERMANN LLP

Attomeys for Respondent

161 N. Clark St., Ste. 3000

Chicago, IL 60601 -

Tel: 312-621-9700

Firm No. 80095
imirabelli@be

kpaige@beermanniaw.com

Joseph P. O'Brien
Opal O’Brien LLC
Attomeys for Petitioner -

Firm No. 59789

Vanessa Hammer
Guardian ad Litem

vhammer@bsqlawfirm.com

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE: THE FORMER MARRIAG Ne RUD
KENTON GIRARD Te can pave Boyb1780
, )
Petitioner, ANS 1 eae .
and oushROE F Aaa - oo 2015D oosds3
) Cal. 32
JANE GIRARD, )
Respondent. ) oF
QUALIFIED MEDICAL CHILD SUPPORT ORDER | 4b

THIS CAUSE coming on to be heard pursuant to §§505 and 505.2 of the'illinois Marriage
and Dissolution of Marriage Act, 750 ILCS 5/505 and 750 ILCS 5/505.2, and §609 of the
Employee Retirement Income Security Act, 29 USC §1169, the Court finding thht the children of
the parties are eligible under the BlueCross BlueShield of [inois health plan for continuation of
coverage and that such children have designated the Petitioner, KENTON GIRARD, as a
representative for any and all information and documents concerning the minor children of
KENTON GIRARD and JANE GIRARD, and the Court having jurisdiction over the parties hereto
and the subject matter hereof

IT IS HEREBY FOUND:

A. JANE GIRARD is the Participant in a Medical Pian that covers the minor children
of the parties. The Court and the parties desire to allow /KENTON GIRARD access to medical
information only relating to the minor children of KENTON GIRARD and ‘JANE GIRARD. To
the extent permitted by the health insurance plan, this Court is directing this QMGSO to be entered
to allow KENTON GIRARD to be the Designated Representative of the Altemate Recipients
identified herein, specifically GRACE GIRARD and GWEN GIRARD. '

‘

IT IS HEREBY ORDERED: i

1. THIS ORDER is intended to serve as a Qualified Medical Child Support Order
(“QMCSO”) which orders the Medical Plan specified below to provide medical benefits to
the children of the Petitioner, KENTON GIRARD, and the Respondent} JANE GIRARD
(“Participant”), namely GRACE GIRARD (DOB XX/XX/2018) and GWEN GIRARD
(DOB XX/XX/2018), who are named below (“Alternate Recipjents”) pursuant to a
Judgment for Dissolution of Marriage entered on November 4, 2015, and in accordance
with Section 609 and other relevant sections of the Employee Retirement Income Security
Act of 1974, as amended (“ERISA”), and Section 505.2 of the Ilinois Marriage and
Dissolution of Marriage Act.

In re Former Marriage of Girard, 2015 D 9633
Qualified Medical Child Support Order '

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2. The Medical Plan subject to this Order is as follows: '

BlueCross BlueShield of Illinois, Group #778092, Identification/Subscriber
#AXV843787859, (“Medical Plan”) for JANE GIRARD or successor plans.

Plan Administrator: ‘

a, Name:
b. Address

ee

3. The Participant in this Medical Plan is JANE GIRARD, the Respondent.

The Participant’s Address, Social Security Number and Date of Birth is set forth on

Exhibit “A” to this QMCSO which is incorporated by reference and for privacy
reasons will not be entered into the court record. {

4. The Alternate Recipients are GRACE GIRARD (DOB XX/XX/2018) and GWEN
GIRARD (DOB XX/XX/2018).

The Alternate Recipients’ Addresses, Social Security Numbers and Dates of Birth
are set forth on Exhibit “A” to this QMCSO which is incorporated by reference and
for privacy reasons will not be entered into the court record.

5. The Designated Representative of the Alternate Recipients is KENTON GIRARD.
KENTON GIRARD is a custodial parent with JANE GIRARD. Thié Order provides
KENTON GIRARD with rights as a Designated Representative in addition to those that

JANE GIRARD has as the Participant; however, such rights are not to supersede those
provided to the Participant. '

The Designated Representative’s Address, Social Security Nunjber and Date of
Birth is set forth on an Exhibit “A” to this QMSCO which is, incorporated by
reference and for privacy reasons will not be entered into the court record.

6. The Alternate Recipients shall receive the following benefits by the Medical Plan: The

coverage currently available to the participant or which may subsequently be available to

said participant under the Medical Plan in existence at the time. 4

7. The plan shall notify the Alternate Recipients and the Designated Representative of any

amendment or modification to the Plan, or any termination or merger of the Medical Plan,
which would result in this coverage becoming unavailable to the Alternate Recipients.

8. The period to which the order applies shall be from the date of the entry of this Order to
the first to occur of the Alternate Recipients completing their post-secondary education or
reaching their 25th birthday. . ,

. \
9. The Designated Representative is deemed to have been appointed py the Alternate

Recipients to receive copies of notices, explanation of benefits, health insurance policies,
explanation booklets, plan descriptions, or any modifications or amendments thereto,

insurance identification cards, provide directories, claims forms,' and any other
documentation necessary for the Designated Representative to utilize said health insurance

In re Former Marriage of Girard, 2015 D 9633
Qualified Medical Child Support Order
Page 2 of 3

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coverage for the benefit of the Alternative Recipients.

10. Representative Duties. Both the Participant and the Designated Representative of the
Altemate Recipients may submit claims for reimbursement to the Plan and the Plan shall
reimburse that party directly for any payment of benefits made pursuant to this Order in
reimbursement of expenses actually paid. Both parties shall submit requests for
reimbursement pursuant to plan provisions, and the party receiving reimbursements shall
divide all reimbursements received from the Plan pursuant to the texms of the Judgment for
Allocation of Parental Responsibilities Incorporating Agreed Parenting Plan where
applicable.

11. This Order does not require the Medical Plan (or any successor Medical! Plan) to provide -
any type or form of benefit, or any option, not otherwise provided under the Medical Plan
(or any successor Medical Plan).

12. Itis intended by the parties that this Order will qualify as a Qualified Medical Child Support
Order pursuant to ERISA Section 609 (29 U.S.C.A. Section 1169),' and subsequent
amendments, and that it will be interpreted and administered as such.

The Court retains jurisdiction to amend this Order for the purpose of establishing or
maintaining the Order as a Qualified Medical Child Support Order, and further, the Court
may amend this Order to revise or conform its terms so as to effect the expressed provisions
of the Order, the parties’ Judgment or Supplemental Judgment previously entered, as well
as to enforce this Order against successor medical insurance plans, to provide coverage for
a child who moves out of the service area, or to modify this Order to comply with the
requirements of ERISA section 609 (29 U.S.C.A. Section 1169).

13. Copies of this QMCSO shall be forwarded to the Plan Administrator by counsel for JANE
GIRARD. The Plan Administrator shall follow procedures consistent with Section 609(a)
of ERISA for determining the qualified status of this Order.

F
‘

i
Attorney No. 59789 Attorney No. 80095 Attorney No. 64937

Opal O’Brien LLC . Beermann LLP Vanessa L. Hammer, Esq.
Attomeys for Petitioner Attorneys for Respondent. Guardian Ad Litem
310 S. County Farm, Suite D 161 N, Clark, Suite 3000 77 W. Wacker, Suite 4500
Wheaton, IL 60187 Chicago, Hlinois 60601 Chicago, Illinois 60601
(630) 384-0165 (312) 621-9700 (312) 372-6058
joe@opalobrien.com kpaige@beermannlaw.com vhammer@hsqlawfirm.com
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- JUDGE

In re Former Marriage of Girard, 2015, D 9633
Qualified Medical Child Support Order
Page 3 of 3

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN’ RE: THE FORMER MARRIAGE OF

)
)
KENTON GIRARD, . )
Petitioner, )
)
"and ) No. 2015D 009633 .
)
JANEGIRARD, )
Respondent, ) -
) ENTERED
and ) Judge Witlam Stewert Boyd-1760
MARISSA GIRARD, i)
Third Party Respondent ) JUN 16 aa’
: ORDER oven Be Ya ae gurr|

THIS MATTER coming before the Court for presentment of Respondent’s Motion to
Compel Compliance with Discovery; the parties being represented by their counsel; the Court
having jurisdiction over the parties and subject matter herein and being duly advised in the
premises;

IT 18 HEREBY ORDERED: | - aA ranvo

lL. Petitioner is granted twenty-eight (28) days to respond to Respondent’s Motion to
Compel Compliance with Discovery.

2. The Motion to Compel Compliance with Discovery is set for hearing on August 9,
2023 at 11:30 a.m. ‘

Earico.J, Mirabelli

Karen V. Paige

Candace L. Meyers Joseph P. O'Brien Vanessa Hammer
BEERMANN LLP Opal O’Brien LLC Guardian ad Litem
Attomeys for Respondent Attorneys for Petitioner vh lawfirm.com
161 N, Clark St, Ste. 3000 joe@opalobrien.com

Chicago, IL 60601 i jen.

Tel: 312-621-9700 Firm No. 59789

Firm No. 80095

kpaige(@beenmanniaw.com
clmeyers@bsermannlaw.com

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Casco a25-28-96596 Dagumianehisriled: 0428 eS BANE aay 1 pagagliaders

217 - tinned - Allowed
gu - Kone Guardian Ad Litem - Allowed (Rev, 12/01/20) CCDR 0008 A

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION
IN RE;  @ Marriage © Civil Union O Legal Separation © Allocation of Parental Responsibilities
€} Visitation (Non-Parent} © Supporc ( Parenmge of

Nox 2015 D 9633

KENTON GIRARD

Petitioner Calendar:

and
 Prejydgmenc

. Q Post Judgment - Enforcement
JANE GIRARD Si Post Judgment - Modification
Respondent O Other «

i Atissh Gi Rak Third fh

rent
ORDER APPOINTING CHILD'S REPRESENTAT IVE, ty Respond LITEM OR ATTORNEY FOR MINOR CHILD(REN)

On motion of the Court and pussuant co 750 ILCS $/506 and the inherent power of the Court, the
Court being fully advised in the premises FINDS THAT: .

A. ‘There are Issues within the farnily affecting the minor child(ren):

‘Child(ren)’s Name(s) Date of Birth Resides with Child(resi)’s Name(s} Date of Birth Resides with
Gwen Girard 02/15/2008 Petitioner °

Grace Girard 62/15/2008 Petitioner

B. itis in che best interest of the child(ren} co have a legal representative appointed to protect on ps blac
NTERED
IT IS HEREBY ORDERED THAT: Judge Willam Stewart Boyc-1760
1. Name: Joel Levin ‘
Address; 10 South LaSalle Street, Suite 1420, Chicago, Il. 60603

Telephone: 312-546-5100 Facsimile: [cue HE @ FeGurr|
Email: {levin@levinfamllyiaw.com

_isappointed 4 Cruzo’s Reeresentarive ©) Guarpian Ap Lrram’ Q ATTORNEY, FOR THE Minor Crtip(nen)
Issues; decision-making, parenting time, parental alienation, social media

2, During the proceedings the court may appoint an additional atrormey to serve in-another of che enumerated capacitles on its

own motion or tha of a party only for good cause shown and when the reasons for the additional appointment are set forch
in specific findings. . ‘

3, Wichinseven (7) daysofcheentry of this order, attorney for Ml Petitioner Respondent C] other.

shall send the chiid’s representative, guardian ad litem, or the attorney for the njinor child(ren) copies of this order, and all
notices, pleadings, orders and reports relative to this cause, * .

4. ‘The child’s representative, guardian ad litem, or the attorney for the minor child(sen) shall be kepc fully informed by counsel
for all partles as to the status of this cause and shall have che full asstscance of couyjsel in obtaining any waivers (e.g. for school
or medical records, etc.) appropriate to the representation of the minor child(ren).

4234

5. li An appearance shall be filed on behalf of the minor child(ren) within seven (7) days of receipt of this order and any appropriate
pleadings within twenty-eight (28) days from the dace of chis order. ‘

*

IRIS ¥Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Page 1 of 2 AQ

Casco 2885-20: 8566 pdearenerti7Filed: 04a DEAR Baa 11 Paggel[23054

4217 - Continued - Allowed
4208 - Appoint Guardian Ad Litem ~ Allowed

(Rev, 12/01/20) CCDR 0008 B

6A. The child’s represencative, guardian ad ficem, or the attorney for the minor child(ren) shall serve pro bono; OR

4636

6B. @ ‘The child's representative, guardian ad litem, or the attorney for the minor child(ren) shall be entitled to reasonable ternporary
and pecmanent fees and costs pursuant to statute. Without prejudice to the right of either party for an accounting and an ap-
portionment among the parties, the parties shall pay to the child’s representative, guardian ad lice, or the attorney for the minor
child(ren) as and for temporary prospective fees, within 7 days, the following amounts: ;

Hourly Rate:

Petitioner: $ 50%

Other: ¢ Retalnter- $5,000

Respondent: $99

7A. © This appoinemenr shall cerminace chirry (30) days after encry of final judgmenc without fisrther order of cours; OR

7B. §@ This appointment shall terminate only upon further order of court.

8. "Unless otherwise ordered by the court at the time fees and costs are approved, all fees and costs payable tp an attorney,
guardian ad litem, or child's representative under this Section (750 ILCS 5/506} are by implication deemed tobe In the nature of
support of the child and are within the exceptions to discharge in bankruprcy under 11 U.S.C.A.523. The provisions of Section
$01 and 508 of this Act shall apply to fees and costs for attorneys appointed under this Section.” ' .

{750 ILCS 5/506}
9, Next Court-Date: 08/09/2023 at 11:30 a.m.
Petitioner's Name: Kenton Girard_

+ Address: (Home) 265 Forestway Dr, Glencoe, IL 60022

“Address: (Work) EMAIL - ka5252@yahoo.com

Petitioner's Attorney: Joseph P. O'Brien- Opal O'Brien LLC

Addcess: 310 South County Farm Rd, Suite D, Wheaton, IL 60187

Telephone: (Home)
Telephone: (Work)

Primary Email: joe@opalotirien.com

‘Secondary Email: Service@opalobrien.com

Telephone: 630-384-0165 Other, Eti¢ R. Pfanenstial at seryica@jbpfamilylaw.com
Facsimile:

Respondent's Name: Jane Girard

+ Address: (Home,20 Linden Ave, Glencoe, IL 60022

*Address: (Work) EMAIL - janeous@yahoo.com

Respondents Atromney. BEERMANN LLP

Address: 161 North Clark Street, Suite 3000, Chicago 1L, 60601

Telephone: 21 2-621-1219

hy Mavssa Girard *

Telephone: (Home) 847-372:6736
Telephone: (Work)

Primary Email: Kpaige@beermanniaw.com
Secondary Email: clmeyers@Peetmannlaw.com

Facsimile:

“Ifa party has not disclosed an addeess, that party shall designate an alternative address for the purpose of notice,

Arty. Now 80095

Name BEERMANN LLP

Any. for: Respondent

Address: 161 North Clark Street, Suite 3000
Cley!Stare!Zip Code: Chicago, IL 60601

Telephone: 312-621-1219

Primary Email; Paige@beermanniaw.com
Secondary Emall: clmeyers@beermanniaw.com
Other Email: girnirabelli@beermanniaw.com

Other: eimirabelli@beernjannlgw.corrt
ge

+

ENTERED:
Dated: a
fret Ee A) 76
Judge - , Judge's No.

IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Page 2 of 2

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Cas&4S85-29-08646 Ddeamument:1/Filed: O4F2EL DBAS ARS 11 PAggei2g855

_ IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE: THE FORMER MARRIAGE OF

)
)
KENTON GIRARD, )
Petitioner, )
)
and } Ne. 2015 D 009633 /
)
JANE GIRARD, ) __.
Respondent, ) ENTERED
) Judge Willam Stewart Boyd-1760
and )
MARISSA GIRARD, ) JUL 18 2023
Third Party Respondent } . ounng Or Hie Rady GOurT |
ORDER

THIS MATTER coming before the Court for Respondent’s oral presentment of Motion for
Temporary Restrainirig Order, Motion to Appoint a Child Representative, Petitioner’s Motion to
Modify the Joint Parenting Agreement and Custody Judgment, Respondent’s Motion to Enforce
the Joint Parenting Agreement and Custody Judgment, Respondent’s Motion for Service by
Special Order of Court; the parties being represented by their counsel and appearing on zoom,
GAL appearing on zoom; the Court having jurisdiction over the parties and subject matter herein
and being duly advised in the premises; A art

IT IS HEREBY ORDERED:

l. Petitioner's Motion to Modify the Joint Parenting Agreement and Custody
Judgment and Respondent’s Motion to Enforce the Joint Parenting Agreement and Custody
Judgment are entered and continued;

2. Respondent’s Motion for Service by Special Order of Court is resolved as Eric
Pfanenstiel filed his Appearance on behalf of Marissa Girard;

3. The Court, sua sponte, appoints Joel Levin as the Child Representative pursuant to
separate order of court.

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CasepdeeS 29-4546 Daounienbiiti7Filed: 0498 ee aap abel 11 bRage!bago6

4, Respondent’s oral presentment of Motion for Temporary Restraining Order is
pending filing of written Motion and continued to July 19, 2023 at 10:45 a.m. via zoom.

Enrico J. Mirabelli

Karen V. Paige

Candace L. Meyers
BEERMANN LLP
Atiomeys for Respondent

i61 N, Clark St, Ste, 3000
Chicago, IL 60601

Tel; 312-621-9700

Firm No. 80095.
ejmirabelli@beermannlaw.com
kpaige@beermannlaw.com
clmeyers@beermannlaw.com

Eric Pfanenstie!
epfanenstiel@jbpfamilylaw.com

Joseph P. O'Brien
Opal O’Brien LLC
Attorneys for Petitioner

servi nal
Finn No. 59789 .

Vanessa Hammer
Guardian ad Litem
vhani law con

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Case 4ase5-26-098d6 Dddanument:i/Filed: 047482 DR Ae AN26f 11 PRageli23857

_ IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS °
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

- IN RE: THE FORMER MARRIAGE OF

} cence crete
) ENTERED
KENTON GIRARD, : ) Judge Willam Stewart Boyd-1760
Petitioner, > JUL 25 2023
and No. 2015 D 009633 oven bE THE cna Sburr
JANE GIRARD, )
Respondent, )
)
and )
MARISSA GIRARD, ) °
)

Third Party Respondent
ORDER

THIS MATTER coming before the Court for status on July 19, 2023,
pursuant to the Court’s Order on July. 14, 2023; the Court having reviewed
courtesy copies of Respondent’s Emergency Motion for Temporary Restraining
Order and For Other Relief, Kenton’s Response to Emergency Petition for TRO, and
Third-Party Respondent’s Response to Emergency . Petition for Temporary
Restraining Order, and for Other Relief, the parties each present on Zoom; each
party’s counsel, the Guardian Ad Litem and the Child Representative appearing
via Zoom; the Court having met with all counsels in a breakout room and having
heard argument from counsels, a status from the Child Representative of his
upcoming appointments with Kenton and Jane, and a report from the GAL,
between 10:45 a.m. and 11:45 a.m., at the conclusion of which the Court made
the order set forth herein; the Court having jurisdiction over the parties and
subject matter herein and being duly advised in the premises;

IT IS HEREBY ORDERED:

1. . Respondent’s Emergency Motion for Temporary Restraining Order
and For Other Relief is granted in part, specifically as to the deletion of social
media postings as set forth herein and not allowing any further posting as set —
forth herein; and denied in part, specifically as to paragraphs c. ~ f on. page 8
of said pleading, including Jane’s requested relief for the Court to order the
children’s cell phones and other electronic devices to be placed with the Child
Representative.

9, ~Kenton Girard, Petitioner (hereinafter “Kenton”), and Marissa
Girard, Third Party Respondent (hereinafter “Marissa”}, shall oversee the

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Cas ase5-25-03546 Ddaumeneit-i/Filed: 0428/2 DBA ADS 11 PRege! 29858

deletion of alt of the minor children’s social media postings which relate to the
instant litigation/ case, including but not limited to postings that relate to this
case on: Instagram accounts (including but not limited to ), TikTok accounts,
Facebook accounts, and/or any other social media accounts, platforms and/or
web sites.. Kenton and Marissa shall oversee that the children delete all such
postings within 24 hours of this Court’s Order.

3. Kenton Girard, Petitioner, and Marissa Girard, Third Party
Respondent, shall instruct the minor children, and shall oversee, that neither
child shall post any social media postings related to the instant litigation.

4. The Court finds that the children have the relationship with Kenton.
and reside solely with Kenton and Marissa (though not via Court Order); as
such, Kenton shall inform the children of the appointment of the Child
Representative, Joel Levin, prior to the children’s first meeting with him.

5. Kenton and Marissa shall oversee and shall instruct the children not
’ to communicate with or be interviewed by any reporters, media personalities,

i

6. Pre Trial date of August 9, 2023 at 11:30 a.m., previously set by the
Court, stands. All pending Motions of the parties, including but not limited to
Kenton’s Motions for In-Camera Interview, are entered and continued to said
Pre-Trial.

Enrico J, Mirabelli

* Karen V. Paige .
Candace L. Meyers - Joseph P. O'Brien Vanessa Hammer
BEERMANN LLP Opal O’Brien LLC . Guardian ad Litem .

Attorneys for Respondent § Attorneys for Petitioner vhammer@hsolawfirm.com
161.N. Clark St., Ste. 3000 joe@opalobrien.com

Chicago, IL 60601 service@opaiobrien.com

Tel: 312-621-9700 Firm No. 59789
Firm No, 80095 .
ejmirabelli@beermanniaw.com
kpaige@beermannlaw.com

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’ Eric Pfanenstiel .
Attorney for Third Party Respondent -
epfanenstiel@ibpfamilylaw.com -

Joe} Levin, Children’s Representative _
jlevin@levinfamilylaw.com : ‘
service@levinfamilylaw.com

Page 3 of 3
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Case 4953.20-08 5 DAR GRRE /Eiled: 047 FeRPBARR eee 11 Pragels3660

4
I

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT — DOMESTIC RELATIONS DIVIS{ON

IN RE: THE FORMER MARRIAGE OF)
)
KENTON GIRARD, ) |
Petitioner, ) No, 15 D 009633 }
) Cal. 45 ENT &RED
and ) Judge Willam Stewart Boyd-1760
IANE GIRARD, AUG 017 2023
Reseed aly AB
and ) 1
) i
MARISSA GIRARD, )
Third-Party Respondent. )
ORDER

This matter coming before the Court upon Third-Party Respondent, MARISSA
GIRARD’s, oral motion for leave to amend her Response to Emergency Petition for Temporary

Restraining Order, and for Other Relief; Petitioner and Respondent being represented by counsel

and the minor children being represented by the Guardian ad Litem, Vanessa Hammer, and Child
Representative, Joel Levin; the Court having jurisdiction over the parties and subject matter hercin
and being duly advised in the premises;

IT IS HEREBY ORDERED:

1. Marissa Girard’s oral motion for leave to amend scrivener’s error in ‘her Response to
Emergency Petition for Temporary Restraining Order is granted.

Dated: July 19, 2023 ENTER:
fo LEA 7 #/ 76
JUDGE 4

JACKSON BUCKLEY & PFANENSTIEL, LLP

Attorney for Third-Party Respondent

1044 N, Western Avenue, Suite F

Lake Forest, Illinois 60045

Telephone No. (847) 457-4848

Service: Service@jbpfamilylaw.com '

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Case 488-20: 8586 pdeamenesti7Kiled: 04HeRS0Rdae BI25 1.1 PRegel(29961

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT — DOMESTIC RELATIONS DIVISION
FIRST MUNICIPAL DISTRICT — DALEY CENTER, CHICAGO

IN RE THE FORMER MARRIAGE OF:
KENTON GIRARD

Plaintiff, £249 LP
vs, Anis ils No. 2015 D 009633
I b ) Calendar 32

JANE GIRARD,

Defendant. ) 1 ____ OF COOK CO...

ENTERED
Judge William Stevet: 2m +1760

AUG 16 UBS)
gH) 6 ) CLEAR OF Yablele ie buat

A ST 9, 2023

This matter coming before the Court for Pre-Trial Conference, and for presentment of Jane’s Petition

for Indirect Civil Contempt, and presentment of Kenton’s Motion to Stay, the attorneys appearing, the child

representative Joel Levin appearing, the Court conducting a Pre -Trial Conference; and the Court being fully

advised in the premises;

IT IS HEREBY ORDERED AS FOLLOWS:

1) Dr. Amabile’s 604.10(b) Report shall not be released to any party, attorney, or the attomey for the children,

or the previously appointed Guardian ad Litem, or to any individual, until further Order of Court.

2) The attorney for the children, Joel Levin, shall contact Dr. Amabile to inform Dr. Amabile that she ts not

to release her report until further Order of Court.
3) Joel Levin’s oral motion to seal the file is denied.
4) The attomeys are ordered to participate in a settlement conference before the next Court date.

5) This matter is set for status of settlement on Septe 2023 at 3:00 p.m. on ZOOM.

LEA, ayes

DATED COURT
Joseph P. O'Brien
joe@opalobrien.com ~ no
OPAL O'BRIEN LLC #59789 fone \
310 S, County Farm Road, Suite D c 4 Pag j
Wheaton, Illinois 60187 *. on . a
(630) 384-0165 meen

Electronic Service: service@opalobrien.com

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No. 1-23-1372

IN THE APPELLATE COURT OF ILLINOIS,

FIRST JUDICIAL DISTRICT
IN RE: THE FORMER MARRIAGE OF }
)
KENTON GIRARD, }
Petitioner, )
)
and ) On appeal from the Circuit Court
) of Cook County
JANE GIRARD, ) Domestic Relations Division
Respondent/Appellee, ) No. 2015 D 009633
) Honorable Judge William Stewart Boyd
and ) Judge Presiding
)
MARISSA GIRARD, )
Third-Party Respondent/Appellant. )
. ORDER

This matter coming before the Appellate Court of Ilinois, First Judicial District, on Jackson
Buckley & Pfanenstiel LLP’s Motion to Withdraw as Counsel for Appeliant/Third-Party
Respondent, Jnstanter pursuant to Illinois Supreme Court Rule 13, proper notice having been given
to the Appellant/Third-Party Respondent, and the court being advised in the premises, IT IS
HEREBY ORDERED:

1, Jackson Buckley & Pfanenstiel LLP’s Motion to Withdraw as Counsel for
Appellant/Third-Party Respondent, Instanter, is granted.

2. Ms. Girard shall file an Appearance either through counsel or as a pro se litigant
with the Appellate Court of Illinois, First Judicial District, by September 4, 2023.

ENTERED:
Terrence Lavin
JUSTICE
Prepared by:
JACKSON BUCKLEY & PFANENSTIEL, LLP
ARDC No. 6300551
1044 N, Western Avenue, Suite F ORDER ENTERED
Lake Forest, Illinois 60045
Telephone No. (847) 457-4848 AUG 2 8 2023
Service: Service@jbpfamilylaw.com
APPELLATESOURTFIRST DISTRICT ~

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Cas asks-25-02546 Dddomenbst-i7Filed: 04ase2DBaAue Sel 11 PRagel sees

No. 1-23-1361

IN THE APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DISTRICT

IN RE THE FORMER MARRIAGE OF:

)
KENTON GIRARD ) Appeal to the Appellate Court of Illinois
Petitioner/Appellant, } from the Circuit Court of
) Cook County, Illinois
and ) Domestic Relations Division
)
JANE GIRARD, } No. 2015 D 009633
Respondent/A ppellee. )
} The Honorable William S. Boyd,
and ) Judge Presiding
)
MARISSA GIRARD, )
Third-Party Respondent/Appellant. )
ORDER

This matter coming before the Appetlate Court of Illinois, First Judicial District, on OPAL
O'BRIEN LLC’s Motion to Withdraw as Counsel for Appellant/Petitioner, Jnstanter pursuant to
illinois Supreme Court Rule 13. proper notice having been given to the Appellant/Petitioner, and the
court being advised in the premises. IT IS HEREBY ORDERED:

!. OPAL O'BRIEN LLC’s Motion to Withdraw as Counsel for Appellant/Petitioner, Jnstanter, is
granted.

I

Mr. Girard shall file an Appearance either through counsel or as a pro se litigant with the
Appellate Court of IHinois. First Judicial District, on or before September 5, 2023.

ENTERED: Terrence Lavin
JUSTICE

Prepared by:

Joseph P. O'Brien

Opat. O'BRIEN LLC ORDER ENTERED
Attorneys for Appellant/Petitioner .

310 S County Farm Road. Suite D AUG 29

Wheaton, Illinois 60187 G 2023
Telephone No, (630) 384-0165

ARDC # 6297312 APPELLATE COURT FIRST DISTRICT

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Order Regarding Substitution of. ‘Judge or Recusal (Rev, 12/01/20) CCDR 0634

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION
IN RE: (2)Marriage () Civil Union C1] Legal Separation [1] Allocation of Parental Responsibilities
(Visitation (Non-Parent) [1] Suppore (} Parentage of:

KENTON GIRARD No: 2015D 009633
Petitioner
and
_
JANE GIRARD Calendar:
Respondent
A A.

Third Party Respondent
ORDER REGARDING SUBSTITUTION OF JUDGE OR RECUSAL

THIS CAUSE being properly before the Court, and Court being advised in the premises:

(J IT IS ORDERED THAT: pursuant to a Petition for Substitution of Judge filed by the

Petitioner) Respondent 41000 828302 for cause, the above entitled cause is
hereby cransferred co che 8282{7] PRESIDING JUDGE 4201 (7 PRELIMINARY JUDGE OF

Team for reassignment for hearing on Petitioner's Motion to Recuse.

[IT IS ORDERED THAT: the assigned judge having recused himself/herself pursuant to Supreme Court Rule 63(c}
4110 and having withdrawn from further proceedings in this cause, the above entitled cause is hereby transferred to

the 8282 OFRESIDING JUDGE 4201 OG-RELIMINARY JUDGE of

Team for reassignment.

Atty, No.: 80095

Name: Karen V. Paige / Beermann LLP
Artomey for: Respondent, Jane Girard
Address: 161 North Clark Street, Suite 3000

City/State/Zip Code: Chicago, IL 60604 ENTERED:

Telephone: (31 2) 621-9700 Dated:
Primary Email Address:

kpaige@beermannlaw.com 266
Secondary Email Address:
parice@beermanniaw.com

Other Email Address: ~

Judg - Judge's No.

IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
. Page lofi A?

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IN THE CIRCUIT COURTOF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

iN RE MARRIAGE OF:

Kenton Girard, ©
t Petitioner,
v.
Jane Girard,
Respondent

Hearing Order

This matter comes before this court on a trial assignment for Substitution of Judge for cause and the
courttbeing fully advised in the premises;

iT IS HEREBY ORDERED this matter shail be heard in person on Friday, October 27, 2023 at 11:00am
before the Honorable Naomi Schuster, Calendar 22, Room 3007. The hearing date of October 17, 2023 is
stricken.

Copt s of this order shall be sent to: kpaige@beermannlaw.com, mdelster@beermannlawco m
levinfamiiviaw.com kg5252@vahoo. com and marissadakis@gmall. com

DATE
Oaofer 18, 2023

wy

ing Presiding Judge Regina Scannicchto

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE: THE FORMER MARRIAGE OF

)
)
KENTON GIRARD, )
Petitioner, )
)
and }) No. 2015 D 009633
)
JANE GIRARD, } Cal. 22 ENTERED
Respondent, )
) Oct. 31, 2023,
and ) iris Y, Martinez
) Clerk of the Circuit Court
MARISSA GIRARD ) of Cook County, IL
Third Party Respondent. )

DEPUTY CLERK hs

THIS MATTER coming before the Hon. Naomi H. Schuster for hearing on Petitioner’s
Motion to Recuse the Hon. William S. Boyd, all parties appearing in person, Respondent
also appearing through counsel, the Court having considered the parties’ respective
filings and argument, and being fully advised in the premises, IT IS HEREBY ORDERED
THAT:

ORDER

1. For the reasons stated on the record, Petitioner’s Motion to Recuse the Hon.
William S. Boyd is DENIED.

2. Respondent is granted leave to file, within 7 days, a motion seeking fees
and costs incurred in her defense of Petitioner’s Motion to Recuse pursuant to Supreme
Court Rule 137 and section 508(b) of the IMDMA. Said Motion shail be heard by Judge
Boyd.

3. This mater shall be transferred back to Calendar C by separate order.

ENTERED:

s\AHeome NM. Schuster (Poo

JUDGE
Order Prepared By Copies to
BEERMANN LLP jievingilevi ilylaw.com
Attorneys for Respondent ervice@levinfarail “com
161 N. Clark St., Ste. 3000 ke5252@yahoo.com
Chicago, IL 60601 marigsadakis@gmail.com
Tel: 312-621-9700
Firm Ne, 80095
ejmirabelii@beermanniaw.com
kpaigettbeermanniaw,com

imever: TTT aw. com

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Case 4S. 20-A88ds DAeGRWHERLW/Filed: Ode ab Qiy 2726 11 PRagell22067

4201/4282 - Transfer to Judge 4295 - Close Discovery - Allowed
$201 - Return for Random Assignment

Orders of Transfer, Assigament and Reassignment (06/16/21) CCDR 0014 A
Se eS ee —=—= a

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

IN RE: Wi Marriage {] Civil Union | | Legal Separation (J Allocation of Parental Responsibilities

(] Visitation (Non-Parent) [.] Support [] Parentage of: ENTERED
KENTON GIRARD Oct. 31, 2023
Petitioner | Case No. 2015 D 9633 nn int
and Calendar 22 Clerk of the Circuit Court
JANE GIRARD DEPUTY CLERK rf c
Respondent Vid

ORDERS OF TRANSFER, ASSIGNMENT AND REASSIGNMENT
This Cause being properly before the Court, and the Court being advised in the premises:

I. Transfers (Temporary)
CY That this cause is transferred to the [! 4852 - Reconciliation Calendar [7 4853 - Military Calendar.

All existing orders shail remain in full force and effect except

(] That this cause is transferred to the Collaborative Process Calendar. All prior orders of court, including
access to the court for enforcement and discovery, shall be considered suspended, and all proceeding shall
be stayed , unless other wise expressly provided by law, agreement of the parties, or order by the court.

C] That this cause be returned from the |] 4752 - Reconciliation Calendar ["] 4753 - Military Calendar

C1] Collaborative Process Calendar.

(] 4282 IT IS ORDERED that the above entitled cause is transferred to Judge

Calendar for

Cl Pretrial () Contested Motion for
all other matters being retained by the Preliminary Judge.

Yi 4201 IT IS ORDERED that this cause is returned to Judge William S. Boyd

Calendar © for further proceedings, the transferred matter being concluded.
Il. Assignment (T'tal)
[" Itis Ordered that:
[} 4295 Discovery is closed as of

C] 4482 This cause is set for Trial before Judge

Calendar
Instanter. All parties or their counsel shall proceed immediately to courtroom
Note: Cases set for trial can only be continued for cause, on motion pursuant to Supreme Court Rule and
Domestic Relations General Order 86 D-1.

Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois

cookcountyclerkofcourt.org
Page 1 of 2

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Case’ 42584-94886 DASLERRREAE 7Flled: O44 RDRARESARS! 1p Rage! oass8

Orders of Transfer, Assignment and Reassignment (06/16/21) CCDR 0014 B

III. Reassignments to or from Presiding Judge

{1 8282 This Cause coming before the court for reassignment, IT IS HEREBY ORDERED that this is
assigned to the Presiding Judge for: [1 Hearing; [J Consolidation within the

Division: Case Number Calendar

3

orl] Other
[J 8201 Clerk for the Circuit Court for random electronic assignment to a calendar:

(J Preliminary |] Individual [1] Post-Judgment [1] Expedited Child Support

{J Excluding Calendar(s)

ENTERED:
Dated: 10/27/23

s\ zome MN. Schuster (Pb
Judge Judge’s No.

Atty. No: 80095

Atty Name: Matthew Elster/Beermann LLP

Atty. for: Respondent
Address: 161 N Clark Street #3000

City: Chicago State: _1L

Zip, 60601

Telephone: 3126219700

Primary Email: kpaige@beermannlaw.com

Isis Y. Martinez, Clerk of the Circuit Court of Cook County, Iinois

cookcountyclerkofcourt.org
Page 2 of 2

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Casdase5-25-085d6 Dddameneni-1/Filed: O4A62DBAVY Bs 11 PRggel DIGS

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE: THE FORMER MARRIAGE OF

)
}
. KENTON GIRARD, | }
Petitioner, )
) Ste
and ) No. 2015 D 009633
) og
JANE GIRARD, )
Respondent, } .
) CAL: C
and )
MARISSA GIRARD CLEAR EE Ya MARTINEZ
Third Party Respondent. } Le DOU Sau our
ORDER

7HIS MATTER coming before the Court for Status and presentation of
Respondent's Motion for 137 Sanctions and 508(b) Fees filed 11/6/2023 and Motion to
Release,Dr. Amabile's Report filed 11/6/2023, due notice given; Jane Girard
represented by counsel appearing on zoom, Petitioner and Third Party Respondent
having filed pro se Appearance, Petitioner appearing on Zoom; and the minor children
being represented by Joel Levin who appeared on Zoom; and the Court having
jurisdiction over the parties and subject matter herein and being duly advised in the

premises;

IT 18 HEREBY ORDERED:
1. Kenton Girard shall pay his outstanding balancein full toDr. Amabile by
December 8, 2023. The parties reserve the right to review the billing statements and

thereafter pose questions regarding same.

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Casco aSe-20-1 2886 Dddanmwnerti/Filed: 04FeeDBAue AOS 11 PRagel 2870

2, This matter is set for hearing on Respondent's Motion for 137 Sanctions
and 508(b) Fees filed and Motion to Release Dr. Amabile’s Report January 10, 2024 at

8:30 a.m. via Zoom (Meeting ID: 864 6297 1874 Passcode: 672037)- Calendar Cc.

3. This matter is set for hearing on Respondent's Second Petition for Indirect
Civil Contempt of Court on February 9, 2024 at 1:00 p.m., in person 1605, if rule

issues it shall be returnable instanter. All parties shail appear.

4. Petitioner and Third Party Respondent are granted 21 days to respond to
the Respondent’s Second Petition for Indirect Civil Contempt of Court (if not already
responded), Respondent’s Motion for 137 Sanctions and 508(b) Fees filed and Motion to
Release Dr. Amabile’s Report.

Order Prepared By - Copies to

BEERMANN LLP jlevin@levinfamilylaw.com
Attorneys for Respondent service@levinfamilylaw.com
161 N. Clark St., Ste. 3000 kg5252@yahoo.com
Chicago, IL 60601 7 . marissadaki il.com

Tel: 312-621-9700
Firm No. 80095

ejmirabelli@beermanniaw.com
kpaige@beermannlaw.com

clmeyers@beermannlaw.com

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“prom FiretQeae Hae? 270256 RRO DES led Ea Neer 1A PRQCEIO SE be 3 of 8
Onder Regarding Substitution of Judge or Recusel . (Rev, 12/01/20) CCDR 0534

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

INRE: [Marriage 1 Civil Union [1] Legal Separation [1] Allocation of Parental Responsibilities

Ci Visitation (Non-Parent) C] Support C1] Parentage of ENTERED
KENTON GIRARD - Nox 2015 D 9833 Judge Dominique Ross-2008}

Peaione al FEB 9 2024

JANE GIRARD Calendar: 34 uch EE TA AREY une .
Respondent
ORDER REGARDING SUBSTITUTION OF JUDGE OR RECUSAL
THIS CAUSE being properly before the Court, and Court being advised in the premises:
IT IS ORDERED THAT: pursuant to a Petition for Substitution of Judge timely filed by the
CO Petitioner HZ] Respondent 4100 [las of right 8283 [7] for cause, which has been granted, the above entitled cause Js
hereby transferred to the 828212) PRESIDING JUDGE 4201 (PRELIMINARY JUDGE OF

‘Team (" ae” for reassignment.

(C] ITIS ORDERED THAT. the aselgned judge having recused himself/herself purmuant to Supreme Court Rule 63(c)
4110 and having withdrawn from frcher proceedings in this cause, the above entitled cause fs hereby transfered

to the 8282 CIPRESIDING JUDGE 4201 [1] PRELIMINARY JUDGE of

Team for reassignment.
Asty. No.: 80085
Name: BEERMANN LLP

" Aorey for: Jane Girard
‘Address: 161 North Clark St. , Suite 3000

City/Stane!Zip Code; Chicago, IL 6060% ENTERED:

"Telephone: (912) 627-6700 Dated:

Primary Email Address:

kpaige@beermanniaw.com , ’
Other Email Address:

IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
A2

Cas 38m5-20-088d6 Dddanwnent:W/Filed: 0428 2B Aye AE 11 PRggellD$872

4201/4282 - Transfer to Judge 4295 - Close Discovery - Allowed
8201 - Return for Random Assignment
Orders of Transfer, Assignment and Reas: ent (06/16/21) CCDR 0014 A

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

IN RE: [1 Marriage ] Civil Union [1] Legal Separation [] Allocation of Parental Responsibilities

(0 Visitation (Non-Pacent) ( Support [1] Parentage of E N T E R E D
Kenton Girard .
Petitioner | Case No. 201549633 MAR O1 2024
i +
and Calendar Cc OLE! k ie a dead Sunt
Jane Girard
Respondent

ORDERS OF TRANSFER, ASSIGNMENT AND REASSIGNMENT
This Cause being properly before the Court, and the Court being advised in the premises:

I, ‘Transfers (Temporary)
C) That this cause is transferred to the ([] 4852 - Reconciliation Calendar [1 4853 - Military Calendar.

All existing orders shall remain in full force and effect except

C) ‘That this cause is transferred to the Collaborative Process Calendar. All prior orders of court, including
access to the court for enforcement and discovery, shall be considered suspended, and all proceeding shall
be stayed , unless other wise expressly provided by law, agreement of the parties, or order by the court.

C] That this cause be returned fromthe (] 4752- Reconciliation Calendar [) 4753 - Military Calendar
[) Collaborative Process Calendar.

4282 YT IS ORDERED that the above entitled cause is transferred to Judge Trowbridge
Calendar >! for all post decree matters

J

C) Pretrial (1 Contested Motion for
all other matters being retained by the Preliminary Judge.

O 4201 IT'S ORDERED that this cause is returned to Judge

. Calendat for further proceedings, the transferred matter being concluded.
II, Assignment (Trial)
[1 Itis Ordered that:
4295 Discovery is closed as of

(O 4482 This cause is set for Trial before Judge

Calendar
Instanter. All parties or their counsel shall proceed immediately to courtroom

Note: Cases set for trial can only be continued for cause, on motion pursuant to Supreme Court Rule and
Domestic Relations General Order 86 D-1.
Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois

cookcountyclerkofcourt.org
Page t of 2

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Case’ 29%-20:08586 bddgaiament1 Filed: 04Fteesibane/7Gag 11 Pagget2Hs73
Orders of Transfer, Assignment and Reassignment (06/16/21) CCDR 0014 B

ILI. Reassignments to or from Presiding Judge
() 8282 This Cause coming before the court for reassignment, IT IS HEREBY ORDERED that this is
assigned to the Presiding Judge for: C) Heating; 8 Consolidation within the

Division: Case Number . Calendar

or Other
[ 8201 Clerk for the Circuit Court for random electronic assignment to a calendar:
O) Preliminary (1 Individual 0 Post-Jjudgment © Expedited Child Support

1 Excluding Calendas(s)

Judgey,, dae fill Rose Quine = No.
Atty. No.: an o1 24
Atty Name:
hes for: Order of Court Circuit Court » 2386
Address: .
City: State:
Zip:
Telephone:
Primary Email:

Iris ¥. Martinez, Clerk of the Circuit Court of Cook County, Ilinois

cookcountyclerkofcourt.org
Page 2 of 2

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Case as26-29-045a6 Dasumenbit-i7Filed: 047482 Dbaapaebel 11 baageiogg/4

Order Regarding Substitution of Judge or Recusal (Rev, 12/01/20) CCDR 0634

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION
IN RE; [Marriage CI Civil Union (1 Legal Separation [J Allocation of Parental Responsibilities
Cl Visitation (Non-Parent) C])Support (J Parentage of:

KENTON GIRARD No. 2015 BD 9633

Petitioner N
, and

JANE GIRARD Calendar: 34

Respondent

ORDER REGARDING SUBSTITUTION OF JUDGE OR RECUSAL
‘THIS CAUSE being properly before the Court, and Court being advised in the premises:
IT 1S ORDERED ‘THAT: pursuant to a Petition for Substhunton of Judge timely filed by the
Petitioner L] Respondent 4100 [32s of right 8283 F] for cause, which has been granted, the above entitled cause is
hereby transferred co the 82827] PRESIDING JUDGE 4201 fZ] PRELIMINARY JUDGE OF

c

Tearn for reassignment.

C] IT IS ORDERED THAT the assigned judge having recused himself/herself pursuant to Supreme Court Rule 63(c)
4110 and having withdrawn from further praccedings in this cause, the above entitled cause is hereby cransferred
to the 8282 C1] PRESIDING JUDGE 4201 FJ PRELIMINARY JUDGE of

Team for reassignment.

Atty. No.: 89095

Name; BEERMANN LLP Judge Bradley R, Trowbridge
Attorney for : Jane Girard, Respondent APR 05

Addeess: 161 North Clark St., Suite 3000 q 202%
City/State/Zip Code: Chicago, IL 60601 ENTERED: feult Court - 2331

Primary Email Address: .
kpaige@beermanniaw.com

Secondary Email Address: Judge udge’s No.
clmeyers@beermanniaw.com

Other Email Address:

IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of 1
A2

Cas 4883-20:086d6 pdeamienent1/Filed: 04F1eR DEAR IGLSF 11 PAgge!l23875

ENTERED
Apr. 12, 2024

tris ¥. Martinez

Clerk of the Circuit Court
of Caak County, it

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS [orrun cenx

COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION Ld /, wt
IN RE: THE FORMER MARRIAGE OF } 7
VHFh K
KENTON GIRARD, } 440.
Petitioner, )
YS h h
and } No. 2015 D 009633
)
JANE GIRARD, )
Respondent, )
)
and )
)
MARISSA GIRARD, }
Third Party Respondent. }

ORDER

THIS MATTER coming before the Court for presentment of Respondent's
Motion to Set Trial and Case Management Conference and Motion to Enforce
604.10(b) recommendations and presentation of Petitioner’s Motion for
Substitution of Judge as of Right (Judge Trowbridge} and Motion for 604.10(c}
Evaluation; this matter being reassigned to Judge Goldfarb, Calendar 35,
Kenton Girard present having filed his Pro se Appearance, attorneys for Jane
Girard Beermann LLP present, Joel Levin representing the minor children
present all via zoom, the third party respondent not appearing; this Court in
Cal. 35 having conducted a pretrial conference;

IT IS HEREBY ORDERED:

1) Respondent is granted 21 days to respond to Petitioner’s Motion for
604.10(c), should she choose;

2) Petitioner is granted 21 days to respond to Respondent’s Motion to |

Set Trial and Case Management Conference and Motion to Enforce 604. 10(b)
Recommendations if not already responded to;

3) Within 7 days Kenton shall reach out to Dr. Robert Shapiro to
determine the timeline Dr. Shapiro requires for Kenton’s 601.10(c) evaluation.
On April 26, 2024, Kenton shall report to the Court if he wants to move
forward with the 604.10(c) evaluation at his sole cost;

4) Kenton and the children’s request for an in-camera interview with
the Court is agreed to take place at a later agreed-upon date, time, and

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protocol. The 604.10(b} report shall be hand- delivered to the Court in Room
2805 in advance of the in-camera interview. The parties shall discuss protocol
surrounding the in-camera interview at the April 26, 2024 court date. The
parties will schedule the date to exchange proposed protocol on April 26, 2024.

5) In addition to Paragraph 4 and 5 above, this matter is set for
status of Kenton’s payment of Joel Levin’s fees and for the setting of a 218
Case Management conference on April 26, 2024 at 9:00 a.m. via zoom.

ENTERED:

Judge Renee Goldfarb
Order Prepared By Copies to
BEERMANN LLP jlevin@levinfamilylaw.com
Attorneys for Respondent service@levinfamilylaw.com
161 N. Clark St., Ste. 3000 keg5252 00.com.
Chicago, IL 60601 marissadakis@gmail.com
Tel: 312-621-9700
Firm No. 80095

ejmirabelli@beermannlaw.com
kpaige@beermanniaw.com |
clmeyers@beermannlaw.com,

A2

Case FSG. 29d R MS DAROFRE BT Fited: 04FIB AE ISARA 2925 11 PRAGEIL AS 7
a, ENTERED
Exhibit - C a, " May. 14, 2024

' : ‘ . , tris ¥, Martinez
. . Clark of the Circuit Court

af Cook County, IL

“IN THE CIRCUIT COURT OF COOK COUNTY, FLLINOIS _[pepurvcuent
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE: THE FORMER MARRIAGE OF

)
)
KENTON GIRARD, ' } Y4F. 1b,
Petitioner, j 4 XY.
)
and } No. 2015 D 009633
)
JANE GIRARD, ° )
Respondent, )
)
and )
} ,
MARISSA GIRARD, - / }
Third Party Resporident. )
ORDER ,
THIS MATTER, coming before the Court for status of protocol surrounding the in

children’s in-camera interview and 218 Case management conference; Kenton Girard
present having filed his Pro se Appearance, attorneys for Jane Girard, Beermann. LLP,
present, Joel Levin representing the minor children present all via zoom, the third party

respondent not appearing; and the’ Court being duly advised i in the premises; :

IT IS HEREBY ORDERED: oy

1) The children’s in camera interview is set for June 10, 2024 at 2:00 p.m.
at the Daley Center, Room 2805 with the following protocol;

a. Joel Levin, the Children’s Representative, shall report to the Court the
children’s willingness to allow his presence;

b. Counsel for Respondent, Petitioner (prose), and Third Party
Respondent (pro se) have waived their right to be present for the
interview; ‘.

ec, The Court shall conduct the in-camera interview in chambers with
each child separately;

d. The Court shall arrange for an official Court reporter. The entire
interview shall be recorded and the transcript of the interviews shail
be filed under seal and released only upon order of court

e. The parties and the Child’s Representative may submit questions for
the in-camera interview to the Court. The questions shall remain
confidential with the Court. The questions do not have to be copied

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to the other parties. The Court shall determine what questions she
asks the children.

2) - Petitioner’s Motion for 604.10(c) is denied. Pursuant to the prior Order of
Court, Respondent stated that Dr. Shapiro could not complete a report
within 60 days and it is in the best interest of the children to have no
more delays in this case.

3) This matter shall proceed to immediate trial on outstanding pleadings on

August 26, 2024 9:00 a.m.- 5:00 p.m.; August 27, 2024 1:00 p.m. ~ 5:00

_ p.m.; August 28, 2024 1:00 p.m.- 5:00 p.m.; August 29, 2024 9:00 a.m.-
5:00 p.m. at the Daley Center room 2805;

4 The parties shall work together on a Case Management Order setting
specific deadlines and discovery closure dates;

ENTERED: 5/14/24
ante Golityunt 1905

Judge Reneé Goldfarb
Order Prepared By Copies to
BEERMANN LLP . jlevin@levinfamilylaw.com
Attorneys for Respondent service@levinfamilylaw.com
161 N. Clark St., Ste. 3000 —- kg5252@vahoo,com
Chicago, IL 60601 marissadakis@gmail.com
Tel: 312-621-9700 .
Firm No. 80095 ,
ejmirabelli@beermannlaw.com
kpaige@beermannlaw.com

clrhey: ra@beermannlaw.com

A2

Case P38. B00 AHS DoDAHEMORLY Filed: o4FalId5I8dQe 2028 11 1Faagetle se 9

’ IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC. RELATIONS DIVISION

IN RE: THE FORMER MARRIAGE OF

)
)
KENTON GIRARD, )
Petitioner, }
. )
and ) No. 2015 D 009633
}
JANE GIRARD, } mo,
Respondent, ) ENTERED
} Jun. 4, 2024
and ) . iris ¥. Martinez
. , , ) Clerk of the Circuit Court
.MARISSA GIRARD, . ) of Conk County, tL
Third Party Respondent. } . DEPUTY CLERK

ORDER

THIS MATTER coming before the Court pursuant to the appearance of
Petitioner, Kenton Girard (hereinafter “Kenton”}, before the Honorable Wiliam
Stewart Boyd via Zoom regarding a Petition for Order of Protéction filed by
Kenton Girard which was denied on an emergency basis on some prior date by
another jidicial officer; no notice having been given to Respondent, Jane
Girard, or her counsel; the Court having requested that counsel for Respondent
appear; Petitioner, Kenton Girard, and Respondent’s counsel, Karen V. Paige of
Beermann LLP having appeared via Zoom before the Court on May 30, 2024;

THE COURT FINDS:

A) Petitioner, Kenton Girard, provided no notice to Respondent or her
counsel of the Petition for Order of Protection previously or for the
appearance before Judge Boyd;

B) This matter has been permanently assigned to Judge Renee Goldfarb.

IT IS HEREBY ORDERED:

' 4) ‘Petitioner, Kenton Girard’s, oral motion for the Court to hear the
’ Petition for Order of Protection is denied;

2} ‘Petitioner, Kenton Girard, shall provide the Petition for Order of
Protection (and any other pleadings filed with said Petition), along
with all exhibits; Orders from the Petition for Order of Protection;
and any correspondence to the Court, via email to the attorneys at .
Beermann LLP at the email addresses below within 24 hours; .

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3) - Petitioner, Kenton Girard’s, Petition for Order of Protection is
entered and continued to Trial in this matter before Judge Renee
Goldfarb on the previously-set dates (pursuant to Judge Goldfarb’s
Order of May 14, 2024) beginning August 26, 2024 in person.

ENTERED:

Uhlan waa Boyd #1760

Judge William Stewart Boyd =~
Order Prepared By Copies to
BEERMANN. LLP ‘ jlevin@levinfamilyiaw.com
Attorneys for Respondent . service@levinfamilylaw.com:
161 N. Clark St., Ste. 3000 ke5252@vahoo.com
Chicago, IL 60601 , marissadakis@pemail.com
Tel: 312-621-9700 : ,
Firm No. 80095

ejmirabelli@beermanniaw.com
kpaige@beermannlaw.com.
clmeyera@beermanniaw.com
isteele@beermannlaw.com

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ENTERED
Jun. 14, 2024

leis ¥. Martinaz
Clark of the Clreuit Court
of Cook County, ik

_IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS __|orrurrciene
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE: THE FORMER MARRIAGE OF ) ee ?
BYE
KENTON GIRARD, ) Oe
Petitioner, }
. yo. 4D)
and } No. 2015 D 009633
)
JANE GIRARD, )
Resporident, )
)
and )
)
MARISSA GIRARD, )
Third Party Respondent. }

ORDER

THIS MATTER coming before the Court for hearing on Child
Representative Joel Levin’s Emergency Motion to Cancel In-Camera Interview by
the Child Representative and Respondent Jane Girard’s Response to same, and
Petitioner Kenton Girard’s Motion to Remove Third-Party Respondent Marissa
Girard and Respondent Jane Girard’s Response to same; Kenton Girard present
appearing Pro se, counsel for Jane Girard, Beermann LLP, and Joel Levin
representing the minor children present all via Zoom; the third party
respondent not appearing; the Court hearing argument on both pleadings and

their respective responses; the Court being duly advised in the premises;

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IT IS HEREBY ORDERED:

1} _‘ Petitioner’s Motion to Remove Third-Party Respondent Marissa
Girard is Denied.

2) Child Representative’s Emergency Motion to Cancel In-Camera
Interview by the Child Representative is Granted.

3) This matter is set for status on settlement negotiations between
the parties on July 3, 2023 at 12:00 p.m. via Zoom. Meeting ID: .
971 5226 9618; PW: 718655. os

ENTERED: 6/14/24
Judge Renee Goldfarb
Order Prepared By Copies to
BEERMANN LLP jlevin@levinfamilylaw.com-
Attorneys for Respondent service@levinfamilylaw.com
161 N. Clark St., Ste. 3000 : ke5252@yahoo.com
Chicago, IL 60601 marissadaki il.com

Tel: 312-621-9700
Firm No. 80095

ejmirabelli@beermannlaw.com

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ENTERED
Jul. 18, 2024
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS aie Marinas
- COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISIO ef cook County,
DEPUTY CLERK
IN RE: THE FORMER MARRIAGE OF
YRS P °
KENTON GIRARD, ) YYOs he
Petitioner, ) of FO. 7 Yh
}
and ) No. 2015 D 009633
}
JANE GIRARD, )
Respondent, )
)
and )
)
MARISSA GIRARD, }
Third Party Respondent. )

ORDER

THIS MATTER coming before the Court pursuant the Order of June 12,
2024; appearing in Court via zoom were: Jane Girard, Respondent; Counsels
for Jane Girard: Joel Levin, Children’s Representative; and Kenton Girard (pro
se); Third Party Respondent Marissa Girard (pro se) not appearing; the Court
having inquired about the status of visits between Jane and the children, and
having conducted a Pre Trial Conference;

It IS HEREBY ORDERED:
1) Kenton Girard shall provide deposition dates for his deposition and
Marissa’s deposition to Jane’s counsels by email on or before July
15, 2024;

2) ‘Pre Trial Conference is set via Zoom on August 15, 2024, at 12
p.m. .

ENTERED: THB8I24

Judge Renee Goldfarb

A2

Cas 888 29:0 86d6 DAA MURERI Filed: 04a ORME BNL 11 PRegellases4

Order Prepared By Copies to .
BEERMANN LLP ilevin@levinfamilylaw.com
Attorneys for Respondent . service@levinfamilyiaw.com
161 N. Clark St., Ste. 3000 _ kg8252@yahoo.com
Chicago, IL 60601 marissadakis@gmail.com
Tel: 312-621-9700

Firm No. 80095

ejmirabelli@beermannlaw.com
kpaige@beermannlaw.com
clmeyers@beermanniaw.com
jsteele@beermannlaw.com

A2

Casé-4585-29-085846 DdeORERERLY Filed: adders BAGU aR? or 11 PRegeiasees

Order for Recusal (03/06/24) CCDR 0124

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

INRETHE: @ Marriage CI Civil Union O Allocation of Parental Responsibilites
0 Support Parentage {© Visitation (Non-Parent) [1 Other

Kenton Cirarf) 5 ‘
etitioner, | Case No ADts D 60 TE7> gor ere
aad Calendar: PS BINT INISID)
Ta pe C1 recd
Respondent. AUG 1 4 2024

and

" . caicl Prt Lesgendout-
hacitSe Girart see eoR RECUSAL

(4110) This cause coming to be heard on the Court’s own Motion for Recusal Pursuant to Canon 2.11 of
the Iinois Code of Judicial Conduct of 2023 and 735 ILCS 5/2-1001(a)(1), and the Court being
fully advised in the premises,

ITIS HEREBY ORDERED:

(4201) BCA Trial Judge having recused themselves, this cause is hereby transferred to Preliminary Calendar
Judge YC OD OB for ceassignment. This Order shalt be sent to the Preliminary Judge.

(8282)Q) An Individual Calendar Judge/Preliminary Judge having recused themselves, this cause is hereby
wansferred to the Presiding Judge of the Domestic Relations Division, Calendar 01, for random
reassignment. This Order shall be sent to DRDdivorderscal01@cookcountycourt.com.

ENTERED: Dated: y, / f [ gma} Tides thay

Judge’s No.

Prepared by:
Attorney for: 1 Petitioner () Respondent O) Child(ren) Accomey #: OR ©
O Ido not have an attorney (Self-Represented Litigant) Attorney #: 99500
Telephone: Email:
Address: =— =
Street, Apt. # City State Zip

Iris ¥. Martinez, Cleck of the Circuit Court of Cook County, Illinois
cookcountyclerkkofcourt.org
lof 1

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Order for Recusal (03/06/ 24) CCDR 0124

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

INRETHE: O) Marriage © Civil Union DO Allocation of Parental Responsibilities
C) Suppore © Parentage (1 Visitation (Non-Parent) (1 Other

Ki nton qK \ torch -
Petitioner, | Case No. gd 5 04 (g33

—\ Vow Gite tee EN aNED

One Respondent.
Moarisso~ Cricond ich qacky gure nda te AUG 16 2024
ORDER FOR RECUSAL

(4110) This cause coming to be heard on the Court's own Motion for Recusal Pursuant to Canon 2.11 of
the Illinois Code of Judicial Conduct of 2023 and 735 TLCS §/2-1001(a)(1), and the Court being
fully advised in the premises,

IT IS HEREBY ORDERED:

(4201) A Trial Judge having recused themselves, this cause is hereby transferred to Preliminary Calendar
Judge C OD OE forreassignment. This Order shall be sent to the Preliminary Judge.

@ An Individual Calendar Judge/Preliminary Judge having recused themselves, this cause is hereby
sferred to the Presiding Judge of the Domestic Relations Division, Calendar 01, for random

.
reassignment. This Order shall be sent to DRDdivorderscal 1 @enokcountyee BELCOM.

% gee Lm
ENTERED: Dated: ly las ae

Prepared by:
Attorney for: (] Petitioner [i Respondent O Child(ren) Attorney #: OR
CO) 1 do not have an attorney (Self-Represented Litigant) Attorney #: 99500
Telephone: Email:
Address: — ——
Street, Apt. # City _- State Zip |

Iris Y¥. Martinez, Clerk of the Circuit Court of Cook County, Ulinois

cookcountyclerkofcourtorg
Page 1 of 1

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soins asa e5 2 OA5a6 Dedumen pit {7Filed O4ABRDBage aye 11 bRageloap87
8201 Return for Random Assignment (Rev, 02/04/16} CCDR 0014
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

IN RE: Marriage L Civil Union C1 Legal Separation UJ Allocation of Parental Responsibilities
(C Visitation (Non-Parent) [1] Support [J Parentage of:

KENTON GIRARD No., 2015D 009633

Petitioner °
and
JANE GIRARD, MARISSA GIRARD, MATTHEW ELSTER, JOEL LEVIN, KAREN PAIGE Calendar: 01
Ressonds ENTERED
jpondent PRESIDING JUDGE eg Bnod = 2089
ORDERS OF TRANSFER, ASSIGNMENT AND REASSIGNMENT Aug. 19, 2¢

‘Tus Cause being properly before the Courr, and the Courr being advised in the premises: Clerk of the Cireult Court
I. Transrzrs (Temporary) DEPUTY CLERK

(7) That this cause is transferred to the 4852 [1] Reconciliation Calendar 4853 [J Military Calendar, All existing orders
shall remain in full force and effect except
(Cl That this cause be returned from the 4752 L] Reconciliation Calendar 4753 C] Military Calendar.

4282 {4] Iv 1s Onperep that the above entitled cause is transferred to Judge FERNANDEZ
Calendar 99 for ALL FUTURE MATTERS
O Prerara 2] Conresrep Morion for
all other matters being retained by the Preliminary Judge.
4201 [ir ts Orperen that this cause is rerurned to Judge
Calendar for farther proceedings, the transferred matter being concluded.

Tl, Asstenmenr (Trial)
OO Iris Orpenen that:

4295 [] Discovery is closed as of .
4482 C] This cause is set for Trial before Judge Calendar

Insranver ALL PARTIES OR THEIR COUNSEL SHALL PROCEED IMMEDIATELY TO COURTROOM
Nore: CASES SET FOR TRIAL CAN ONLY BE CONTINUED FOR CAUSE, ON MOTION PURSUANT TO SUPREME Courr Rue AND
Domestic Rerarions GaneraL Orpen 86 D-1,

Tl. REgASSIGNMENTS TO OR FROM PRESIDING JUDGE
8282 (1) ‘Tis Cause coming before the court for reassignment, IT IS HEREBY ORDERED thar this is assigned to the
Presiding Judge for: C] Hearing; C} Consolidation within the Division: Case Number
Calendar ; or Other RECUSAL
8201 P] Clerk for the Circuit Court for random electronic assignment to a calendar (] Preliminary [] Individual
C1 Post-Judgment [J Expedited Child Support J Excluding Calendar(s) C, 35, 34,31

Any. No.:
ORDER OF COURT

Name:
Atty. for:
Address:
City/State/Zip: D ated:

Telephone:

Primary Email: Aheprsrtc Lua $00]
Secondary Email: Judge v Judges No.
Tertiary Email:

IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
A2

ENTERED:

Case 4555. 20:b8eh6 DACAAR ERY Filed: od HAR PPAYeeeor 11 Peagsie see

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
DOMESTIC RELATIONS DIVISION, THIRD DISTRICT

AENTERED
Court No, 2015 09633 _” | Judge Rossana P. Femander-2141

[ ]Pre-Decree or|  |Post-Decree SEP 5 2024 =
| usd Yad ARTAY EB]

E
OF COOK

Kenton Girard

Petitioner

Jane Girard

Respondent

Se Mme ue Noe! Se See

(Marissa Girard, Third-Party. i IN PERSON
REMOTE STATUS/ CASE MANAGEMENT ORDER

This cause coming to be heard for REMOTE STATUS. Petitioner/ Respondent filed al_| Petition for
Dissolution of Marriage OR |“ | Petition for Case Mgt, Motion to Compel, Motion to WD filed on 2/4, 8/27, 8/28

The parties share 2 __minorchildren. Notice to all parties, The Court being fully advised in the premises.

IT IS HEREBY ORDERED:

1. FINANCIAL AFFIDAVITS have been Completed and Exchanged by the parties as of

2. FINANCIAL AFFIDAVITS have NOT been completed but shall be Exchanged/ Updated (with all attachments)
by the parties no later than the next days, on or before .

3. ALLOCATION OF PARENTAL RESPONSIBILITIES (“Parenting Pian”) has been Entered by Agreement of
the parties on 11/4/2015

4. ALLOCATION OF PARENTAL RESPONSIBILITIES (“Parenting Plan”) has NOT been entered.
Therefore, this matter is referred to Mediation (per separate order) YES NO N/A

5. WRITTEN DISCOVERY shall be Propounded no later than , or shall be waived.

6. WRITTEN DISCOVERY shall be Completed by the Parties no later than

7. WRITTEN DISCOVERY has been Completed by the Parties as of

8. ORAL DISCOVERY shall be Completed by the Parties no later than

9. This matter is continued to October 18, 2024 vat’ ;30 ayy PMFOR REMOTE:
STATUS PRETRIAL X HEARING: via “Zoom” Video Conferencing
(a) Service (b) X Settlement (c) Remaining Trial issues (d) Allocation JGMT

(d) Petitioner/ Respondent Motion(s) for
(e) Xx Other: 30 min. casa mgt. cont. All parties required to be present, Joc! Levin granted leave to withdraw

Kenton Girard, Marissa Girard Beermann LLP, E. Mirabelli, C. Meyers
Petitioner/ Petitioner’s Attorney Respondent/ Respondent’s Attorney
kg5252@ yahoo.com, marissadakis@gmaltcom clmeyers@beermanniaw.com
Email for Notices (print) Email for Notices (print)

ATTORNEY NAME/ CODE: 80095
ATTORNEY FoR: Jane Girard
ADDRESS: 161 N. Clark, #8000
CITY/STATE: Chicago, IL 60601

PHONE: ,312-621-9) _, OTHER SIDE MUST BE COPIED ON ALL EMAILS .
ALFA SCOR cer es GALL CONTAIN CRTTIONER KASS NAME, & COURT NO) & (FUTURE DATE)” \9

Case 458%.29:d 8846 DARAR HEB! Filed: 0d7HePRIGAQA 202H 11 Pragelizaes

IN THE CIRCUIT COURT OF THE COOK COUNTY, [LLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE THE MARRIAGE OF: j
ae }
KENTON GIRARD,
Petitioner, )
)
and No. 2015 D 009633
ee ae
JANE GIRARD, \ cao {ENTERED
Respondent. ) Judge Rossana P, Femandez-2141
}
MARISSA GIRARD, OCT 18 2024
Third Party Respondent. cues Fal ARS ou

ORDER

This case coming before the Court for Case Management Conference ‘pursuant
to the Order entered September 5, 2024; Petitioner, KENTON GIRARD, present in
Court, Pro Se; Respondent, JANE GIRARD, present in Court with her.counsels, Enrico
J. Mirabelli and Karen V. Paige of Beermann LLP; Third Party Respondent, MARISSA
GIRARD, not appearing in Court; the Court having heard argument regarding
Petitioner, KENTON GIRARD’s, Motion to Stay Proceedings, and having conducted a
Case Management Conference; the Court Orders:

1. Petitioner (Kenton) present in court, pro-se.

2. Respondent (Jane) present in court with her Attorneys, Mirabelli and
Paige:

3. Third-Party Respondent (Marissa) failed to appear.

Biase

A2

Case $58).C9-08eS6s DdegRnes! 1 Filed: O4TISARIB AY A025 11 PraggelizI@0

4, The Court has reviewed a copy of the file-stamped Motion for
Substitution of Judge {as a Matter of Right) filed by Third Party Respondent, Marissa
Girard (file stamped 10-16-24 08:19 pm}. The Court inquired if Third Party
Respondent Marissa Girard was present, or if any counsel was present on her behalf,
but Marissa Girard did not appear personally nor through counsel on her behalf.
Third Party Respondent Marissa Girard’s Motion for Substitution of Judge (as a Matter
of Right) is stricken.

5, Minor Child’s Motion to intervene {filed 08-12-24) is Stricken and denied
for lack of legal capacity.

6, After reviewing Petitioner, Kenton Girard’s, Motion for Stay of
Proceedings, and Respondent, Jane Girard’s, Response io Motion to for Stay of
Proceedings, and aster hearing argument of counsel and.Petitioner, Kenton Girard, the
Motion to Stay of proceedings is Denied.

7. The Court conducted a Case Management Conference and set Triai dates

_ pursuant to the Court’s Trial Order entered contemporaneously herewith.

ENTERED]
Judge Rossana P. Femandez-2141.

ENTERED: 10-18-24

Karen V. Paige

Enrico J. Mirabelli Kenton Girard
BEERMANN LLP Petitioner {Pro-se)

- Attorneys for Respondent, Jane Girard KGS252@Yahoo.com
161 North Clark Street, Suite 3000
Chicago, Itinois 60601 Merissa Girard
T: (312) 621-9700 Third-Party Respondent
Firm No. 80095 MarissaDakis@Gmail.com
eimirabelli@beermanniaw.com

beerm: w.CO

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Case 48-20-0858. Ddearienerti Filed: 047#e250R40e/ 20a 11 PAegel D301

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
DOMESTIC RELATIONS DIVISION, THIRD DISTRICT

KENTON GIRARD ) ENTERED
Petitioner } Court No. 15 D 9683 dudge Rassana Pp Femandez-2141
JANE GIRARD > calendar “99” OCT 1.8 2024
Respondent oLenh oe a4 E var |
TRIAL ORDER
iN PERSON

THIS CAUSE COMING TO BE HEARD FOR TRIAL ASSIGNMENT. Notice to all parties.
The court being fully advised in the premises. IT IS HEREBY ORDERED:

1 All issues, including Contribution of Attorneys’ Fees, shall be heard at the Trial for this cause,
Unless otherwise ordered by the court.

2 TRIAL is scheduled to proceed on FEBRUARY 18 2025 at 11:00 AM
FEBRUARY 19 2025 gt 01:30 PM
FEBRUARY 20 _, 2025 at 01:30 PM
FEBRUARY 21 | 2025 a 01:30PM
WRITTEN DISCOVERY CLOSES (11-08-24)
3 ORAL (Non-Expart) DISCOVERY CLOSES (11-08-24) (any claims or documents not
ORAL (Expert) DISCOVERY CL 12-31-2:
isclosed timely shall be ers

4 Counsel of Record and/or the Parties shall exchange the following Documents no later than
FEBRUARY 04, 2025 :

a, Updated Financial Affidavits (i! any pending financial issues)

b. Witness Lists;

o. Written Stipulations;

d. Updated Discovery;

e. Trial Exhibits (and shall provide the, court copies via ONE EMAIL with a numerical list of

___ proposed Exhibits as PDF files and labeled (numerically) no iater than 14 days prior to trial.
f. All Motions in Limine.

A2

Case 4S85-£9-08586 DAICGRERER Filed: 047ASME0B Age 202F 11 Paggsti2eH2

5 Counsel of Record and/or the Parties shal! provide to the Court VIA ONE (1) EMAIL

SUBMISSION, and to each other, Courtesy Copies of the following, within fourteen (14) days
prior fo trial, on ox before FEBRUARY 04, 2025 -

(All Exhibits shall be Marked in Numerical Order and attached as separate PDF files to one (2)
Email to the Court):

Updated Financial Affidavits (if any pending financial lssues)

All Exhibits, including a list of stipulated Exhibits;

Any objections (in writing) to the opposing party’s Exhibits;

Witness Lists;

Written Stipulations;

Petitions for Contribution to Attorneys” Fees;

List of all other Exhibits not stipulated to; and

Proposed Judgment Order from each party, including a separate Allocation Judgment, if
applicable.

remo pp oP

6 Failure to submit appropriate Fee Petition(s) on the day of Trial shall be deemed a waiver of,
contribution to Attorney*s Fees.
Witnesses not identified on a Witness List shall be barred from testifying at trial.
The parties must-provide a court reporter at their own expense.
Ail Settlement discussions between the parties shall take place prior to the day of trial and
No Pretrial Request will be entertained on the day of trial.

10 ‘The case shall be Dismissed for Want of Prosecution if the Petitioner fails to appear and/or fully
comply with this Order.

11 An Order of Default shail be entered against the Respondent if the Respondent fails to appear and/or

does not fully comply with this Order/ Likewise for any Third-Party.

KENTON GIRARD (Petitioner) ENRICO MIRABELLI (Attorney)
Petitioner/ Petitioner’s Attorney (print) Respondent/ Respondent’s Attorney (print)
KG5252@ Yahoo.com EJMirabelli@ BeermanLaw.com
Email for Notices (print) Email for Notices (print)

* Third-Party (Marissa Girard) MarissaDakis@ Gmail.com

ATTORNEY CODE: ENTERED: 10-18-24
ATTORNEY NAME: ENTERED

ATTORNEY FOR: Judge Rossana P. Femandez-2141
ADDRESS: O/ C ¢

CITY/STATE:
PHONE:
EMAIL:

OPPOSING SIDE MUST BE COPIED ON ALL EMAILS
*ALL EMAIL “SUBJECT” LINES SHALL CONTAIN: (LAST NAME OF PETITIONER) AND (COURT NO.) *
** Courtesy Copies 7 Days In advance TO: ece, DomAsiCR3009@ CankCcuntyiL.Gov

A2

Case 4885-29:085d6 pdegsinest:i/Filed: 0418 DRAW BIOs 11 PRege!29803

IN THE CIRCUIT COURT OF THE COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE THE MARRIAGE OF: )
)
KENTON GIRARD, )
Petitioner, }
)
and ) No. 2015 D 009633
} ar SAS
JANE GIRARD, ) Cal. 99 ENTERED
Respondent. ) dodge Rossana P. Femandes-2141
MARISSA GIRARD, OCT 18 2024
} IRIS ¥ Th
Third Party Respondent. ) oven a at fever |

ORDER

This case coming before the Court for Case Management Conference pursuant
to the Order entered September 5, 2024; Petitioner, KENTON GIRARD, present in
Court, Pro Se; Respondent, JANE GIRARD, present in Court with her counsels, Enrico
J. Mirabelli and Karen V. Paige of Beermann LLP, Third Party Respondent, MARISSA
GIRARD, not appearing in Court; the Court having heard argument regarding
Petitioner, KENTON GIRARD’s, Motion to Stay Proceedings, and having conducted a
Case Management Conference; the Court Orders:

1. Petitioner (Kenton) present in court, pro-se.

2. Respondent {Jane) present in court with her Attorneys, Mirabelli and
Paige.

3. Third-Party Respondent (Marissa} failed to appear.

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Case’ $55.20 daMS DACGHENEE Filed: o47HE95 "Sie 68or 11 PRAgSHPR D4

4. The Court has reviewed a copy of the file-stamped Motion for
Substitution of Judge (as a Matter of Right) filed by Third Party Respondent, Marissa
Girard (file stamped 10-16-24 08:19 pm). The Court inquired if Third Party
Respondent Marissa Girard was present, or if any counsel was present on her behalf,
but Marissa Girard did not appear personally nor through counsel on her behalf.
Third Party Respondent Marissa Girard’s Motion for Substitution of Judge (as a Matter
of Right) is stricken.

5. Minor Child’s Motion to intervene (filed 08-12-24) is Stricken and denied
for lack of legal capacity.

6. After reviewing Petitioner, Kenton Girard’s, Motion for Stay of
Proceedings, and Respondent, Jane Girard’s, Response to Motion to for Stay of
Proceedings, and after hearing argument of counsel and Petitioner, Kenton Girard, the
Motion to Stay of proceedings is Denied.

7. The Court conducted a Case Management Conference and set Trial dates

pursuant to the Court’s Trial Order entered contemporaneously herewith.

ENTERED: 10-18-2415 N TE RED

Karen V. Paige

Enrico J. Mirabelli Kenton Girard
BEERMANN LLP Petitioner (Pro-se)
Attorneys for Respondent, Jane Girard KG5252@Yahoo.com

161 North Clark Street, Suite 3000

Chicago, Illinois 60601 Marissa Girard

T: (312) 621-9700 Third-Party Respondent
Firm No. 80095 MarissaDakis@Gmail.com

ejmirabelli@beermannlaw.com
kpaige@beermannlaw.com

A2

Case’ $595.60 8ah. DAcRRMRER4 Filed: dT GE0BAGe/ A825 11 PeagsiR R&S

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
DOMESTIC RELATIONS DIVISION, THIRD DISTRICT

KENTON GIRARD

) a erro TeG
= 15 D 9633 ENTERED
Petitioner ) Court No. fades ) na P, Femander-2141

Respondent) IBIS ¥, MARTINE

MARISSA GIRARD ) CLE it
Third-Party Respondent ove roti cata foun
TRIAL ORDER
IN PERSON

THIS CAUSE COMING TO BE HEARD FOR TRIAL ASSIGNMENT. Notice to all parties.
The court being fully advised in the premises. IT IS HEREBY ORDERED:

1 Allissues, including Contribution of Attorneys’ Fees, shall be heard at the Trial for this cause,
Unless otherwise ordered by the court.

FEBRUARY 19 2025 q, 01:30 PM
FEBRUARY 20 ; 2025 at 01:30 PM
PRETRIAL is scheduled to proceed on FEBRUARY 21 , 2025 at 01:30 PM
3 DISCOVERY CLOSES ON ___ see below (any claims or documents not

disclosed timely shall be barred). Written Discovery Closes: 1 1-08-24

Oral (Non-Expert) Discovery Closes: 12-31-24; Oral (Expert) Discovery Closes: 1-31-25
FEBRUARY 4, 2025 .

4 Counsel of record and/or the parties gall exchange the following Documents no later than
b. Witness Lists;
c. Written Stipulations;
d. Updated Discovery;
e. Triai Exhibits (and shall provide the court copies via ONE EMAIL with a numerical list of
proposed Exhibits as PDF files and labeled (numerically) no later than 14 days prior to trial.
f. All Motions in Limine.

** Respondent's Motion to correct the Trial Order deadlines, nunc pro tunc to 40-18-24 is GRANTED.

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Case 495.29:08586 DdeORNEH 4 Filed: 047AP DE RW B25 11 Prageli2I06

5 Counsel of Record and/or the Parties shail provide to the Court VIA ONE (1) EMAIL
SUBMISSION, and to each other, Courtesy Copies of the following, within fourteen (14) days

prior to trial, on or before

FEBRUARY 04,

(Ail Exhibits shall be Marked in Numerical Order and attached as separate PDF files to one (1)

Email to the Court):

sme ae oP

Updated Financial Affidavits;

All Exhibits, including a list of stipulated Exhibits;

Any objections (in writing) to the opposing party’s Exhibits;
Witness Lists;
Written Stipulations;
Petitions for Contribution to Attorneys’ Fees;
List of ali other Exhibits not stipulated to; and
Proposed Judgment Order from each party, including a separate Allocation Judgment, if
applicable.

6 Failure to submit appropriate Fee Petition(s) on the day of Trial shall be deemed a waiver of

contribution to Attorney’s Fees.
7 Witnesses not identified on a Witness List shail be barred from testifying at trial.
The parties must provide a court reporter at their own expense.
9 All Settlement discussions between the parties shall take place prior to the day of trial and
No Pretrial Request will be entertained on the day of trial.
10 The case shall be Dismissed for Want of Prosecution if the Petitioner fails to appear and/or fully
comply with this Order.
11 An Order of Default shall be entered against the Respondent if the Respondent fails to appear and/or

does not fully comply with this Order.
KENTON GIRARD (Pro Se)

ENRICO J. MIRABELLI

Petitioner/ Petitioner’s Attorney (print)

KG5252@ Yahoo.com

Respondent/ Respondent’s Attorney (priat)

EJMirabelli@beermanniaw.com

Email for Notices (print)

ATTORNEY CODE:
ATTORNEY NAME:
ATTORNEY FOR:
ADDRESS:
CITY/STATE:
PHONE:

EMAIL:

O/C

Email for Notices (print)

ENTERED:

ENTERED
Judge Roscone P, Femander-2141

s—ee-08 200

OPPOSING SIDE MUST BE COPIED ON ALL EMAILS

*ALL EMAIL “SUBJECT”
* Courtesy Copies 7 Days In advance TO:

LINES SHALL CONTAIN: (LAST NAME OF PETITIONER) AND (COURT NO.) *
coc. PomRe!CR3009@CookCountyiL.Gov

Casclass-25-048d6 Dddamenest1/Filed: 04728 2DRAH B26 11 Paggel(23e97

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE THE FORMER MARRIAGE OF

)
)
KENTON GIRARD, )
Petitioner, )
)
and } No. 2015 D 009633
)
_ JANE GIRARD, ) Aseoclate Judge
Respondent, Gregory Emmett Ahern, Jr.
and ) JAN 14 2025x°
MARISSA GIRARD, )
Third Party Respondent. ) Cireult Court-2090

ORDER ON PETITION FOR SUBSTITUTION OF JUDGE FOR CAUSE

This cause coming before the Hon, Gregory E. Ahern for hearing on January 9, 2025, on Kenton
Girard’s (“Kenton”) November 22, 2024 Petition for Substitution of Judge Rosanna Fernandez for
Cause and December 5, 2024 Supplement to Petition for SOJ for Cause (hereinafter collectively
referred to as the “Petition”), Jane Girard (“Jane”), by and through her attorneys Beermann LLP,
having filed a Response to Petition for Substitution of Judge for Cause and Supplement to Petition
for SOJ for Cause on January 3, 2025, following Kenton’s Motion to Accommodate Petitioner’s
Unavailability filed on December 12, 2024, and Kenton’s email notice of his personal attendance
as a spectator at President James Carter’s funeral service in Washington D.C. on January 9, 2025,
this Court accommodated Kenton by scheduling the hearing via Zoom several hours the conclusion
of the funeral service, Jane, appearing personally and through her attorneys, Kenton and Third-
Party Respondent Marissa Girard (“Marissa”), both having received notice of the proceedings and
receiving additional emails during the proceedings failing to appear by 2:45 p.m. and neither party
appearing by 4:30 p.m. on the Court’s open Zoom, the Court having reviewed the pleadings,
proposed orders, statutes, and case law, and now being fully advised in the premises, HEREBY
FINDS:

A. In summary, Kenton’s Petition raises five arguments in favor of a Substitution of Judge for
Cause: (i) Judge Fernandez improperly denied a Motion for Substitution of Judge as a
Matter of Right filed by Marissa and a Motion to Stay Proceedings filed by Kenton, (ii)
Judge Fernandez is not entitled to judicial immunity, (iii) Judge Fernandez inappropriately
handled affairs in her courtroom by denying Kenton the ability to speak unless asked direct
questions and ordering future proceedings to occur in person, (iv) Judge Fernandez violated
the Americans with Disabilities Act as it relates to, and the First Amendment rights of
Marissa Girard; and (v) Judge Fernandez is a “cancer on the judiciary.”

Page 1 of 3
A2

Case 29%. 20:15 DAR ORISMERLITFiled: C4FMa@S0RARe/ Bar LL PaggelDse8

B. Notably, many of Kenton’s arguments are made on behalf of Marissa Girard, who neither

joined in the Petition nor filed a Response.

C. This matter was assigned to Calendar 99 on August 19, 2024. In the proceeding five

months, Judge Fernandez entered a continuance order following a remote status (9/5/24),
entered a trial order following a case management conference (10/18/24), struck Marissa’s
Motion for Substitution of Judge as of Right after Marissa failed to appear in court to
prosecute her Motion (10/18/24), and denied Kenton’s Motion to Stay Proceedings
(10/18/24).

D. Substitution of judge for cause is governed by section 2-1001 of the Code of Civil

Procedure. 735 [LCS 5/2-1001. Specifically, the statute states:

(3) Substitution for cause. When cause exists.

(i) Each pasty shall be entitled to a substitution or substitutions of judge for

cause,

(ii) Every application for substitution of judge for cause shall be made by

petition, setting forth the specific cause for substitution and praying a
substitution of judge. The petition shall be verified by the affidavit of the

applicant.

(ii) Upon the filing of a petition for substitution of judge for cause, a

hearing to determine whether the cause exists shall be conducted as soon as

possible by a judge other than the judge named in the petition. The judge

named in the petition need not testify but may submit an affidavit if the

judge wishes. If the petition is allowed, the case shall be assigned to a judge

not named in the petition. If the petition is denied, the case shall be assigned

back to the judge named in the petition.

735 ILCS 5/2-1001(a)(3).

E. To succeed on a substitution of judge for cause petition, a party bears the high burden of

showing actual prejudice. Jn re Marriage of O’Brien, 2011 IL 109039, { 30.

F, “Allegedly erroneous findings and rulings by the trial court are insufficient reasons to

believe that the court has a personal bias for or against a litigant.” O’Brien, 2011 IL 109039,
4 31. Previous rulings may only do so “if they reveal an opinion that derives from an

extrajudicial source or [display] such a high degree of favoritism or antagonism as to make
fair judgment impossible.” (Internal quotation marks omitted.) Petalino v. Williams, 2016

IL App (Ist) 151861, $ 36.

G. Kenton’s Petition does not allege or establish that Judge Fernandez has exhibited actual

ptejudice against Kenton or Marissa Girard. Judge Fernandez’s previous rulings and
discretion over her courtroom do not arise to the level of actual bias or prejudice
contemplated under section 2-1001 of the Code of Civil Procedure.

Page 2 of 3
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Cas&ast5-25-08596 Dddumenbit:17Filed: 04/982 DBaue Abel 11 pRage!Bgp99

IT IS HEREBY ORDERED THAT:
1, Kenton’s Petition is DENIED;.
2. This matter shail be returned to Calendar 99 (Hon. Rosanna Fernandez) by separate order
of the Presiding Judge.

ENTERED:

Date

KM po

Hon. Gregory Ahern”

Page 3 of 3
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Case: PASE RBASES DocttREHEE Flea: o4/Faled OM WG02h 11 1Reagallesg.00

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE THE FORMER MARRIAGE OF

KENTON GIRARD,

Petitioner, Case No. 2015 D 009633

and

Respondent,

and

Judge William yu
FEB 14 2025

Circuit Court-2:2 Z|

)
)
)
)
)
JANE GIRARD, )
)
)
MARISSA GIRARD, )

Third Party Respondent. )

ORDER.

This cause coming before the Court pursuant to the Court’s February 7, 2025 order
and for presentment of (i) Third-Party Respondent, Marissa Girard’s Petition for
Substitution of Judge for Cause; Gi) Third-Party Respondent, Marissa Girard’s
Motion for Substitution of Judge as a Matter of Right; Gi) Kenton Girard’s Motion to
Perfect DWP: (iv) Jane Girard’s Motion to Restrict Communication with the Court,
Kenton Girard appearing in person, Marissa Girard appearing through counsel,
Robert Holstein (who represented he has field a limited scope appearance with
respect to the pending petition for substitution of judge), Jane Girard appearing
individually and through counsel, the Court having heard argument of counsel with
respect to Marissa Girard’s Petition for Substitution of Judge for Cause, having
jurisdiction over the parties and the subject matter, and being fully advised in the
premises, IT IS HEREBY ORDERED THAT:

1. This matter is set for trial on May 1 and 2, 2025 starting at 10:30 a.m.
in person in Courtroom 3005 on the following pleadings:

a. Jane’s May 27, 2022 Motion to Appoint a Parenting Coordinator and
Compel Use of Our Family Wizard

b. Jane’s August 31, 2022, Motion to Compel Enrollment in Therapy
(seeking reunification therapy for the family)

c. Jane’s September 20; 2022 Petition for Finding of Parenting Time Abuse
directed against Kenton and Marissa.

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d. Kenton’s July 11, 2023 Motion to Modify Joint Parenting Agreement and.
Custody Judgment,

e. dane’s July 13, 2023 Motion to Enforce the Joint Parenting Agreement;

f Jane’s March 13, 2024 Motion to Modify the Joint Parenting Agreement
and to Implement the 604.10(b) Recommendations.

Said proceedings may be conducted in a hybrid manner and any party/witness who
wishes to appear remotely may seek leave to do so. Said trial dates shall not be
continued absent compelling circumstances.

2. This matter is continued for status on resetting hearings on other
pending motions to February 25, 2025 at 10:30 a.m. via Zoom.

a. Petitioner, Kenton Girard, shall have until 5:00 p.m. on February 14,
2026 to either join Marissa Girard’s Petition for Substitution of Judge for Cause, or
file hia own such petition. In the event he fails to do so, he shall be deemed to have
waived his right to seek a for-cause substitution of judge for any alleged bias
occurring up to and including today’s court proceedings.

4, Third-Party Respondent, Marissa Girard’s Petition for Substitution of
Judge for Cause shall be transferred to Calendar 01 for reassignment via separate
order.

ENTER:
Wl

Dated: February 14, 2025

Order Prepared by opies to

BEERMANN LLP (Firm No. 80095) ke5252@yahoo.com
Attorneys for Respondent marissadakis@gmail.com
161 N. Clark St., Suite 3000 bolsteinrobert iL.com
Chicago, IL 60601

312.621.9700

mdelster@beermannlaw.con.
A2

Case: Caer 4984 Doddomnnént Filed: 04/RaaS Beasslicoe 11 PRaasiiPggi02

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

Kenton Girard
v. 15D9633
Jane Girard PRESIDING JUDGE REGINA SCANNICCHIO 2054
Mar. 12, 2025
Marlyana T. Spyropoulos
Clerk of the Circuit Court

Hearing Order of Cook County, IL

DEPUTY CLERK

This matter comes before this court on a trial assignment for Substitution of Judge for Cause and the
court being fully advised in the premises;

{T 1S HEREBY ORDERED this matter shall be set for an in person hearing before Judge Robert Johnson on
Thursday, April 24, 2025 at 11:00am in Courtroom 2108.

A copy of this order shall be sent to: ejmirabelli@beermannlaw.com, mdelster@beermanniaw.com,
kg5252@yahoo.com and marissadakis@gmail.com

Date: March 12, 2025

Judge’s Signature

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

In re the Former Marriage of: )
)
Kenton Girard, )
Petitioner, )
)
and: )
. y 9

Jane Girard, ) Case No. 20151009633
Respondent.
and )
)
Marissa Girard, )
Third-Party Respondent. }
ORDER

THIS CAUSE coming before the Court on the Court’s own motion; Respondent Jane Girard, by
and through-her attorneys Beermann LLP, having filed a Motion to Disqualify Attorney Robert
Allan Holstein (“Motion to Disqualify”) on March 18, 2025, and also filing a Notice of Motion on
March 19, 2025, in connection to the Motion to Disquelify setting the matter before Judge Robert .
Johnson on April 11, 2025, for immediate hearing; this Court having previously set a hearing on
Marissa Girard’s February. 11, 2025, Petition for Substitution of Judge for Cause on Thursday,
April 24, 2025, at 11:00 am in person before Judge Robert Johnson; and the Court now being fully
advised in the premises, HEREBY FINDS:

1. Robert Holstein filed a Limited Scope Appearance to present Marissa Girard’s
Motion for Substitution of Judge on February 13, 2025; ,

2. The Motion to Disqualify is directly related to the pending Substitution of Judge
for Cause hearing scheduled before Judge Robert Johnson; and '

3. The Motion to Disqualify should be heard before the hearing on the Substitution of
Judge for Cause. .

IT IS HEREBY ORDERED:
A. The April 11, 2025, presentment date and on Respondent Jane Girard’s Motion to
Disqualify is stricken;
B, The Motion to Disqualify shall be heard by Judge Robert Johnson on April 24,
2025, at 11:00 am via Zoom (Meeting ID: 934 9022 2003 Passcode: 543296), and
C. Judge Robert Johnson shall determine how to proceed on the pending Substitution
of Judge for Cause hearing following his ruling on the Motion to Disqualify,

ENTERED: He [ 298)

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Order

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

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cp. 24

DAN’ G@i@AD
CARICA GHAR Te [ayrded)

ORDER

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Holidein, olf Garkles of focrirg, Perpordes)> offering flans\ Cuma), i ts HERZ ORDERD THAT:

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"ENTERED |
judge Robert Johnson-2 156

APR 2.4 2025
Aworney Noz 80095. OER PETE SONY, FOU"
Name: : NTERED
Ary. for: Resfoadely

Address: le AJ Ch # San
Ciy/Seare/Zip: CAtem 6 Gaba
Telephone: Qit- Gtt 11a

Mariyana T. Spyropoulos, Clerk of the Circuit Court of Cook County, Iinois

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Exhibit C

IN THE CIRCUIT COURT OF COOK COUNTY, ELLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

JANE F. GIRARD,

Plaintiff,
vs. Calendar 1
KENTON GIRARD and Case No. 2015-D-009633
MARISSA GIRARD,
Defendants.
KENTON GIRARD,

Crossclaim Plaintiff,

NOTICE OF FILING;
NOTICE OF REMOVAL
TOT ORTHERN DISTRICT

OF TLL, EASTERN DIVISION

vs.
MARISSA GIRARD,

Crossclaim Defendant.

MARISSA GIRARD,
Counterclaim Plaintiff

and Third Party Plaintiff
VS.

JANE F. GIRARD,
Counterclaim Defendant,

VANESSA L. HAMMER ESQ,
KAREN V. PAIGE ESQ,
CANDACE L. MEYERS ESQ and
DETECTIVE RYAN MCENERNEY,

ee ee Nel Ne Nee Neel Nee el ee Sse ae ane Net Sheer Name eee! mt Net Smet Stee Sm Smee eet Snie Seema Meme” ae” Sua’ Scare “gu” Sa” “tamed” Seat?

Third Party Defendants.

NOTICE OF FILING: NOTICE OF REMOVAL
Piease take notice that pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,
Defendant/Crossclaim Defendant Marissa Girard has filed contemporaneously with this filing a

Notice of Removal in the United States District Court for the Northern District of Illinois,

Notice of Filing: Notice of Removal A2 1

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Eastern Division, a copy of which is attached as Exhibit 1, and that said matter shall proceed
hereafter in the United States District Court for the Northern District of Illinois, Eastern
Division.

DATED: April 28 2025 Respectfully submitted,

MARISSA GIRARD

By:  4s/ Marissa Girard
965 Forestway Drive
Glencoe, IL 60022
marissadakis ail.com
Tel: 773-425-4393

ERTIFICATE OR

This undersigned certifies that a copy of the foregoing was electronically filed with the
Clerk of this Court and was served this 28th day of April 2025 by email to the attorneys who
have entered their appearances hereunder. A copy of the foregoing was also transmitted to the
office of Hon. Scannicchio via the below-listed points of contact.

Hon. Regina A. Scannicchio
Presiding Judge of Domestic Relations Division

coe. domreleri 905 @cookcountyilgov

Jaime A. Barcas
Executive Assistant for Hon. Scannicchio

jaime. barcas@cookcountyil, gov

dsl Kenton Girard
Kenton Girard

Notice of Filing: Notice of Removal A2 2

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EXHIBIT 1
THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

JANE F. GIRARD,
Plaintiff,
v.

KENTON GIRARD and
MARISSA GIRARD,

Defendants.

KENTON GIRARD,

Crossclaim Plaintiff,

v.
MARISSA GIRARD,

Crossclaim Defendant.

MARISSA GIRARD,

Counterclaim Plaintiff &
Third Party Plaintiff,

v.
JANE F. GIRARD,
Counterclaim Defendant,

VANESSA L. HAMMER,

KAREN V. PAIGE,

CANDACE L. MEYERS and
DETECTIVE RYAN MCENERNEY,

Third Party Defendants.

Civil No.

District Judge

Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant/Crossclaim Defendant

Marissa Girard now files this Notice of Removal (“Notice”) for the action filed in the Circuit

Notice of Filing: Notice of Removal

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Court of Cook County, State of Illincis, case number 2015-D-009633, styled as Jane Girard v.
Kenton Girard (“State Court Action”).

Pursuant to 28 U.S.C. § 1446(a), the process and pleadings served upon
Defendant/Crossclaim Defendant Marissa Girard through April 28 2025 are attached as Exhibit
A, and the orders served upon Defendant/Crossclaim Defendant Marissa Girard through April 28
2025 are attached as Exhibit B.

On May 26 2023, Jane Girard filed an alias summons (Exhibit A) which references a
“Motion to Add Third Party”. About a month later, Marissa Girard was served with said
summons together with an accompanying paper entitled “Motion to Join Third Party” filed on
March 8 2023 (Exhibit A). That “Motion to Join Third Party” is a motion — not a pleading —
seeking court permission for taking the steps required to join Marissa Girard as a defendant, does
not even include Marissa Girard in its caption, and therefore constitutes deficient joinder under
735 ILCS 5/2-201(a).

On April 28 2025, Defendant/Crossclaim Plaintiff Kenton Girard served a declaratory
judgment pleading (“DJ Crossclaims”) on Marissa Girard, which paper raises federal questions,

owing to a Postnuptial Indemnification Agreeme

1t which provides for indemnification by
Kenton as to Marissa’s reasonable and necessary legal fees if her rights under the Constitution or
federal law are violated owing to a course of action by Jane F. Girard and therefore raises federal
and Constitutional questions.
L This Notice is Timely.

Removal of this action is timely under 28 U.S.C. § 1446(b), which provides that “[t]he
notice of removal of a civil action or proceeding shall be filed within thirty days after the receipt

by the defendant, through service or otherwise, of a copy of the initial pleading setting forth the

Notice of Filing: Notice of Removal A2 4

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claim for relief upon which such action or proceeding is based[.]” In this case,
Defendant/Crossclaim Defendant Marissa Girard has repaired to federal court on the very same
day she was served with the removable pleading from Kenton Girard.

Il. The Northern District of Illinois is the proper venue.

Venue in this District is proper under 28 U.S.C. § 1441(a) because the Circuit Court of
Cook County, Illinois (where the State Court Action is pending) is within the jurisdiction of the
United States District Court for the Northern District of Illinois, Eastern Division.

Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice is being filed with the clerk of the
Circuit Court for Cook County and will be served upon Plaintiff contemporaneously with this
filing. A copy of the Notice of Filing of Notice of Removal is attached hereto as Exhibit. C.

Ill. Federal Jurisdiction Exists.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
Crossclaim Plaintiff Kenton Girard has brought claims which raise federal questions. Because
the entire pleading arises under the same “case or controversy,” this Court “shall have
supplemental jurisdiction over all other claims.” 28 U.S.C. § 1367.

The recent Supreme Court decision under Home Depot U.S.A., Inc. v. Jackson, 587 U.S.
____ (2019) established that 28 U. S. C. §1441{a) does not permit a third-party counterclaim
defendant! to remove a claim. However, the posture here is noticeably different: (a) Marissa
Girard is an “original defendant” under the State Court Action, which implicated a federal
question only at the moment when her co defendant filed a crossclaim against her; and (b) the
Federal Rules of Civil Procedure distinguish between counterclaims and crossclaims (Rule 13).

Continuing, the Domestic Relations Exception does not apply here because Marissa

' Under Supreme Court Justice Thomas’s opinion, “third-party counterclaim defendant’ refers toa
party first brought into the case as an additional defendant to a counterclaim asserted against the original
plaintiff.

Notice of Filing: Notice of Removal A2 5

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Girard was never actioned with a pleading, much less a pleading seeking domestic relations style
relief. To provide even more clarity, Marissa Girard has neither a biological connection nor a
claim to parental responsibility as to the minor children of Kenton Girard and Jane F. Girard.

The State Court Action appears to constitute a post-decree effort to adjudicate the custody
of the minor children, although it is difficult to decipher lacking pleadings filed by Plaintiff Jane
F. Girard, and because of the most recent description of the trial under the State Court Action
provided by Beermann LLP attorney Enrico J. Mirabelli on February 14 2025 as a “criminal
contempt trial against Kenton & Marissa Girard”. Moreover, the Trial Order of Hon. William Yu
from the same date references a “Petition for Finding of Parenting Time Abuse directed against
Kenton and Marissa” — an alleged pleading which does not exist (and by the description, is
nonsensical — Marissa Girard has no parenting rights to the minor children) and which paper has
certainly not been served on Marissa Girard.

The minor children have already been identified as victims of sexual abuse at the hands
of their biological mother, Jane F. Girard, who asserted her Fifth Amendment right against
self-incrimination under questioning by Prosecutor Mary Stein from the Illinois State’s Attorneys
Office on September 7 2023. From a civil standard, Jane F. Girard is an admitted child sex
abuser and therefore divested of the right to seek a custody remedy in any court of law. The
federal government has an interest in protecting violent/sex crime victims, and parental rights
under the Fourteenth Amendment are implicated.

If any questions arise as to the propriety of the removal of this action, Crossclaim
Defendant Marissa Girard requests the opportunity to supplement this Notice. Crossclaim

Defendant expressly reserves ali objections she may have to the DJ Crossclaims.

Notice of Filing: Notice of Removal A? 6

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WHEREFORE, Crossclaim Defendant Marissa Girard hereby gives notice that the State

Court Action has been removed to this Court.

Dated: April 28 2025 Respectfully Submitted,
for Crossclaim Defendant Marissa Girard:

/ Marissa Girard
965 Forestway Drive
Glencoe, IL 60022

Email: marissadakis@gmail.com
Tel: 773-425-4393

CERTIFICATE OF SERVICE

The undersigned certifies that this paper and all attachments were (a) electronically filed
with the clerk of this Court on April 28 2025, (b) provided via email to the attorneys who have
filed appearances in this matter as indicated below, and (c) provided via email and hand-delivery
to Kenton Girard, who is pro se hereunder:

kpaige(@beermannlaw.com, for Jane F. Girard

iduffy@smbtrials.com, for Vanessa Hammer

kimberly, blair@wilsoneiser.com, for Karen Paige and Candace Meyers
jkivetz/(@isotoslaw.com, for Ryan McEnerney

for delivery to Kenton Girard:
965 Forestway Drive
Glencoe, IL 60022

Email: kg5252@yahoo.com
/s/ Marissa Girard

Notice of Filing: Notice of Removal A2 7

JANE F. GIRARD,

vs.

For the Plaintiff:

For the Defendant
Kenton Girard:

Court Reporter:

Gase: 25-1854 Document: 7

Plaintiff,

MARISSA GIRARD and KENTON

Filed: 06/03/2025 Pages: 238

] UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Case No. 25 CV 04586

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GIRARD, Chicago, Illinois
May 6, 2025
Defendants. 10:07 a.m.
TRANSCRIPT OF PROCEEDINGS - MOTION HEARING
BEFORE THE HONORABLE JEREMY C. DANIEL
APPEARANCES:

BEERMANN LLP

BY: MR. ENRICO J. MIRABELLI
461 North Clark Street
Chicago, Illinois 60601

PRO SE

BY: MR. KENTON GIRARD
965 Forestway Drive
Glencoe, Illinois 60022

KRISTA BURGESON, CSR, RMR, CRR
219 S. Dearborn Street

Chicago, Illinois 60604
312-435-5567
krista_burgeson@iind.uscourts.gov

* * & kk

PROCEEDINGS REPORTED BY STENOTYPE
TRANSCRIPT PRODUCED USING COMPUTER-AIDED TRANSCRIPTION

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Gase: 25-1854 Document: 7 Filed: 06/03/2025 Pages: 238

(Proceedings heard in open court:)

THE CLERK: 25 C 4586, Girard versus Girard, et al.,
for motion hearing.

MR. MIRABELLI: Good morning, Judge.

Judge, Enrico Mirabelli of the Beermann firm. We are
here on behalf of Jane Girard, our client.

THE COURT: Good morning.

And sir?

MR, GIRARD: Kenton Girard, defendant.

THE COURT: Okay. This case is before me on a
removal.

Typically I would set a status in 70 days so that the
parties can file any motions to remand, for improper removal,
what have you, and then I bring them in to get a sense of where
things stand.

In this case apparently that is not a prudent course
of action, according to one side, you wanted to be heard, and
so I will hear you now.

MR. MIRABELLI: Thank you, Judge.

We filed a motion to reconsider respectfully because
we have some deadlines in the State Court, and we don't
understand, and maybe this is all on us, but how is this
divorce case part of a removal? The fact that Mr. Girard and
Marissa Girard, my client's name is Jane, Mr. Girard and Mrs.

Girard are now apparently suing each other on a cross-claim

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Gase: 25-1854 Document: 7 Filed: 06/03/2025 Pages: 238

that they filed without leave of Court and within a matter of
an hour the wife then moves the case to Federal Court, taking
with us our divorce case.

And as I said in our pleadings, we were set for
hearing I think it was -- I want to be as accurate as I can, it
might have been their fourth motion for substitution of Judge
for cause, in addition to their motion for substitution of
Judge for right. So that matter is set to be heard on Tuesday
morning.

On Monday they go and remove the case. Within a
matter of hours we ask to remand and say, if Mr. and Mrs.
Girard want to litigate in Federal Court over this declaratory
judgment action over an alleged post-nuptial agreement, that is
never attached to any pleadings, never heard about before,
okay, fine, but our divorce case is set, our divorce case
meaning our post-judgment petition to get our client parenting
time back with her children, who she hasn't seen for a couple
years. So in order to do that we had trial dates set for May
1st and May 2nd.

When Your Honor issued the order after the notice of
removal granting the briefing schedule, I went before the State
Court judges and informed them that there had been a notice of
removal, and struck those dates.

Now, these two little girls, and I don't mean to be

disrespectful, these teen-age girls are 17. At age 18, the

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trial court will lose jurisdiction over them as they will be
emancipated. We have alleged in our pleadings to you that

Mr. Girard and his current wife have been running the clock for
the last two years to avoid this hearing, and there is no
reason for our divorce case to be in Federal Court.

We have cited the statute having to do with sever, and
we felt that if we waited until June to come back and argue
this, it was only set for a status. So we have asked the Court
respectfully to immediately sever the divorce filing away from
this declaratory judgment action.

And again, I am not arguing whether there is Federal
jurisdiction here, a Federal question, whether I see it or
don't see it, I don't have an interest in that fight between
Mr. and Mrs. Girard. What I have an interest in is getting to
a hearing so my client has a chance to start seeing her
children. That is the most important goal that I have been
fighting for for at least a year and a half myself, and my firm
has been involved in the case for almost two and a half years
or longer.

As we noted in some of these pleadings that we filed,
Judge, I think it is no Tess than six or seven of the lawyers
in my firm have been sued pro se by Mr. and Mrs. Girard, one of
them has been sued twice, once by each Mr. and Mrs. Girard.

So I think it is clear, and maybe it is because J am

too close to this, Your Honor, but we are trying to give you a

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picture that there is no reason to be here other than to derail
the trial, and they successfully did that. By filing that
notice of removal they took away our trial dates.

The last Judge that ruled on the matter, Judge
Johnson, about a week and a half ago, within three days they
named him as a defendant in a Federal lawsuit. So that is the
Judge that is supposed to hear my motion for SOQJ for cause -- I
apologize, Mrs. Girard's motion for SOJ for cause.

So for all of those reasons we are imploring this
Court and asking this Court to maybe take a Took at what is
going on here.

I know Mr. Girard will speak in a second. I am
curious as to what he will say as to why he is objecting to the
divorce case proceeding because he agreed I think in the
pleading I saw. Mrs. Girard said that her husband agreed to be
sued in Federal Court.

So our whole basis here is we are asking the Court to
immediately sever the domestic relations proceedings from the
matter that was removed and allow us to proceed, or in the
alternative, give us a more expedited hearing date.

Judge, I don't know if I have answered any questions
you may have, but if you have any questions of me I would like
the opportunity to respond.

THE COURT: Can you remind me who you represent? Is

it Jane Girard?

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MR. MIRABELLI: Our firm represents Jane Girard, and
she is the mother of these two young girls.

THE COURT: Understood.

MR. MIRABELLI: Marissa is the new wife of Mr. Girard,
who is standing to my left and your right.

THE COURT: And Mr. Girard, why is this case eligible
for removal to Federal Court?

MR. GIRARD: Your Honor, I have a couple things that I
was hoping I could say, if that is all right.

THE COURT: You will start by answering my question.

MR. GIRARD: Okay.

THE COURT: Why is this case appropriately in Federal
Court?

MR. GIRARD: There have been a lot of issues in State
Court, namely since it was removed. They have also signed two
State orders since it was in Federal jurisdiction. It was
removed on April 28th, they have signed an order on the 29th,
and after that, they have written a third order asking another
Judge, Judge Ewing (phonetic) in State Court, to sign that.
And as of yesterday, they followed up with two requests from
him to sign that, and in one of those orders they struck the
SOJ for cause and --

THE COURT: You are not answering my question. You
are telling me what happened after removal.

MR. GIRARD: Yes.

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THE COURT: I want to know why the case is
appropriately in Federal Court?

MR. GIRARD: It is in Federal Court because there has
been a series of misconduct by opposing counsel including the
fact that he just stated it 4s over two years, but it has
actually been nearly three years, and per Supreme Court Rule
922, all domestic cases should have been resolved within 18
months, and --

THE COURT: That is a State Court rule.

MR. GIRARD: Okay.

THE COURT: We are going to start from a civics
lesson. This is a Federal Court. I ama Court of limited
jurisdiction. You either have a Federal question, meaning a
Federal statute, or a Federal law is at play, or there is
diversity jurisdiction, where the people on either side of the
“\y" are from different states, and the amount in controversy is
in excess of $75,000.

Are either you or Jane Girard not citizens or are you
both citizens of I11inois?

MR. GIRARD: Yes, we are all citizens.

THE COURT: So it is not a diversity case.

What is the Federal statute that you asserted or is at
play in the State Court proceedings?

MR. GIRARD: Your Honor, I would like to take the time

to brief it and --

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THE COURT: No. You removed it, which means you had a
reason to remove it. You should be able to explain it to me
and --

MR. GIRARD: I would like to --

THE COURT: Stop, you do not talk over me. You also
do not file frivolous lawsuits or frivolous pleadings. I can
sanction you and hold you in contempt for that and I will.

So you, standing here today having removed this action
to Federal Court, have a reason, and that reason cannot be, I
don't like how things were going in State Court, because when I
look at my law books, that is not a justification.

I have told you the two instances in which you can
remove a case to Federal Court. We have established that it
is not diversity jurisdiction because you and Jane Girard are
both citizens of the great State of Illinois. And so what is
the Federal question that gives me the authority to hear this
case?

MR. GIRARD: My current wife Marissa and I had a
post-nuptial indemnification agreement and we had an issue with
what she wanted to do with that, because I did not agree with
what she wanted to do, and so we filed a cross-claim, and {I
filed it against her and asked -- and I believe she removed it
into Federal Court. That was in our notice of removal on the
second page.

THE COURT: I have got Ms. Girard's counsel here

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ase: 25-1854 Document: 7 Filed: 06/03/2025 Pages: 238

telling me you did not remove it to Federal Court.

Or are you talking about the new wife?

MR. MIRABELLI: The new wife, Marissa Girard, moved it
to Federal Court. Kenton sued his current wife and then she
turned around within a matter of we think moments and filed a
notice of removal, and then Mr. Girard sent the notice of
removal at 12:48 on Monday of last week telling us it has been
removed,

THE COURT: Where is Marissa Girard? Why is she not
here? Neither of you can answer that. I understand. Never
mind.

What is the cross-claim that implicates 4 Federal
question, Mr. Girard?

MR. GIRARD: That was not my motion, Your Honor. I
think she wanted to brief that out.

THE COURT: Okay.

MR. GIRARD: I just learned about this through the
docket. I was not even noticed, Your Honor.

THE COURT: My apologies, since it wasn't your motion
or your removal.

MR. MIRABELLI: Judge, if 1 may.

We noticed Marissa Girard of this motion. She is the
one that did the removal. Mr. Girard did not have an
appearance on file and I think he may have filed it either late

last night or very early this morning. So at the time I

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noticed this up I noticed it to the only person I thought was
entitled to notice, and that is Marissa Girard.

THE COURT: I will review the docket. If I don't see
an appropriate Federal question I will remand. I will review
that today.

MR. MIRABELLI: Thank you, Your Honor.

THE COURT: Thank you.

Both of you have a good day.

(Proceedings concluded at 10:12.)

* * *& *

I certify that the foregoing is a correct transcript

of the record of proceedings in the above-entitled matter.

/s/Krista Burgeson, CSR, RMR, CRR May 28, 2025
Official Court Reporter

A3

JANE F. GIRARD,

vs.

For the Defendant
Kenton Girard:

Also Present:

Court Reporter:

Gase: 25-1854 Document: 7

Plaintiff,

MARISSA GIRARD and KENTON

For the Plaintiff:

Filed: 06/03/2025 Pages: 238

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Case No. 25 CV 04586

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GIRARD, Chicago, Illinois
May 15, 2025
Defendants. 10:01 a.m.
TRANSCRIPT OF PROCEEDINGS - MOTION HEARING
BEFORE THE HONORABLE JEREMY C. DANIEL
APPEARANCES:

BEERMANN LLP

BY: MR. ENRICO J. MIRABELLI
161 North Clark Street
Chicago, Illinois 60601

PRO SE

BY: MR. KENTON GIRARD
965 Forestway Drive
Glencoe, Illinois 60022

MS. ALISON MUTH

KRISTA BURGESON, CSR, RMR, CRR
219 S. Dearborn Street

Chicago, Illinois 60604
312-435-5567
krista_burgeson@ilnd.uscourts.gov

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PROCEEDINGS REPORTED BY STENOTYPE
TRANSCRIPT PRODUCED USING COMPUTER-AIDED TRANSCRIPTION

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(Proceedings heard in open court:)

THE CLERK: 25 C 4586, Girard versus Girard, et al.

Please state your name for the record and the party
that you represent.

MS. MUTH: (Inaudible. )

THE COURT: Ms. Muth, you are coming in muffled. I
don't know if you need to be coming in closer to your
microphone or --

(Discussion held off the record.)

THE COURT: Mr. Mirabelli, if you can do a test for
us.

MS. MUTH: Can you hear me, Judge? Hello?

THE COURT: We hear you but not -- it is coming
through like an auxiliary speaker, and so we are trying to
figure out how to get better sound.

Can you try one more time?

MS. MUTH: Yes, sir. Is this any better? I will try

to speak a little louder but --
THE COURT: Hold on.
(Discussion held off the record.)

THE COURT: We will give it a try. I apologize in
advance if there are interruptions but if we aren't getting
satisfactory sound we will have to stop.

So Ms. Muth, you have appeared on behalf of Marissa

Girard?

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MS. MUTH: Yes.
THE COURT: Mr. Mirabelli, you have appeared on behalf

of --

MR. MIRABELLI: Jane Girard.

THE COURT: Okay.

Mr. Girard, your appearance.

MR. GIRARD: Kenton Girard, pro se, appearing for
myself.

THE COURT: So there are a couple motions up.

The first thing we have to address, Ms. Muth, your
client filed something regarding remand. Are you standing by
that or withdrawing it?

MS. MUTH: (Inaudible. )

THE COURT: I am going to have to ask you folks to
indulge me so we can get Systems up here to fix this. We will
have to have someone from Systems come up because I am not sure
why this is not working on our end.

I am going to pass the case briefly and hear the next
matter up. Once Systems comes up I will interrupt the next
proceeding and continue with this one. All right? I
apologize.

(The case was passed and was later recalled as follows: )

THE CLERK: 25 C 4586, Girard versus Girard, et al.

Please state your name for the record and the party

that you represent.

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THE COURT: Can we get appearances again?
First for Jane Girard?

MR. MIRABELLI: Enrico Mirabelli on behalf of Jane

Girard.
THE COURT: For Marissa Girard?
MS. MUTH: Allison Muth on behalf of Marissa Girard.
THE COURT: Mr. Girard?
MR. GIRARD: Kenton Girard, pro se.
THE COURT: Good morning everyone. Sorry about the
delay.

So where we left off yesterday there was the motion to
vacate the remand order. I asked Ms. Muth to take a look and
see if she intended to stand by it.

What is your position?

MS. MUTH: Well, Your Honor, there is a lot going on
in this case. There are a lot of different lawsuits, a lot of
different issues.

Particular in my representation stems the scope of
Marissa Girard, who is the current wife of the respondent -- of
the plaintiff, the original plaintiff, Kenton Girard, who is
now the respondent in this new matter. It was an original
divorce case in State Court and has been brought before Your
Honor in Federal Court.

The issue that this case has been brought in Federal

Court is because Marissa has a pending Civil Rights lawsuit

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with Constitutional issues that was brought. That is in 25 CV
00136.

Now, there is an issue of attorney's fees that is
being brought up today, and there is a -- from my
understanding, there was a post-nuptial agreement between
Kenton Girard and Marissa Girard, which is her Constitutional
-- if her Constitutional rights become violated as a result of
her involvement or her forced involvement, because first of
all, Your Honor, there is no reason my client should even be
involved in this lawsuit in the first place, and --

THE COURT: Before you continue on, my question --

MS. MUTH: Uh-huh?

THE COURT: My principal concern is whether this
lawsuit belongs in Federal Court.

As you indicated, it is a divorce case where a
cross-claim was filed bringing in your client, but what basis
does that provide me? Does that confer subject matter

jurisdiction on me under the removal statute?

MS. MUTH: On the cross-claim it does, Your Honor,
because there are Constitutional issues that my client is
raising.

THE COURT: And what authority are you citing for
that?

MS. MUTH: Um, Your Honor, we have -- jet me pull it
back up.

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So Marissa is an original defendant, so she is not
precluded to removal under Home Depot versus Jackson, and that
is 17-1471.

THE COURT: Are you saying that your client was an
original defendant in the case filed?

MS. MUTH: Yes.

THE COURT: She wasn't even named in the original
case. How was she a defendant? She was brought in in a
cross-claim.

MS. MUTH: She was not in-pleaded, and so I guess the
first defendant is Kenton Girard, and then -- I guess directly
by the operative plaintiff in this matter, Jane Girard.
Confusing, but that is the way we are seeing it right now.

THE COURT: It is not confusing.

There was a civil action filed, correct?

MS. MUTH: Correct.

THE COURT: And that civil action was a divorce case
involving Jane and Kenton Girard, correct?

MS. MUTH: Right, correct.

THE COURT: And what under any Supreme Court or
Seventh Circuit precedent has me look beyond the original
action filed to identify who is a defendant and who can remove
a case to Federal Court?

MS. MUTH: Well, it is our position -- Judge, it is my

client's position that she is an original defendant in this

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matter, because she was being held and there are contempt
proceedings going on, criminal contempt proceedings, so she has
got -- there are issues of her civil rights that are being
implicated by this lawsuit.

THE COURT: How is she an original defendant if she is

not a party to the union that was the subject of the divorce

case?

MS. MUTH: That is a good question, Judge. I mean,
that I do not have the answer for unfortunately because -- and
I don't --

THE COURT: I am going to stop you there.

MS. MUTH: I am --

THE COURT: Ms. Muth, I am going to stop you there.

MS. MUTH: Okay.

THE COURT: It does not work if we speak over each
other, and given where I sit I have the privilege to interrupt
you, so when I do, I ask that you stop and you listen to my
question.

And so if you don't have an answer of explaining how
she is an original defendant to this case, why are you arguing
that she was an original defendant in this case?

MS. MUTH: Your Honor, because she is being named as
an original defendant in this case.

THE COURT: By Jane Girard?

MS. MUTH: Yes.

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THE COURT: In this case?

MS. MUTH: Yes.

THE COURT: Okay. She is named as a defendant. So in
that original action, what basis is there to remove this case
to Federal Court?

MS. MUTH: Violation of her Constitutional rights.

THE COURT: And that was --

MS. MUTH: And that is also --

I apologize, Judge. Go ahead.

THE COURT: And that was brought in through a
cross-claim, correct?

MS. MUTH: Yes.

THE COURT: Okay.

So the Supreme Court has ruled that this -- I am
quoting, this Court has long held that a District Court, when
determining whether it has original jurisdiction over a civil
action, should evaluate whether that action could have been
brought originally in Federal Court. This requires a District
Court to evaluate whether the plaintiff could have filed its
operative complaint in Federal Court, either because it raises
claims arising under Federal law or because it falls within the
Court's diversity jurisdiction. Section 1441(a) thus does not
permit removal based on counter-claims at all, as a
counter-claim is irrelevant to whether the District Court had

original jurisdiction over the civil action.

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So parsing through that, yes or no, the basis of
removal is a Federal question and not diversity jurisdiction?
Ms. Muth?

MS. MUTH: Yes.

THE COURT: And this is not a counter-claim instance,
this is a cross-claim instance, correct?

MS. MUTH: Correct.

THE COURT: And let me back up.

The original action as filed by Jane Girard did not
include a Federal question?

MS. MUTH: Correct.

THE COURT: Okay.

The Supreme Court went on in Home Depot USA Inc.
versus Jackson, 587 U.S. 435, pages 441 to 42, which is the
case I was just quoting, to say, and because the civil action
of which the District Court must have original jurisdiction as
the action as defined by the plaintiff's complaint. The
defendant to that action is the defendant to that complaint,
not a party named in the counter-claim.

Ms. Marissa Girard and her removal notice tried to
distinguish Home Depot based on it being a cross-claim and not
a counter-claim, but then I look at the Seventh Circuit case
law, which is Atkins versus I]linois Central Railroad Company,
326 F.3rd, 828, at 835 to 36, and it says, even if Federal

jurisdiction was lacking at the outset, the question arises

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again whether jurisdiction over the case as a whole was somehow
created when Birmingham Steel filed its third-party complaint
against Amtrak. It is clear that an original stand-alone
lawsuit against Amtrak would fall within the original subject
matter jurisdiction of the Federal Court, nevertheless, we must
consider whether the existence of a third-party complaint
effects the Court's subject matter jurisdiction over the
original action. We conclude that it does not.

This in my view is consistent with the Supreme Court's
reasoning in Homes Group Inc. versus Vornado Air Circulation
Systems, 535 U.S. 826 at 831 to 832, where the Supreme Court
wrote, it would allow a defendant to remove a case brought in
State Court under State law, thereby defeating a plaintiff's
choice of forum simply by raising a Federal counter-claim,
second, conferring this power upon the defendant would
radically expand the class of removable cases contrary to the
do regard for the rightful independence of State governments
that are cases requiring removal require -- which indicates to
me that the Supreme Court is not interested in expanding the
ability to remove cases by pleading of the defendant or
defendants in bringing in additional cross-claims and
counter-claims. I am to look at the original action, which is
the complaint filed by Ms. Girard.

Do you have anything that is contrary to that,

Ms. Muth?

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MS. MUTH: I do not, Your Honor.

THE COURT: Okay.

Mr. Girard, do you have anything contrary to that law
that tells me to look at something other than the original
case, the original action filed, to determine whether I have
jurisdiction under the removal statute?

MR. GIRARD: I am not sure I fully understand the
question but I am going to attempt to respond.

My understanding is that the circumstances for the
removal is completely exactly analogous to the common insurance
case scenarios where they have a case and then they have a
separate case on a declaratory lawsuit request, and that is
what the intent of this was, to get that declaratory judgment
based on our post-nuptial indemnification agreement, which I do
have if you are interested, I just would want it sealed if it
is put in the record, if that matters, Your Honor.

THE COURT: What is it you want to hand up?

MR. GIRARD: This is the post-nuptial indemnification
agreement, which was the hope that this would --

JHE COURT: I have seen that. You have to pay the
attorney's fees for --

MR, GIRARD: Oh, yes. But I don't think you have seen
it, Your Honor, the actual agreement itself, unless Ms. Muth
gave it to you.

MS. MUTH: I have not.

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MR. GIRARD: I didn't file it because I wanted it to
be sealed if it was, and that is why I brought it to you, if
you would like to Jook at it.

THE COURT: Okay. We will take it and file it under
seal. It does not effect my determination on remand.

This case is remanded to State Court because the
original action did not raise a Federal question, and
therefore, is not properly before this Court because I lack
subject matter jurisdiction over it.

And I believe what you are referring to, Mr. Girard,
is Section 4A, which reads that if any course of action
undertaken by Jane Girard proximately causes a violation of
Marissa Girard's rights secured under the Constitution or under
Federal Jaw, then Kenton Girard will indemnify Marissa from all
necessary and reasonable legal billings incurred to address
said violations as long as Kenton and Marissa are married and
residing together for more than seven days per month.

Correct?

MR. GIRARD: That is correct, Your Honor.

We were basically asking for the declaratory judgment
based on that, and that was the intent of this.

THE COURT: And that is the basis of your cross-claim,
which is that you have to indemnify her, but nothing in this
action -- nothing in what Jane Girard filed implicates Marissa

Girard's -- or it doesn't raise a Federal question.

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MR. GIRARD: That was a separate Federal lawsuit which
does enumerate all of the violations in the counts, and I have
a copy of that if you --

THE COURT: That is a separate lawsuit. It has
nothing to do with -- that is a separate lawsuit. If you want
to -- it is not this case.

This case involves Jane Girard's complaint against you
and Marissa related to child custody.

MR. GIRARD: Well, Your Honor, it is separate than the
child custody part, and that is where I was saying that it --
my understanding of it was the analogy of the insurance
companies who ask for declaratory judgment while the other case
is going contemporaneously, at the same time, and --

THE COURT: The case remains remanded because I have
no jurisdiction over it.

That leaves the motion for attorney's fees and the
motion to direct the clerk to immediately transmit a certified
copy.

I am going to deny the motion for attorney's fees.
Marissa Girard filed her notice of removal with her
understanding of Home Depot, that case which dealt with
counter-claims not cross-claims, giving her a plausible though
legally incorrect basis for asserting removal. You have to
look back I think 16 years before Home Depot for the Seventh

Circuit to address the issue of cross-claims. And so I don't

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see a justification for imposing attorney's fees.

As for the remand, any opposition to immediate remand
from you, Mr. Girard?

MR. GIRARD: I would Teave it up to the Court's
discretion. I can't think of a legal reason to do anything
more than what you feel is appropriate.

THE COURT: Ms. Muth, any opposition to an immediate

remand?

MS. MUTH: No, Judge.

THE COURT: All right.

So that motion will be granted.

That concludes our business here today. Thank you
all.

MR. MIRABELLI: Thank you, Judge.
MS. MUTH: Thank you.
MR. GIRARD: Thank you.

(Proceedings concluded at 10:29 a.m.)

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I certify that the foregoing is a correct transcript

of the record of proceedings in the above-entitled matter.

/s/Krista Burgeson, CSR, RMR, CRR May 29, 2025
Official Court Reporter

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UNITED STATES DISTRICT COURT
FOR THE Northern District of Ilinois - CM/ECF NextGen 1.8 (rev. 1.8.3)
Eastern Division

Jane F. Girard
Plaintiff,
v. Case No.: 1:25-—cv—04586
Honorable Jeremy C. Daniel
Marissa Girard, et al.
Defendant.

NOTIFICATION OF DOCKET ENTRY

This docket entry was made by the Clerk on Tuesday, May 6, 2025;

MINUTE entry before the Honorable Jeremy C. Daniel: Motion hearing held.
Marissa Girard failed to appear. Marissa Girard removed this case to federal court on
April 28, 2025. (R. 1.) In her notice of removal, she claims that an April 28, 2025,
declaratory judgment pleading served on her by Kenton Girard raised a federal question.
(R. 1 at 2.) She claims that a postnuptial indemnification agreement that grants her
reasonable and necessary legal fees from Kenton Girard if Jane Girard violates Marissa
Girard's rights under federal law. (Id.) She further claims that Kenton Girard has brought
claims that raise federal questions. (R. 1 at 3.) At no point does she explain which rights
have been violated under federal law or what federal questions Kenton Girard's claims
implicate. Exhibit A to her notice of removal is a motion to join her as a third party ina
custody dispute between Jane and Kenton Girard. According to Exhibit A, Jane and
Kenton have divorced and Kenton and Marissa married. According to Kenton Girard's
crossclaims, which she also attached to her notice of removal, Kenton and Marissa are no
longer married. Kenton Girard's crossclaims address the postnuptial indemnification
agreement, which Marissa seeks to enforce in connection with a pending federal lawsuit.
Nothing about those claims introduce a federal question into this case, which centers on
domestic disputes related to custody and divorce agreements. Therefore, this Court lacks
subject matter jurisdiction. Accordingly, this case is remanded to state court. Civil case
terminated. Mailed notice. (vcf, }

ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov. A5

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PJ

5/5/2029
IN THE UNITED STATES DISTRICT COURT 19H,
FOR THE NORTHERN DISTRICT OF ILLINOIS. JEWS BERNE URT
EASTERN DIVISION

Jane F. Girard,
Case No. 1:25-cv-04586
Plaintiff,
District Judge Jeremy C. Daniel
Vv.
Mag. Judge Heather K. McShain
Marissa Girard et al.,

NOTICE OF CAUSE AS TO
Defendants. BEERMANN LLP

Defendant Kenton Girard having reviewed the docket entries hereby notifies the Court
that Plaintiff’s law firm Beermann LLP is engaged in open defiance and deception hereunder:
I B LLP . lit .

Defendant Kenton Girard notes that the attorneys for Plaintiff Jane Girard — namely
Beermann LLP — have seemingly refused to acknowledge the exclusive federal jurisdiction
hereunder. To wit, Attorney Enrico J. Mirabelli convened a hearing under these proceedings
before Cook County Judge Robert W. Johnson at the Daley Center on April 29 2025, wherein
Mr. Mirabelli crafted a proposed order (Exhibit 1) setting an in person court date on May 1 2025
at 8:15 AM before Hon. Johnson for hearing pending motions.

In case of any doubt, the proposed order — duly signed by Hon. Johnson — includes a
statement that the state court is fully informed as to the removal of the proceedings to this Court.
On May 1 2025, Beermann LLP prepared another order (Exhibit 2) — also duly signed by Hon.
Johnson — wherein the pending motion seeking the removal of judicial officer William Yu
(brought by Defendant Marissa Girard and later adopted by Kenton Girard) was stricken.

Not fully satisfied to obtain two signed orders from Hon. Johnson, Beermann LLP also

1 A&6 Notice of Cause as to Beermann LLP

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proceeded to prepare a third proposed order (Exhibits 3. 4) — requesting signature from Cook

County Judge William Yu — seeking an order that the trial set for May 1-2 2025 was stricken.

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Under IItinois Supreme Court Rule 922: “All allocation of parental responsibilities
proceedings under this rule in the trial court shall be resolved within 18 months from the date of
service of the petition or complaint to final order.” Ascertaining the recent order of state judge
William Yu on February 14 2025 (Exhibit 5), papers set [a] through [e] comprising the trial
syllabus are dated from 2022 and no later than July 13 2023. Certainly papers from 2022 violate
the 18 month rule. Even the late-dated paper from July 13 2023 violates the 18 month rule.
Therefore the custody proceedings have self-terminated; the only circumstance under
which extension would be viable would require a showing of “good cause” including input from
the child representative who resigned in August 2024. Indeed there is no viable, breathing
domestic relations component under these proceedings under which the analysis under Beermann
LLP’s motion to remand requires resolution instanter. The only pleadings which retain viability
are the TP Claims filed by Marissa Girard for eavesdropping/surveillance and the DJ

Crossclaims regarding the postnuptial indemnification agreement (Dkt[1]).

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WHEREFORE, Plaintiff KENTON GIRARD prays the Court finds Cause that Beermann

LLP has actively disrespected federal jurisdiction and deceived the Court about the material

question of the viability of the domestic relations claims hereunder.

Dated: May 5, 2025

Respectfully Submitted,

KENTON GIRARD, in Pro Se

f ton Girard

965 Forestway Drive
Glencoe, IL 60022

Email: ke525?/@vahoo.com
Tel: 773-575-7035

CERTIFICATE OF SERVICE

This undersigned certifies that this motion was electronically filed with the clerk of this

Court on May 5 2025 and was provided via email to the attorneys who have filed appearances in

this matter as well as directly to the unrepresented parties.

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Notice of Cause as to Beermann LLP

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EXHIBIT 1

(12/01/24) CCG 9002.

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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Attorney No; __ ##OEF _ Agreag UIA 200K.

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vik Zoo Mariyana T. Spyzopoulos, Clerk of the Circuit Court of Cook County, Illinois

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EXHIBIT 2

IN THE IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE THE FORMER MARRIAGE OF

)
KENTON GIRARD,
Petitioner, |
and
JANE GIRARD, | No. 2015 D 9633 _
Respondent. | TEN af FRESE
MARISSA GIRARD, ge Robert johnson-2i56
Third-Party Respondent. | MAY 01 2025
ORDER atta Cat, FP

THIS CAUSE coming before the Court for status pursuant to the Order
entered April 29, 2025; Marissa Girard’s Notice of Removal, Case No. 25 CV
04586 is still-pending and no order of remand having yet been issued;

IT 18 HEREBY ORDERED:

The Motion for Substitution of Judge for Cause filed by Marissa Girard

BEERMANN LLP

161 North Clark Street

Suite 3000

Chicago, Ilinois 60601
312.621.9700
elmirabelli@@beermannlaw.com
kpaige@beermannlaw.com

5 A6 , Notice of Cause as to Beermann LLP

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EXHIBIT 3

From: Martha Steele <msteele@beermannlaw.com>

to: CCC DomRelCR2108 (Chief Judge's Office) <ccc.comreler2 10a@cookcountyi.gov>

Cc: Enrico J. Mirabelli <eimirabelli@beermannlaw.com>; kg5252@yahoo.com <kg5262@yahoo.com>, marissadakis@gmail.com
<marissadakis@gmail.com>; Karen Paige <kpaige@beermanniaw.com>; Candace L. Meyers <olmeyers@beermanniaw.com>;
Patricia A. Rice <parice@beermanniaw.com>

Sent: Thursday, May 1, 2025 at 11:53:16 AM CDT

Subject: Proposed Court Order - Case No. 2075 D 9633

Good Morning Judge Johnson

Attached for your review and entry is a proposed order (both in Word and Pdf) regarding the above-captioned
matter. Please be advised all counsels and parties have been copied on this email. Please do not hesttate to
contact our office with any questions you may have.

Thank you

Martha Steele | Legal Assistant

161 N Clark St, Suite 3006 | Chicago, IL 60601

BEERMANN

LLP
EST. 1958

Tel: 312.621.9700 | Fax: 342.621.0909

2275 Half Day Rd., Suite 350 | Bannockburn, IL 66075
Tel: 847.681.9600 | Fax: 847.681.0909

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2 attachments

@ 2026.05.01 Order (striking Motion for SOJ - Judge Johnson) kvp(6232036.1}.docx
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# 2025.05.01 Order (striking Motion for SOJ - Judge Johnson) kvp(6232036.1). pdf
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5 AG Notice of Cause as to Beermann LLP

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EXHIBIT 4
IN THE IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION
IN RE THE FORMER MARRIAGE OF
KENTON GIRARD,

Petitioner,
and

JANE GIRARD, No. 2015 D 9633

Respondent.

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)
MARISSA GIRARD,
)

Third-Party Respondent.

ORDER
THIS CAUSE coming before the Court for Trial May 1 and May 2, 2025; the
Court having been advised that a Notice of Removal has been filed in Federal Court,
Case No. 25 CV 04586, by Marissa Girard; and that a Motion to Remand in said case
has been filed by Jane Girard;
IT IS HEREBY ORDERED THAT:
The Trial dates of May 1 and May 2, 2025 are hereby stricken.

ENTER:

The Hon. William Yu

BEERMANN LLP

161 North Clark Street

Suite 3000

Chicago, Illinois 60601
312.621.9700
ejmirabellii@beermannlaw,com
kpaige@beermanniaw.com

7 A6 Notice of Cause as to Beermann LLP

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EXHIBIT 5

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE THE FORMER MARRIAGE OF

KENTON GIRARD,

Petitioner, Case No. 2015 D 009638

and

JANE GIRARD,
Respondent,

and

Judge William Yu
FEB 14 2025
Cireuit Court-2:2 2}

MARISSA GIRARD,
Third Party Respondent.

This cause coming before the Court pursuant to the Court’s February 7, 2025 order
and for presentment of (i) Third-Party Respondent, Marissa Girard’s Petition for
Substitution of Judge for Cause; (ii) Third-Party Respondent, Marissa Girard’s
Motion for Substitution of Judge as a Matter of Right; (iii) Kenton Girard’s Motion to
Perfect DWP; (iv) Jane Girard’s Motion to Restrict Communication with the Court,
Kenton Girard appearing in person, Marissa Girard appearing through counsel,
Robert Holstein (who represented he has field a limited scope appearance with
respect to the pending petition for substitution of judge), Jane Girard appearing
individually and through counsel, the Court having heard argument of counsel with
respect to Marissa Girard’s Petition for Substitution of Judge for Cause, having
jurisdiction over the parties and the subject matter, and being fully advised in the
premises, IT IS HEREBY ORDERED THAT:

1, This matter is set for trial on May 1 and 2, 2025 starting at 10:30 a.m.
in person in Courtroom 3005 on the following pleadings:

a, dane’s May 27, 2022 Motion to Appoint a Parenting Coordinator and
Compel Use of Our Family Wizard

b. dane’s August 31, 2022, Motion to Compel Enrollment in Therapy
(seeking reunification therapy for the family)

c. Jane’s September 20; 2022 Petition for Finding of Parenting Time Abuse
directed against Kenton and Marissa.

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ad. Kenton’s July 11, 2023 Motion to Modify Joint Parenting Agreement and
Custody Judgment,

e. Jane's July 18, 2023 Motion to Enforce the Joint Parenting Agreement;

f. Jane’s March 18, 2024 Motion to Modify the Joint Parenting Agreement
and to Implement the 604.10(b) Recommendations.

Said proceedings may be conducted in a hybrid manner and any party/witness who
wishes to appear remotely may seek leave to do so. Said trial dates shall not be
continued absent compelling circumstances.

2. This matter is continued for status on resetting hearings on other
pending motions to February 25, 2025 at 10:30 a.m. via Zoom.

3. Petitioner, Kenton Girard, shall have until 5:00 p.m. on February 14,
2025 to either join Marissa Girard’s Petition for Substitution of Judge for Cause, or
file his own such petition. In the event he fails to do so, he shall be deemed to have
waived his right to seek a for-cause substitution of judge for any alleged bias
occurring up to and including today’s court proceedings.

4, Third-Party Respondent, Marissa Girard’s Petition for Substitution of
Judge for Cause shall be transferred to Calendar 01 for reassignment via separate
order.

ENTER:
Wi. Yn

Dated: February 14, 2025

Order Prepared by Copies to

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Attorneys for Respondent marissadakis@gmail.com
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